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Pro Se 15 Rev . 12/ 16) Com taint for Violation of Civil Ri hts (Non- Prisoner)




                                         UNITED STATES DISTRICT COUR
                                                                              for the

                                                            Northern District of Georgia            [:]


                                                                   - - - - - Division

                          Andrea L Marion
                                                                                  )     Case No.      1 :23-CV-597-MLB-JCF
                                                                                  )                       (to be filled in by the Clerk's Office)
                                                                                  )
                               Plaintiff(s)
                                                                                  )
(Write the full name of each plaintiff who is filing this complaint.
                                                                                  )     Jury Trial: (check one)     0Yes          0No
ff th e names of all the plaintiffs cannot flt in the space above,
please write "see attached" in the space and attach an additional                 )
page with the fu ll list of names.)                                               )
                                   -v-                                            )
    Experian Information Solutions, Inc. ("Experian"),                            )
            Transunion, LLC ("Transunion"),                                       )
     Equifax Information Services, LLC ("Equifax"),                               )
         Commercial Services Group ("CSG")                                        )
                             Defendant(s)                                         )
(Write the full name of each defendant who is being sued. ff the                  )
names of all th e defendants cannot flt in the space above, please                )
write "see attached" in the space and attach an additional page
with theji1ll list of names. Do not include addresses here.)


                                   Amended
                                   COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                             (Non-Prisoner Complaint)


                                                                            NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




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Pro Se 15 (Rev. 12/ 16) Complaint fo r Violation of Civil Rights (Non- Pri soner)


I.         The Parties to This Complaint

           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                             Name                                           Andrea L Marion
                             Address                                        3201 Kenelworth Dr apt 5
                                                                            East Point                    GA            30344
                                                                                         City             State         Zip Code
                             County                                         FULTON
                             Telephone Number                               716-342-5798
                             E-Mail Address                                 mariona101@mail.buffalostate.edu

           B.         The Defendant(s)

                      Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                      indi vidual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known) and check whether you are bringing this complai nt against
                      them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. l
                            Name                                            EXPERIAN INFORMATION SOLUTIONS , INC
                             Job or Title (if kno wn)
                             Address                                        475 ANTON BLVD
                                                                            COSTA MESA                    CA            92626
                                                                                         City            Stale          Zip Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                            D Individual capacity D Official capacity
                      Defendant No . 2
                            Name                                            Transunion , LLC
                            Job or Title (if known)
                            Address                                         555 W. Adams St
                                                                            Chicago                        IL           60661
                                                                                         City            State          Zip Code
                            County                                          Cook
                            Telephone Number
                            E-Mail Address (if known)

                                                                           D Individual capacity D Official capacity

                                                                                                                                   Page 2 of 6
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non- Pri soner)


                      Defendant No. 3
                            Name                                          Equifax Information Services , LLC
                            Job or Title (if kno wn)
                            Address                                       1550 Peachtree Street, NW, H46
                                                                          Atlanta                         GA          30309
                                                                                       City               Stale       Zip Code
                            County                                        Fulton
                            Telephone Number
                            E-Mail Address (if known)

                                                                          D Individual capacity D Official capacity
                      Defendant No. 4
                            Name                                          Commercial Services Group
                            Job or Title (if kno wn)
                            Address                                       2001 Newmarket Drive
                                                                          Lousiville                      KY          40222
                                                                                       City              State        Zip Code
                            County
                            Telephone Number
                            E-Mai l Address (if known)

                                                                          D Individual capacity D Official capacity
II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by th e Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388(/971) , you may sue federa l officials fo r the violation of certain
          constitutional rights.

          A.          Are you bringing suit against (check all that apply):

                     D Federal officials (a Bivens claim)
                     D State or local officials (a§ 1983 claim)
          B.          Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing und er section 1983, what
                      federal constitutional or statutory right(s) do yo u claim is/are being vio lated by state or local officials?




          C.         Plaintiffs suing under Bivens may only recover for the viola tion of certain constitutional rights. If you
                     are sui ng under Bivens, what constitutional rigbt(s) do you claim is/are being violated by federa l
                     officials?


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Pro Se 15 (Rev. 12/ 16) Comp laint for Violation of Ci vil Rights (Non- Prisoner)




           D.         Section 1983 allows defendants to be found liable only when they have acted " under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or Territory or the D istrict of Columbia."
                      42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.




III.      Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.           Where did the events giving rise to your claim(s) occur?
                      ATLANTA, GA




         B.           What date and approximate time did the events givi ng rise to your claim(s) occur?
                      Beginning around Janaury 2021 until March 2023




         C.           What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)
                      I pulled my credit report in April 2021 and noticed the account: Capital One Auto Finance- account#
                      620515XXXXXXXXXXX was reporting inaccurately with missing payment history, incomplete account
                      numbers and it was reporting CO (charged off) since January 2021, but the account never reflected it
                      was past due any prior months. I alerted Experian by sending letters in April 2021 , June 2021 ,
                      September 2021, February 2022, April 2022, June 20·22, September 2022, and October 2022 (EXHIBIT
                      E) disputing the accuracy of these accounts and requested Experian to reinvestigate the accounts
                      pursuant to 15 USC 1681 i (a)(1 )(A), to ensure they were reporting maximum possible accuracy
                      pursuant to 15 USC 1681e(b).
                       Experian received my dispute letters and opened their reinvestigation for Capital One Auto Finance on
                      May 6, 2021 , and completed their investigation on May 20, 2021 , with the report# 0827-3395-52
                      (EXHIBIT A). After their investigation I pulled my credit report again to see if the account was modified
                      or deleted but it still showed the account was incomplete and inaccurate by reporting previously CO
                      (charged off) to reporting collection for May 2021 . The account was never sold/transferred to a



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Pro Se 15 (Rev. 12/ 16) Complaint for Violation of Civil Rights (Non- Prisoner)



IV.      Injuries

         If you sustained injuries related to the events alleged abo ve, describe yo ur inju ries and state what medical
         treatment, if any, you required and did or did not recei ve.
          I have suffered emotional distress, depression, anxiety, embarassment and humilation . Because of the constant
          inaccurate reportings on my account and the multiple attempts I have tried to rectify this issue and being denied
          due to the failure of the Defendants to comply with the FCRA and FDCPA I have suffered a tremenedous loss of
          my unborn child. I was pregant in June 2022 and during this time I was trying to get my credit report fixed with
          the removal of these erroenous acocunts to purchase a home but the Defendants negligence and willfullness to
          not comply with FCRA and FDCPA caused me to stress and eventually become depressed seeing I was not
          going to be able to ensure a home for me and my family even though I did everything right. I eventually ended up
          losing my child in July 2022 due to a miscarriage from all the pain and suffering the Defandants has caused me .

          I lost sleep, my appetite and it eventually affected my work performance to cause me to be late or call out from
          work a few times throughout the week. My hair was falling out and I started to lose weight which made me even
          more depressed.




V.       Relief

         State briefly what you want the court to do fo r you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/o r pu nitive damages claimed for
         the acts alleged. Explain the bas is for these claims.
          I am seeking relief for statutory damages- up to $1000 per violation.

          I am also seeking Actual Damages- credit card denial for American Express, Capital One, X1 and Chase credit
          cards. Also denial for a homeowners program for Rent to Own with Divvy. Also the stress and depression of th is
          matter caused me to lose my pregancy and have a miscarriage.

          Punitive Damages


          I am seeking $20 ,000 for the actual , statutory and punitive damages.

         I want equitable relief as well which is deleting and suppressing all the accounts listed in my compla int from all
         the consumer reporting agencies. I am also requesting these accounts to have the balances /debt waived to
         avoid further collections.




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Pro Se 15 (Rev. 12/ 16) Complaint for Violation of Civil Rights (Non- Prisoner)



VI.      Certification and Closing

         Under Federal Rule of Civil Procedure l I, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.           For Parties Without an Attorney

                      I agree to provide the Clerk' s Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk' s Office may result
                      in the dismissal of my case.

                      Date of signing:                        03/15/2023


                      Signature of Plaintiff
                      Printed Name of Plaintiff


         B.           For Attorneys


                      Date of signing:


                      Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Address


                                                                                  City        Sta le         Zip Code

                     Telephone Number
                     E-mail Address




                                                                                                                         Page 6 of 6
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STATEMENT OF CLAIM: CASE# 1:23-CV-597-MLB-JCF



(Continued from complaint form ... )

EXPERIAN:

     collection company.


     I disputed the account again for accuracy by submitting anothe r lette r to Experian on June 29,
     2021, and they opened a reinvestigation on July 6, 2021, and the investigation was completed
     on July 19, 2021, via report# 4190-1630-82. Before the investigation, payments were reporting
     on time until December 2020 before report ing charge off January- May 202 1, but after th e
     investigation, the account reports no payment data for November-December 2020 and March
     2021 as you can see in EXHIBIT A .


     I sent a th ird letter for another reinvestigation for accuracy to Experian and they re ceived it on
     August 27, 2021, and the dispute was open on August 31, 2022, and completed on September 3,
     2021, as well as another letter was received on September 16, 2021, and dispute was opened
     September 20, 2021, and completed on September 24, 2021. Both investigations were
     completed via Report# 3526-0046-89 & 3796-8201-16 shows the account was updated but they
     updated the reporting back to November-December 2020 be ing on time, but March 202 1 still
     was missing payment data as you can see in EXHIBIT A.

     I pulled my credit report again beginning February 2022 and sent a few more disputes for
     accuracy that Experian received on March 4, 2022, April 1, 2022, April 12, 2022, June 8, 2022,
     October 12, 2022 (EXHIBIT A) . Each reinvestigation was completed and the account once again
     came back with the same results of verified as accurate or updated but the account is still as of
     March 2023 reporting missing payments. Experian advised in their report number 0470-0402-25
     on May 2, 2022, report number 1284-3145-21 on June 30, 2022 & report number 0900-0421-91
     on November 4, 2022, that their investigation was complete and both accounts were accu rately
     reporting but like the previous investigation results they were still inaccurately reporting missing
     payment history. Experian claimed Capital One Auto Finance "has certified to Experian that the
     information is accurate . This item was not changed as a result of our processing of your
     dispute.". Yet it was in fact not accurate, and my current credit report for March 2023 shows the
     account is still missing payment data for March 2021 and now for March 2022. Experian has
     failed to undertake a reasonable investigation & follow reasonable procedures of the disputed
     credit information to ensure maximum possible accuracy under 15 USC 1681e(b), fa iled to
     remove inaccurate information under 15 USC 1681i (5) and 15 USC 1681s-2(b) .
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 In October 2022, I sent a certified letter via mail to Experian requesting a reinvestigation to
 ensure accuracy on the account: US DEPT OF ED/GLELSI for account numbers: 927679XXXX &
 927677XXXX because both were reporting inaccurate payment history. Experian came back with
 report number 4256-7217-41 on November 9, 2022, stating both accounts have been updated
 (Exhibit B) but they were not updated to have the account report accurately or complete
 because both are still missing payment history from the date the account opens . US DEPT OF
 ED/GLELSI- account number: 927679XXXX opened January 23, 2018, but no payment history is
 reflected until January 2019. Payment data missing from December 2019- May 2019 . US DEPT
 OF ED/GLELSl-account number: 927677XXXX opened October 26, 2017, but no payment data is
 reporting for the full year of 2018, only payment reporting in 2019 is in November and then no
 payment data again from December 2019- May 2020 (EXHIBIT B). This is incomplete and
 inaccurate and as of March 2023 the account has not reflected accurate even after Experian
 confirmed they did their job and followed reasonable procedures that the account was in fact
 accurate . Experian has failed to undertake a reasonable investigation & follow reasonable
 procedures of the disputed credit information to ensure maximum possible accuracy under 15
 USC 1681e(b), failed to remove inaccurate information under 15 USC 1681i (5) and 15 USC
 1681s-2(b).

 FED LOAN SERV- 744826XXXXXXXXXXX: submitted dispute for this account in October 2022 to
 have Experian the accuracy of this account. It is reporting six (6) times on my consumer report
 with the same account number but different open dates. I disputed each one due to they were
 all missing payment history from the date the accounts were open, missing payment data for
 the years the account was reporting on time, not showing when the account was closed, and the
 account numbers being incomplete due to the actual account number for these accounts do not
 have any X's in it. An investigation was opened on October 20, 2022, and completed on
 November 9, 2022, report# 4256-7217-41 stating the accounts were updated but no changes
 were made to make the account report accurately going forward (EXHIBIT B). Experian has
 failed to undertake a reasonable investigation & follow reasonable procedures of the disputed
 credit information to ensure maximum possible accuracy under 15 USC 1681e(b), failed to
 remove inaccurate information under 15 USC 1681i (5) and 15 USC 1681s-2(b) .


 CCS/BRYANT STATE BANK- account# 521044XXXXXXXXXX I first submitted my dispute on
 October 15, 2021, for a reinvestigation for accuracy of the account when I notice no account
 info was reporting like a balance or payment history, but the account is reflected as open .
 Experian opened their investigation on October 18, 2021, and completed their investigation via
 October 25, 2021, Report# 0578-8864-88 and it shows the account was updated but nothing
 was updated or changed, and the account still reflected no payment history, balance, or status if
 the account but still open . I submitted more disputes between March 2022-March 2023 and
 each investigation results came back the same as verified as accurate and/or updated as you can
 see in EXHIBIT C. Experian has failed to undertake a reasonable investigation & follow
 reasonable procedures of the disputed credit information to ensure maximum possible accuracy
 under 15 USC 1681e(b), failed to remove inaccurate information under 15 USC 1681i (S) and 15
 USC 1681s-2(b) .
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I also submitted CFPB complaint 230306-10523527 (EXHIBIT for these accounts above on March
6, 2023, to try and resolve my dispute before pursuing litigation. Experian opened a dispute for
reinvestigation on March 14, 2023, and as of March 15, 2023, the results for all six accounts FED
LOAN SERV- 744826XXXXXXXXXXX were updated but again still reporting inaccurately (EXHIBIT
D) .


My consumer report contains inaccurate and incomplete information and as a federally
protected consumer I notified Experian of the alleged inaccuracies by submitting dispute letters
requesting the reinvestigation of the accounts listed . Experian received each of my disputes as
shown in my EXHIBITS A-D and opened a reinvestigation into these accounts to verify accuracy
and completeness. Once their investigation was completed, Experian came back with results
each time that these accounts were verified as accurate and/or updated but pulling my credit
report over and over and reviewing the accounts after there "reinvestigation" only proved to me
that Experian violated 15 USC 1681i by failing to conduct a reasonable investigation to ensure
maximum possible accuracy under 15 USC 1681e(b) and is liable under 15 USC 16810 & 15 USC
1681n.



EQUIFAX:
I reviewed my consumer report in February of 2022 and noticed a few accounts were reporting
inaccurate and/or incomplete . I know that under the FCRA 15 USC 1681s-2(b) requires a creditor
who has been notified by a CRA that a consumer has disputed information furnished by that
creditor to investigate the dispute & report the results of the investigation to the consumer
reporting agency & if any information was inaccurate, report the results of the investigation to
the other CRAs. "Johnson v. MBNA Am . Bank, NA, 357 F.3d 426, 429-30 (4th Cir. 2004) ".
I submitted multiple disputes to Equifax, in which they received each letter on 4/12/2022,
6/8/2022, 6/28/2022, 9/20/2022 & the last one was recently in January 2023 all certified mail
sent with return receipts proving someone signed for them (EXHIBIT F) . Once they received my
disputes to reinvestigate the accounts : CAPITAL ONE AUTO FINANCE (620515XXXXXXXXXXX), US
DEPT. OF EDUCATIO {927679XXXX), US DEPT OF ED/GLELSI {375625XXXXXXXXXX), BRYANT
STATE BANK {521044XXXXXXXXXX), AUSTIN CAPITAL BANK (800884XXXX) for accuracy under 15
USC 1681e(b), they opened an investigation. Equifax responded with the accounts being verified
as accurate and/or updated but each account in dispute were still reporting inaccurate.


CAPITAL ONE AUTO FINANCE (620515XXXXXXXXXXX) is reporting the account on time since
open ing 11/19/2019 until it reports closed & CO (charged off) in January 2021. However, as of
March 2023 the account reflects an on-time payment was made in March 2021 but how can
that be when the account is closed and charged off. Yet, Equifax has came back with there
reinvestigation as verified as accurate. (EXHIBIT G-1)


US DEPT OF ED/GLELSI- account number 375625XXXXXXXXXX reports the account was opened
October 26, 2017, but no payment history is showing until January 2019 . Equifax is missing 2
years' worth of payment history since the account opened . US DEPT. OF EDUCATIO- account
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        number 927679XXXX reports the account was opened January 23, 2018, but no payment is
        showing to me made until January 2019 . Equifax is missing payment history from 2018-
        February 2019. (EXHIBIT G-1)


        AUSTIN CAPITAL BANK- account number 800884XXXX reports the account is closed but still
        reporting on time payments as of February 2023. This account has been closed since October
        22, 2022, as shown in EXHIBIT G-1. Also, the account does not reflect it was ever disputed by me
        which is a violation of 15 USC 1681s-2(3).


        I filed a CFPB complaint# 220302-8223625 on March 2, 2022, due to Equifax has not followed
        reasonable procedures to remove inaccurate information from my consumer report after many
        attempts. Equifax responded to this complaint on March 8, 2022, stating an investigation with
        the furnisher has been imitated and when the furnishing company provides their findings, they
        will send those results to me . (EXHIBIT F)


        My consumer report contains inaccurate and incomplete information and as a federally
        protected consumer I notified Equifax of the alleged inaccuracies by submitting dispute letters
        requesting the reinvestigation of the accounts listed . Equifax received each of my disputes and
        opened a reinvestigation into these accounts to verify accuracy and completeness. Once their
        investigation was completed, Equifax came back with results each time that these accounts
        were verified as accurate and/or updated but reviewing the accounts after there
        "reinvestigation" " only proved to me that Equifax violated 15 USC 1681i by failing to conduct a
        reasonable investigation to ensure maximum possible accuracy under 15 USC 1681e(b) and is
        liable under 15 USC 16810 & 15 USC 1681n.


Transunion:
I reviewed my consumer report in February of 2022 and noticed a few accounts were reporting
inaccurate and/or incomplete. I know that under the FCRA 15 USC 1681s-2(b) requires a creditor who
has been notified by a CRA that a consumer has disputed information furnished by that creditor to
investigate the dispute & report the results of the investigation to the consumer reporting agency & if
any information was inaccurate, report the results of the investigation to the other CRAs. "Johnson v.
MBNA Am. Bank, NA, 357 F.3d 426, 429-30 (4th Cir. 2004)" .

I submitted multiple disputes to Transunion, in which they received on 3/29/2022, June 2022, 9/8/2022
and the last one was in December 2023 all mailed certified with return receipts proving someone signed
for them (EXHIBIT J) . Once they received my disputes to reinvestigate the accounts: CAPITAL ONE AUTO
FINANCE (620515XXXXXXXXXXX), US DEPT. OF EDUCATIO (927679XXXX), US DEPT OF ED/GLELSI
(375625XXXXXXXXXX), BRYANT STATE BANK (521044XXXXXXXXXX), AUSTIN CAPITAL BANK (800884XXXX)
for accuracy under 15 USC 1681e(b), they opened an investigation . Transunion responded with the
accounts being verified as accurate and/or updated but each account in dispute were still reporting
inaccurate with incomplete account numbers, inaccurate payment history and statuses. Investigation
was completed and I received results dated 4/10/2022, 4/12/2022, 6/22/2022, 6/25/2022 and
2/2/2023.
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Capital One Auto Finance (620515XXXXXXXXXXX): Transunion is reporting this account with no
payment history reflecting to ensure it was reporting accurate before being charged off. Also, the
account number is partially complete and not fully complete because my actual account number does
not even have X' s in it. Five Star Bank is reporting closed and charged off as bad debt, but the account is
in fact open and active and was never closed or charged off. Transunion responded each time that the
account was accurate and/or updated the account but still was reporting inaccurate as pf March 2023 .
EXHIBITS J shows the results of the reinvestigation Transunion has claimed they done but it only
updated the account and not corrected the inaccuracy or remove it.

AUSTINCAPBK (800884XXXX) is reporting the account as 60 days past due but only reflecting 30 days
past due in September 2022 as of March 2023. Yet, Transunion stated the account was verified as
accurate in their last investigation with the results dating 2/2/2023 . The account is also not reflect ing it
was disputed in the comments section which violates 15 USC 1681s-2(3) .

FEDLOAN is reporting 6 (six) times on my consumer report with same account number
744826XXXXXXXXXXX and each one is missing 1-2 years of payment history from the time the account
opened as of March 2023 but Transunion results from my last dispute shows they investigated this
inaccuracy and upon completion they updated the account on 2/2/2023 but payment history still
missing.

USDOE/GLELSI (927679XXXX) & USDOE/GLELSI (927677XXXX) shows both accounts missing payment
history from the time the account was opened even still after Transunion's last investigation dated
2/2/2023. USDOE/GLELSI (927677XXXX) opened October 26, 2017, but no payment history is reflected
until November 2019 then it stops reporting any payment data from December 2019-May 2020.
USDOE/GLELSI (927679XXXX) opened January 23, 2018 but no payment history is reflected until
February 2019 and then stops reporting any payment data from December 2019-May 2020. According
to Transunion's last investigation for accuracy dated 6/25/2022 the account was updated but no proper
investigation was actually done to the account is still reporting inaccurate and incomplete.

CELTIC/CONT (534636XXXXXX) does not reflect it had ever been disputed by me, the consumer in the
comments section which is a violation of 15 USC 1681s-2(3). Transunion completed its last
reinvestigation for accuracy for this account on 2/2/2023 and shows the account was purchased by
another lender but was also paid in full and was a charged off. How can the account be paid in full but
charged off? The payment history in the investigation results shows it charged off September 2022 but it
was actually charged off August 2022.

COMMERCIAL SERVICES GROUP- account# U20179XXXXXXXX for accuracy as well as verification and
validation to ensure I am obligated to pay this alleged debt. An investigation was completed because the
account shows in the comments that it was disputed by me, the consumer but nothing changed . The
account is reporting as a collection but with an open status which is inaccurate due to collections are
accounts that went into default with the original creditor and was closed and sold to a debt collector so
how can the account be re-opened if the creditor is not the one furnishing this information and is the
only one who can re-open the account. As of March 2023, Transunion is still reporting this account
inaccurately.
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I filed a CFPB complaint on March 2, 2022 {220302 -8223624) & May 28, 2022 {220528-8796311) due to
Transunion has not followed reasonable procedures to remove inaccurate information from my
consumer report after many attempts. Transunion responded to this complaint on April 7, 2022 & July 9,
2022, stating the accounts were verified as accurate and/or updated . (EXHIBIT K)

My consumer report contains inaccurate and incomplete information and as a federally protected
consumer I notified Transunion of the alleged inaccuracies by submitting dispute letters requesting the
reinvestigation of the accounts listed. Transunion received each of my disputes and opened a
reinvestigation into these accounts to verify accuracy and completeness. Once their investigation was
completed, Transunion came back with results each time that these accounts were verified as accurate
and/or updated but reviewing the accounts after there "reinvestigation"" only proved to me that
Transunion violated 15 USC 1681i by failing to conduct a reasonable investigation to ensure maximum
possible accuracy under 15 USC 1681e(b) and is liable under 15 USC 16810 & 15 USC 1681n.

I am aware that each requirement of the FCRA which Experian, Equifax and Transunion fails to comply
with, holds the company liable for $1000.00 per action and pursuant to 15 U.S.Code § 1681i when an
investigative report is prepared, no adverse information in a consumer report may be included in a
subsequent consumer report unless the reported was verified . Each month this false information was
incorrectly verified making Experian, Equifax, and Transunion liable for each consecutive reporting
shown in EXHIBIT . Negligence is neglecting requirements that should be known. I, the consumer, made
Experian, Equifax, and Transunion aware of, prior and continued failures of reasonable procedures as
seen in Exhibit (A-K) . I have reason to believe and do so believes due to Experian, Equifax, and
Transunion business practices, Experian, Equifax, and Transunion actions are liable under 15 U.S. Code§
16810 for the actual damages caused to me, the consumer in fact. Actual damages this has caused me
was denial of credit cards and a mortgage loan




COMMERCIAL SERVICES GROUP:
I reviewed my consumer report in January of 2021 and noticed a collection being reported to my
consumer report from Commercial Services Group (CSG), a debt collector. A debt collector is defined
under the FDCPA as "any person who uses any instrumentality of interstate commerce or the mails in
any business the principal purpose of which is the collection of any debts, or who regularly collects or
attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due another."
(15 USC 1692a(6)). I initially sent CSG a letter requesting the validation of this alleged debt and they sent
back electronic documents printed out as shown in EXHIBIT L. These documents did not provide me with
the requested information I requested to validate nor verify this4 account as to be mines. There is no
signature on any of these documents proving I ever went into business with CSG or have a contract with
them to be obligated to owe this alleged debt to them. Nothing within the subsection of 15 U.S.Code §
1692g(a), validates a debt. This section of the FDCPA simply states a requirement of the debt collector to
deliver to I the consumer and affiant, in the process of validating a debt. No debt has been validated,
and I have never admitted any liability of this alleged debt in the past and I do not claim liabil ity now. No
proof of claim can be validated without the requested information especially since I never received
anything from CSG before they reported this alleged debt on my consumer report.
     Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 13 of 234




I also tried to resolve this alleged debt by requesting a pay to delete which means for my payment they
would delete the account. I emailed Linda Wise whom at the time was identified in her email responses
back to me as President. I emailed Linda requesting a pay to delete settlement arrangement in in wh ich
she notified me that the original creditor of the account which is Charter Communications did not accept
my offer of 30% of the balance due to that was all I had at the time due to COVID-19 and lost my jo b.
During this communication Linda advised me that CSG has received at least nine E-Oscar disputes on th is
account since October 2019 so this confirms that CSG gas received each of my disputes by Transunion to
investigate the account for accuracy. Linda advised they already provided their response and
documentation validating the alleged debt. I asked for Charter Communications contact information and
was advised by Linda that she couldn't give it to me, and I would have to find a way to contact them or
keep communication with CSG . CSG is a debt collector by the responses via email they communicate d
they were a debt collector as seen in EXHIBIT L.

I submitted my dispute to Transunion to verify the accuracy of this account and upon completion of
their investigation, I was sent via mail Transunion results dating 4/10/2022 & 6/22/2022 (EXHIBIT J) and
they stated they investigated the information I disputed, and the disputed information was verified as
accurate. I know that under the FCRA 15 USC 1681s-2(b) requires a creditor who has been notified by a
CRA that a consumer has disputed information furnished by that creditor to investigate the dispute &
report the results of the investigation to the consumer reporting agency & if any information wa s
inaccurate, report the results of the investigation to the other CRAs. "Johnson v. MBNA Am. Bank, NA,
357 F.3d 426, 429-30 (4th Cir. 2004) ".

CSG was notified by Transunion that I was disputing the accuracy of the account and was requesting a
reinvestigation into the account and if was found to inaccurate as I had shown then the account must be
deleted . CSG verified the account was accurate to Transunion even though the account is reporting as a
collection account but with an OPEN status which is inaccurate due to collections are accounts that went
into default with the original creditor and was closed and sold to a debt collector so how can the
account be re-opened if the creditor is not the one furnishing this information and is the only one who
can re-open the account. As of my previous disputes in 2022 and March 2023, CSG has failed to conduct
a reasonable investigation of this account and has failed to review all the relevant information provided
by Transunion which were screenshots of this account and the inaccuracies marked . CSG failed to
modify or delete the account knowing it was inaccurate after their investigation but instead informed
Transunion many times the account was accurate.

I emailed CSG again on October 27, 2022 asking them to provide once again a contract between me and
CSG showing we did business together in which I authorize them to have my personal information and
to communicate with me without my consent. Under 15 USC 1692c (a) states "Without the prior
consent of the consumer given directly to the debt collector or the express perm ission of a court of
competent jurisdiction, a debt collector may not communicate with a consumer in connection with the
collection of any debt" . I never gave permission to CSG to communicate with me nor got a court order
stating they have consent to do so . Emali McGaughey, Compliance Officer for CSG responded on
October 28, 2022, with attached documents as you can see in EXHIBT L. I then asked Emali where they
partner, an affiliate or have any ownership or control with Charter Communications because I never
gave them my personal information nor owe them an alleged debt since no contract was formed
between me and CSG . In EXHIBIT L you can see the communication between me and Emali before no
     Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 14 of 234




response was made again to my dispute/claim . I also filed a CFPB complaint against CSG on February 24,
2022, as you can see in EXHIBIT L.

My consumer report contains inaccurate and incomplete information and as a federally protected
consumer I notified Transunion of the alleged inaccuracies by submitting dispute letters requesting the
reinvestigation of the accounts listed. Transunion received each of my disputes and notified the debt
collector CSG of my dispute and a request for reinvestigation for accuracy. Transunion opened a
reinvestigation into these accounts to verify accuracy and completeness and once their investigation
was completed with CSG, Transunion came back with results each time that the account was verified as
accurate . After pulling my report again and reviewing the account after there "reinvestigation", it was
still reporting inaccurate and was not modified or deleted . Under the FCRA 15 USC 1681s-2(b) requires a
creditor who has been notified by a CRA that a consumer has disputed information furnished by that
creditor to investigate the dispute & report the results of the investigation to the consumer reporting
agency & if any information was inaccurate, report the results of the investigation to the other CRAs.
"Johnson v. MBNA Am . Bank, NA, 357 F.3d 426, 429-30 (4th Cir. 2004)" . I alerted Transunion of a
dispute regarding the allegedly erroneous information that it reported by sending in dispute letters in
which they confirmed they received and open a re-investigation . Transunion alerted CSG, which triggers
their duty to investigate. The EXHIBITS J & L show the CSG failed to undertake a reasonable
investigation of the disputed credit information. Commercial Services Group has violated 15 USC 1681s-
2(b) by failing to conduct a reasonable investigation to ensure maximum possible accuracy under 15 USC
1681e(b) and is liable under 15 USC 16810 & 15 USC 1681n.
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 15 of 234
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 16 of 234
    Account Dispute Opened                                                                                             May 06, 2021 • • •
    You have opened an Account Dispute on your Experian credi report.



                                                                                                                                     Ill

The dispute for the account with CAPITAL O E AUTO FINA CE thats arts with 62051 SXXXXXXXXXXX has been received and should be
completed by 05/28/2021 .

Source:
Experian

Date Submitted:
Apr 29, 2021

Estimated Resolution Date:
May 28, 2021

Report Number:
0827-3395-52

Account Number:
620515XXXXXXXXXXX
                                     Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 17 of 234
<                                                            ~ Print report



Report   umber 0827-3395-52                       Date Generat d May 20, 2021




  SANTANDER CONSUMER USA
                                                                      (t) Upda ed
  Accoun · 300002XXXXXXXXXXX

  The item you disputed has been updated,      hich may include an upda e to    e
  disputed informa ion. Please revie • your report for the details.

                                                                 Vi e Details >




  CAPITAL ONE AUTO FINAN
    ccoun ·620515XXX XXXXXXX
                                       \\f\1U~Q't~~
                                    ...-,, '
                                                      _,
                                                \\ ,()£Y'
                                                                  VI!
                                                                  ©       Upda ed


  The it m you disputed has been updated,      hich may include an update to he
  disputed mforma ion. Please revie     your report for the de ails

                                                                  Vie   Details >
3/15/23 , 8:25 PM                   (tp6Y{*
                      Case 1:23-cv-00597-MLB-JCF Document 6 Experian
                                                              Filed 03/20/23 Page 18 of 234
                    Additional info    b~21- ~5-52-
                    The original amount of this account was $9,613




                    Contact Info

                    Address                           PO BOX 961211,
                                                      FORT WORTH TX 76161




                    Your Statement

                    V ITEM DISPUTED BY CONSUMER




          ~         Reinvestigation Info

                    This item was updated from our processing of your dispute in Jul
                    2020 .




         CAPITAL ONE AUTO FINAN                              \'{\@Olf \\(\Q[V<Cl\-e
         Account·620515XXXXXx f u                                  tld::t1
                                                                                                                           Updated
         The item you disputed has been updated, which may include an update to the disputed
         information. Please review your report for the details.

         You can contact CAPITAL ONE AUTO FINAN at PO BOX 259407, PLANO, TX 75025 or (800) 946-0332




         (V After your dispute
          ~         Account Info
          ~
                    Account Name                                                           Balance            $1 ,258

                    Account Number                                                         Balance Updated    05/13/2021

                    Account Type                      Auto Loan                            Rece nt Payment    $0

                    Responsibi lity                   Individual          ,..,..._   vf~ Monthly Payment      $0

                    Date Opened                       11/19/2019    ~ ~v•                  Original Balance   $22,899

                    Status                            Collection afuunt. $6,709 writtenHi ghest Balance       $0
                                                      off. $1,258 past due as of May
                                                             _                             Terms              75 Months
                                                      2021
                                                                                           On Record Until    Sep 2027
                    Status Updated                    05/2021




          rn        Payment History


https://usa .experian.com/member/dispute/print?type=CDF&alertld=RTE00002242100033000000916805202021125610000019301                   4/92
3/15/23, 8:25 PM     Case 1:23-cv-00597-MLB-JCF Document 6Experian
                                                            Filed 03/20/23 Page 19 of 234

                       j         F        M           A              M    j      j        A          s       0          N   D

         2021         co         co      co          co
         2020          ✓         ✓        ✓           ✓                                   ✓        ✓         ✓          ✓   ✓


         201 9                                                                                                          ✓   ✓



          ✓        Current on payments     C      Co llection
          CO       Cha rge off

           Payment history guide
           Collection as of May 2021

           Charge Off as of Jan 2021 to Ap r 2021




         ~
                   Balance Histories

                     Date                Ba lance               Schedu led Payment            Paid

                     Mar 2021            $1,258                 $0                            $0 on 10/8/2020

                     Jan 2021            $1,258                 $0                            $0 on 10/8/2020

                     Dec 2020            $1,258                 $488                          $0 on 10/8/2020

                     Nov 2020            $1,258                 $488                          $0 on 10/8/2020

                     Oct2020             $1,258                 $488                          $1 ,627 on 10/8/2020

                     Sep 2020            $6,718                 $488                          $0 on 8/10/2020

                     Aug 2020            $6,718                 $488                          $15,604 on 8/10/2020

                     Jul2020             $22,233                $488                          $500 on 7/6/2020

                     Jun 2020            $22,455                $488                          $500 on 6/3/2020

                     May 2020            $22,682                $488                          $0 on 4/3/2020

                     Apr2020             $22,398                $488                          $245 on 4/3/2020

                     Mar 2020            $22,369                $488                          $244 on 3/31/2020

                     Feb 2020            $22,327                $488                          $750 on 2/27/2020

                     Jan 2020            $22,507                $488                          $600 on 1/23/2020

                     Dec 2019            $22,815                $488                          $490 on 12/26/2019

                     Nov 2019            $23,013                $488                          $0


htlps://usa.experian .com/member/dispute/print?type=CDF&alertld =RTE00002242 10003300000091 6805202021125610000019301           5/92
                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 20 of 234
    Account Dispute Opened
    You have opened an Account Dispute on your Experian credit report.



                                                                                                                                Ill

The dispute for the account with CAPITAL O E AUTO FINA CE that starts with 62051 SXXXXXXXXXXX has been received and should be
completed by 07/28/2021 .

Source:
Experian

Date Submitted:
Jun 29, 2021

Estimated Resolution Date:
Jul28, 2021

Report Number:
4190-1630-82

Account Number:
620515XXXXXXXXXXX
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 21 of 234

Report Number 4190-1630-82




 CAPITAL ONE AUTO FINAN
                                                                 Upda ed
 Account • 62051 SX    X XXXXX

 The item you disputed as been updated thich may include an update to the
 dtsp ed informa ·on. Please reVJe our report for he de ails.

                                                         View Details   >
                           Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 22 of 234
    Account Dispute Updated                                                                                        Jul 19, 2021 • • •

    Your Accoun Dispute has been updated.



                                                                                                                                 111

The dispute for the account with CAPITAL ONE AUTO FINANCE that starts with 62051 SXXXXXXXXXXX has been updated .

Source:
Experian

Date Submitted:
Jun 29, 2021

Report Number:
4190-1 630-82

Account Number:
620515XXXXXXXXXXX

Company:
CA PITAL O E AUTO FINANCE

Address:
3/ 15/23, 9:03 PM     Case 1:23-cv-00597-MLB-JCF Document 6 Expe
                                                              Filed
                                                                 rian
                                                                      03/20/23 Page 23 of 234
                                                                                                                                      Prepared For

                                                                                                                         ANDREA L MARION
                                                                                                                          Personal & Confidential

                                                                                                                     Date Generated Jul 19, 2021

                                                                                                                   Report Number 4190-1630-82




      About Dispute Results
      Our reinvestigation of the dispute you recently submitted is now complete . If we were able to make changes to
      your credit report based on information you provided, we have done so. Otherwise we have contacted the
      company reporting the information you disputed, supplied them all relevant information and any documents you
      gave us with your dispute, and instructed them to: review all information we provide them about you r dispute;
      veri fy the accuracy of the information; provide us a response to your dispute; and update the ir reco rds and
      systems as necessary.

      If an item you disputed is not in the list of results below, it was either not appearing in your credit fil e or it
      already reflected the requested status at the time of our reinvestigation .



      Here are your results



         CAPITAL ONE AUTO FINAN

         Account·620515XXXXXXXXXXX
                                                                                                                                      Updated
         The item you disputed has been updated, which may include an update to the disputed
         information. Please review your report for the details.

         You can contact CAPITAL ONE AUTO FINAN at PO BOX 259407, PLANO , TX 7 5025 or (800) 946-033 2




                     After your dispute


                    Account Info

                    Account Name                  CAPITAL ONE AUTO FINANCE          Balance                         $1 ,258

                    Account Number                620515XXXX~XXXXXX                 Balance Updated                 07/13/2021

                    Account Type                  Auto Loan                         Recent Payment                  $0

                    Res pons ibility              Individual                        Monthl y Paym ent               $0

                    Date Opened                   11 / 19/2019                      Origina l Balance               $22,899

                    Status                        Account charged off/Never late.   Highest Ba lance                $0
                                                  $6,709 written off. $1,258 past
                                                                                    Terms                           75 Months
                                                  due as of Jul 2021 .



httn,::·//i 1,::;,, AxnAri;,,n r.nmlmAmhAr/rlisn, 1IA/nrint?tvoe=CDF&;ilertld=RTE0000 224 2 100033000000916807192021140626000027334                  1/80
3/ 15/23, 9 :04 PM
                        Case 1:23-cv-00597-MLB-JCF Document 6Experian
                                                               Filed 03/20/23 Page 24 of 234
                     Acco unt Nam e               CAPITAL ONE AUTO FINANCE             Bala nce                           $1,258

                     Account Number               620515XXXXXXXXXXX                    Balance Updated                    05/31/2021

                     Account Type                 Auto Loan                            Recent Payment                     $0

                     Responsi bility              Individual                           Monthly Payment                    $0

                     Date Opened                  11/19/2019                           Ori ginal Balance                  $22,899

                     St atu s                     Account charged off. $6,709          Hi ghest Balance                   $0
                                                  written off. $1,258 past due as of
                                                                                       Term s                             75 Months
                                                  May 2021 .
                                                                                       On Record Until                    Sep 2027
                     St atus Updated              01/2021




          [I] Payment History

                           J           F                                         J              J          A          s        0       N   D

          2021           co            co   co         co            co
          2020            ✓            ✓     ✓          ✓            ✓          ✓               ✓          ✓          ✓        ✓


          2019

            ✓        Current on payment s    CO      Charge off

             Payment history guide

             Charge Off as of May 2021 , Jan 2021 to Apr 2021

             Collection as of May 2021




          ~
                     Balance Histories


                       Date                 Balance             Scheduled Payment                              Paid

                       Mar 2021             $1,258              $0                                             $0 on 10/8/2020

                       Jan 2021             $1,258              $0                                             $0 on 10/8/2020

                       Dec 2020             $1,258              $488                                           $0 on 10/8/2020

                       Nov 2020             $1,258              $488                                           $0 on 10/8/2020

                       Oct2020              $1,258              $488                                           $1,627 on 10/8/2020

                       Sep 2020             $6,718              $488                                           $0 on 8/10/2020

                       Aug 2020             $6,718              $488                                           $15,604 on 8/10/2020

                       Jul2020              $22,233             $488                                           $500 on 7/6/2020

                       Jun 2020             $22,455             $488                                           $500 on 6/3/2020



hltps://usa .experian .com/member/dispule/prinl?type=CD F &alertld=RTE0000224210003300000091680719?0? 1140R?Rnnnn?7114                         ,1/Af\
3/15/23, 9:04 PM
                     Case 1:23-cv-00597-MLB-JCF Document 6 Experian
                                                             Filed 03/20/23 Page 25 of 234

                     Date                     Ba lance             Schedu led Payment           Paid

                     Feb 2020                 $22,327              $488                         $750 on 2/27/2020

                     Jan 2020                 $22,507              $488                         $600 on 1/23/2020

                     Dec 2019                 $22,815              $488                         $490 on 12/26/2019

                     Nov 2019                 $23,013              $488                         $0


                   Additional info

                   The original amount of this account was $22,899




                   Contact Info

                   Address                           PO BOX 259407,
                                                     PLANO TX 75025




                   Comment

                   Current:

                   Account previously in dispute - investigation complete, reported by
                   data furnisher



                   Previous:

                   Account previously in dispute - investigation complete, reported by
                   data furnisher

                   May 2021, Mar 2021




                   Your Statement

                   Y ITEM DISPUTED BY CONSUMER




         ~         Reinvestigation Info

                   This item was updated from our processing of your dispute in Jul
                   2021.




         I~         Before your dispute


         ~ Account Info

https://usa.experian .com/member/d isoute/orint?tvoe=C DF &alertld =RTE0000224 2100033000000916807192021140626000027334   3/80
3/15/23, 9:03 PM
                     Case 1:23-cv-00597-MLB-JCF Document 6 Experian
                                                             Filed 03/20/23 Page 26 of 234
                   Stat us Updated              01/2021                    On Record Until              Jul2027



                   Payment History



                       J             F                                                              s      0           N   D

         2021         co             co
         2020          ✓             ✓    ✓          ✓          ✓      ✓        ✓            ✓      ✓      ✓


         2019                                                                                                          ✓   ✓



          ✓        Current on payments     CO      Charge off

                   No data for this
          ND
                   period

           Payment history guide
           Charge Off as of Apr 2021 to Jul 2021, Feb 2021, Jan 2021




         ~
                   Balance Histories


                     Date                 Balance           Schedu led Payment                   Paid

                     May 2021             $1,258            $0                                   $0 on 10/8/2020

                     May 2021             $1,258            $0                                   $0 on 10/8/2020

                     Mar 2021             $1,258            $0                                   $0 on 10/8/2020

                     Jan 2021             $1,258            $0                                   $0 on 10/8/2020

                     Dec 2020             $1,258            $488                                 $0 on 10/8/2020

                     Nov 2020             $1,258            $488                                 $0 on 10/8/2020

                     Oct 2020             $1,258            $488                                 $1,627 on 10/8/2020

                     Sep 2020             $6,718            $488                                 $0 on 8/10/2020

                     Aug 2020             $6,718            $488                                 $15,604 on 8/10/2020

                     Jul2020              $22,233           $488                                 $500 on 7/6/2020

                     Jun 2020             $22,455           $488                                 $500 on 6/3/2020

                     May 2020             $22,682           $488                                 $0 on 4/3/2020

                     Apr2020              $22,398           $488                                 $245 on 4/3/2020

                     Mar 2020             $22,369           $488                                 $244 on 3/31/2020


https://usa. experian .com/member/dispute/print?tvoe=CD F&alertld=RTE00002242100033000000916807192021140626000027334           2/80
                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 27 of 234
    Account Dispute Opened                                                                                             Aug31 , 2021    •••

    You have opened an Account Dispute on your Experian credi report.



                                                                                                                                      Ill

The dispute for the account with CAPITAL O E AUTO FINANCE thats arts with 620515XXXXXXXXXXX has been received and should be
completed by 09/25/2021.

Source:
Experian

Date Submitted:
Aug 27, 2021

Estimated Resolution Date:
Sep 25, 2021

Report Number:
3526-0046-89

Account Number:
620515XXXXXXXXXXX
                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 28 of 234
    Account Dispute Updated                                                                                        Sep 03, 2021 • • •

    Your Account Dispute has been updated.



                                                                                                                                 Ill

The dispute for the account with CAPITAL ONE AUTO FINANCE that sta rts with 62051 SXXXXXXXXXXX has been updated.

Source:
Experian

Date Submitted:
Aug 27, 2021

Report Number:
3526-0046-89

Account Number:
62051 SXXXXXXXXXXX

Company:
CAPITAL ONE AUTO FINA CE

Address:
Po Box 259407. Plano, TX 75025
                                    Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 29 of 234
~experian~                                                                           Prepared For ANDREA MARION   Date generated: Sep 3, 2021
•
•   CAPITAL ONE AUTO FINAN                                                                                                             $1 ,258

    7 potentially negative months                                                                                                      Closed



    ~ Account info
    Accoun · name                       CAPITAL ONE AUTO FINAN        Balance                                                         $1 ,258

    Accoun number                          620515XXXXXXXXXXX          Bal ance updated                                       Aug 23, 2021

    Original credi or                                                 Original balance                                               $22,899

    Company sold                                                      Mont ly paymen

    Accoun ·ype                                      Auto Loan        Past due amount                                                 $1 ,258

    Date opened                                    Nov 19, 2019        ighest balance

    Open/ closed                                        Closed        Terms                                                        75 Months
    sta us                                           Charge-off       Responsibil"                                                 Individual
    sta us pdated                                     Jan 2021        You            ......-CONSUMER STATEMENTtt Y ITEM DISPUTED BY
                                                                      statement      CONSUMER




    (]] Payment history




                    ✓               ✓                             ✓                            ✓                               ✓



                                                                                                                    ✓
                                Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 30 of 234
    Account Dispute Opened                                                                                                 Sep 20, 2021 • • •

    You have opened an Account Dispute on your Experian credit report.




The dispute for the account w ith CAPITAL ON E AUTO FINANCE that starts with 62051 SXXXXXXXXXXX has been received and should be
completed by 10/1 5/2021.

Source:
Experian

Date Submitted:
Sep 16, 2021

Estimated Resolution Date:
Oct 15, 2021

Report Number:
3796-8201-16

Account Number:
620515XXXXXXXXXXX
                                      Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 31 of 234
     Account Dispute Updated                                                                                        Sep 24, 2021 •••

     Your Account Dispute has been updated.




The dispute for the acc ount with CAPITAL O E AUTO FINANCE that starts with 62051 SXXXXXXXXXXX has been updated .

Source:
Exper ian

Date Submitted:
Sep 16, 2021

Report Number:
3796-8201 -16

Account Number:
620515XXXXXXXXXXX

Company:
CAPITAL O E AUTO FINA CE

Address:
Dr. Ar.v 'Jt;Q,1()7 Dl-:,nr. TY 7t;()')i;
                                     Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 32 of 234
~experian.                                                                          Prepared For ANDREA MARION   Date generated: Sep 24, 2021
•
 •   CAPITAL ONE AUTO FINAN                                                                                                           S1 ,258

     8 potentially nega ive months                                                                                                    Closed



     ~ Account info
     Accoun name                          CAPITAL ONE AUTO FINAN        Balance                                                      S1 ,258

     Accoun number                           620515XXXXXXXXXXX          Balance updated                                       Sep 03, 2021

     Original cre<li or                                                 Original balance                                           $22,899

     Company sold                                                       Mon lypaymen

     Accoun type                                       Auto Loan        Past due amount                                              $1 ,258

     Date opened                                     Nov 19, 2019        ighest balance

     Open/ close<!                                        Closed        Terms                                                   75 Months

       a us                                            Charge-off       Respo sibil y                                             Individual

       a us pdated                                      Jan 2021        You         # CONSUMER STATEMENP-.1: y ITEM DISPUTED BY
                                                                        s atement   CONSUMER




     [I) Payment hi.story


                      ✓               ✓         ✓                   ✓                          ✓         ✓          ✓



                                                                                                                    ✓
                              Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 33 of 234
    Account Dispute Opened                                                                                                Mar 10, 2022 •••

    You have opened an Account Dispute on your Experian credit report.




The dispute for the account with CAPITAL O E AUTO FINA CE that starts w t h 62051 SXXXXXXXXXXX has been received and should be
completed by 04/ 02/2022.

Source:
Experian

Date Submitted:
Mar 04, 2022

Estimated Resolution Date:
Apr 02, 2022

Report Number:
0195-5924-71

Account Number:
620515XXXXXXXXXXX

Company:




                                                                    k4
    Account Dispute Updated
                                 Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 34 of 234               Mar 1 5, 2022 •. •

    Your Account Dispu e has been updated.




The dispute for the account with CAPITAL ONE AUTO Fl A CE that starts with 620515XXXXX:XXXXXX has been updated .

Source:
Experian

Date Submitted:
Mar 04, 2022

Report Number:
0195-5924-71

Account Number:
620515XXXXXXXXXXX

Company:
CAPITAL O E AUTO FINANCE

Address :
Po Box 259407, Plano, TX 75025
                                 Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 35 of 234
 ••
~experian .                                                                     Prepared For ANDREA MARION   Date generated;     ar 15, 2 2.2
•
 e CAPITAL ONE AUTO FINAN                                                                                                            $1 ,258

    14 potentially negative months                                                                                                   Closed



    ~ Account info
    Accoun name                           CAPITAL ONE AUTO FINAN    Balance                                                        $1 ,258

    Account number                           620515XXXXXXXXXXX      Balance updated                                      Mar 11 , 2022

    orgi al credi or                                                Original balance                                              $22,899

    Company sold                                                     onthly payrnen

    Accoun ype                                         Auto Loan    Past due amount                                                $1 ,258

    Date opened                                      Nov 19, 2019   Hig est bala ce

    Open/ closed                                          Closed    Terms                                                       75 Months

      a us                                             Charge-off   Responsibil"                                                Individual

      a us updated                                      Jan 2021    Your           -CONSUMER STATEMENTH y ITEM DISPUTED BY
                                                                    s a ement      CONSUMER




    W Payment history

                     :c
                     :c                                                                    :o
                                     .,         ✓
                                                                                           .,        .,         ✓
                                                                                                                           .,
3/15/23, 9:23 PM
                     Case 1:23-cv-00597-MLB-JCF Document 6 Experian
                                                             Filed 03/20/23 Page 36 of 234
                                                                                                                          Prepared For

                                                                                                            ANDREA L MARION
                                                                                                             Personal & Confidential

                                                                                                       Date Generated   Mar 23, 2022
                                                                                                      Report Number     0195-59 24-71




     About Dispute Results
     Our reinvestigation of the dispute you recently submitted is now complete. If we were able to make changes to
     your credit report based on information you provided, we have done so. Otherwise we have contacted the
     company reporting the information you disputed, supplied them all relevant information and any documents you
     gave us with your dispute, and instructed them to : review all information we provide them about your dispute;
     verify the accuracy of the information; provide us a response to your dispute; and update their records and
     systems as necessary.

     If an item you disputed is not in the list of results below, it was either not appearing in your credit file or it
     al ready reflected the requested status at the time of our reinvestigation .



     Here are your results


        SANTANDER CONSUMER USA

        Account·300002XXXXXXXXXXX
                                                                                                                          Updated
        The item you disputed has been updated, which may include an update to the disputed
        information. Please review your report for the details.

        You can contact SANTANDER CONSUMER USA at PO BOX 961211, FORT WORTH , TX 76161 or (888) 222-
        4227




                    After your dispute



         ~
                   Account Info

                   Account Name             SANTANDER CONSUMER USA        Balance

                   Account Number           300002XXXXXXXXXXX             Balance Updated

                   Account Type             Auto Loan                     Recent Payment

                   Responsibility           Individual                   Monthly Payment               $0

                   Date Opened              10/23/2017                   Original Balance              $9,613

                   Status                   Paid, Closed .               Highest Balance               $0

                   Status Updated           12/2019                      Terms                         61 Months

hllps://usa .experian.com/member/dispute/print?type=CDF&alertld = RTE00002242100033000000916803232022235908000024133                     1/87
3/15/23, 9:23 PM
                     Case 1:23-cv-00597-MLB-JCF Document 6Experian
                                                            Filed 03/20/23 Page 37 of 234
         rn        Payment History


                   No payment history available to display.



                   Contact Info

                   Address                            500 E 60TH ST N,
                                                      SIOUX FALLS SD 57104




                   Comment

                   Current:

                   Account in dispute under Fair Credit Billing Act.



                   Previous:


                   None




         ~         Reinvestigation Info

                   This item was updated from our processing of your dispute in Oct
                   2021 .




        CAPITAL ONE AUTO FINAN

        Account·620515XXXXXXXXXXX
                                                                                                                          Updated
        The item you disputed has been updated, which may include an update to the disputed
        information. Please review your report for the details.

        You can contact CAPITAL ONE AUTO FINAN at PO BOX 259407, PLANO , TX 75025 or (800) 946-0332




         Ct) After your dispute
         ~ Accountlnfo




https ://usa .experian .com/member/dispute/print?type=CDF &alertld = RTE00002242100033000000916803232022235908000024133             5/87
3/15/23, 9:23 PM
                      Case 1:23-cv-00597-MLB-JCF Document 6Experian
                                                             Filed 03/20/23 Page 38 of 234
                   Account Name                 CAPITAL ONE AUTO FINANCE          Balance                         $1,258

                   Account Number               620515XXXXXXXXXXX                 Balance Updated                 03/15/2022

                   Acco unt Type                Auto Loan                         Rece nt Payment                 $0

                   Responsi bility              Individual                        Monthly Payment                 $0

                   Date Opened                  11/19/2019                        Orig in al Balance              $22,899

                   St atu s                     Account charged off/Never late.   Highest Balance                 $0
                                                $6,709 written off. $1,258 past
                                                                                  Terms                           75 Months
                                                due as of Mar 2022.
                                                                                  On Record Until                 Sep 2027
                   St atus Updated              01/2021




         rn        Payment History



                         j           F    M          A          M           j          j               A      s        0       N    D

         2022          co            co   co
         2021          co            co   ND        co          co        co         co            co        co        co      co   co
         2020           ✓            ✓    ✓         ✓           ✓          ✓          ✓             ✓         ✓        ✓       ✓    ✓


         2019                                                                                                                  ✓    ✓



          ✓        Current on payments     co      Charge off

                   No data for thi s
          ND
                   period

           Payment history guide
           Charge Off as of Apr 2027 to Mar 2022, Feb 2027, Jan 2027




         ~
                   Balance Histories

                     Date                 Balance             Scheduled Payment                            Paid

                     Dec 2021             $1,258              $0                                           $0 on 10/8/2020

                     Nov 2021             $1,258              $0                                           $0 on 10/8/2020

                     Oct 2021             $1,258              $0                                           $0 on 10/8/2020

                     Sep 2021             $1,258              $0                                           $0 on 10/8/2020

                     May 2021             $1,258              $0                                           $0 on 10/8/2020

                     May 2021             $1,258              $0                                           $0 on 10/8/2020

                     Mar 2021             $1,258              $0                                           $0 on 10/8/2020

                     Jan 2021             $1,258              $0                                           $0 on 10/8/2020


https:/ /usa .experian .com/member/dispute/print?type=CDF &alertld=RTE000022421 0003300000091680 3232022235908000024133                  6/87
                              Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 39 of 234
    Account Dispute Opened                                                                                              Apr 05, 2022 • • •

    You have opened an Account Dispute on your Experian credit report .



                                                                                                                                      Ill

The dispute for the account wi h CAPITAL O E AUTO Fl A CE thats arts with 62051 SXXXXXXXXXXX has been received and should be
completed by 04/ 30/ 2022.

Source:
Experian

Date Submitted:
Apr 01 , 2022

Estimated Resolution Date:
Apr30, 2022

Report Number:
1139-777 5-44

Account Number:
620515XXXXXXXXXXX

Company:
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 40 of 234
    Account Dispute Opened                                                                                              Apr 14, 2022 • • •

    You have opened an Account Dispute on your Experian credit report.



                                                                                                                                      tu

The dispute for the account wi h CAPITAL O E AUTO Fl ANCE thats arts wi h 62051 SXXXXXXXXXXX has been received and should be
completed by 05/ 11/2022.

Source:
Experian

Date Submitted:
Apr 12, 2022

Estimated Resolution Date:
May 11 , 2022

Report Number:
0470-0402-25

Account Number:
620515XXXXXXXXXXX

Company:
    Account Dispute UpdatedCase 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 41 of 234                                      ay 02. 2022 •••

    Your Account Dispute has been updated.



                                                                                                                                               Ill

The dispute for the accoun wi h CAPITAL O E AUTO Fl ANCE t11at starts with 620515XXXXXXXXXXX was no changed as a result of our
processing of your dispute. The company that reported the information has certified to Experian that the information is accurate.

Source:
Experian

Date Submitted:
Apr 12, 2022

Report Number:
0470-0402-25

Account Number:
620515XXXXXXXXXXX

Company:
CAPITAL O E AUTO FINANCE

Address:
Po Box 259407 Plano, TX 75025
                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 42 of 234
    Account Dispute Opened                                                                                              Jun 1 0. 2022 •• •

    You have opened an Account Dispute on your Experian credi report.




The dispute for the account with CAPITAL O E AUTO Fl ANCE thats arts with 62051 SXXXXXXXXXXX has been received and should be
completed by 07/ 07/2022.

Source:
Experian

Date Submitted:
Jun 08, 2022

Estimated Resolution Date:
Jul07, 2022

Report Number:
1284-3145-21

Account Number:
620515XXXXXXXXXXX
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 43 of 234
    Account Dispute Updated                                                                                                         Jun 30, 2022 • • •

    Your Account Dispute has been updated.




The dispute for the account with CAPITAL O E AUTO Fl ANCE that starts with 62051 SXXXXXXXXXXX was no changed as a result of our
processing of your dispute. The company that reported the information has certified to Experian that the information is accurate.

Source:
Experian

Date Submitted:
Jun 08, 2022

Report Number:
1284-3145-21

Account Number:
620515XXXXXXXXXXX

Company:
CAPITAL O E AUTO FINA CE

Address:
Po Bax 259407 Plana IX 75025
                                         Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 44 of 234
      Account Dispute Opened                                                                                                    0   13, 2022 • • •

      You have opened an Account Dispute on your Experian credit repor .



                                                                                                                                              Ill

The dispute for the account with CAPITAL O E AUTO Fl        A CE that starts wi h 62051 SXXXXXXXXXXX has been received and should be
completed by 11 / 09/2022.

Source:
Experian

Date Submitted:
Oct 12, 2022

Estimated Resolution Date:
  ov 09, 2022

Report Number:
0900-0421-91

Account Number:
620515XXXXXXXXXXX

Company:
r.tiP ITll l n   ~ 6 1 ITn ~ I NtiNr.~
                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 45 of 234
    Account Dispute Updated                                                                                       No 04, 2022 ··•
    Your Account Dispute has been updated.




The dispute for the accoun · w i h CAPITAL O E AUTO Fl A CE thats arts with 620515XXXXXXXXXXX has been updated.

Source:
Experian

Date Submitted:
Oct 12, 2022

Report Number:
0900-0421-91

Account Number:
620515XXXXXXXXXXX

Company:
CAPITAL O E AUTO FINA CE

Address :
Po Box 259407, Plano, TX 75025
                              Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 46 of 234

e CAPITAL ONE AUTO FINAN                                                                    J                            $1,258

                                                                                     \ t>O.(\~ \ \&()1,,
                                                                  .l\({W\~

  23 potentially negative months                                ~\\HY'"                                                  Closed



  ~ Account info
                                                 \~(\cB!~ i~~~~\ ~
                                                          \)v            ~ ~~
                                                                                            \G')

 Account name                      CAPITAL ONE AUTb FINAN                                                              $1,258

 Account number                       62051 sxxxi~xxxxx           Balance updated                                 Jan 13, 2023

 Original creditor                                                Original balance                                    $22,899     I



 Company sold                                                     Monthly payment

 Account type

 Date opened

 Open/closed                       ~""ij
                                        @
                                    ....~~
                                                 Autoloan

                                              'Nov 19, 2019

                                               .______,Closed
                                                                  Past due amount

                                                                  Highest balance

                                                                  Terms
                                                                                                                       $1,258



                                                                                                                    75 Months
 status                                         Charge-off        Responsibility                                     Individual   '

 status updated                                   Jan 2021        Your      *CONSUMER STATEMENTtt Y ITEM DISPUTED BY
                                                                  statementCONSUMER y ITEM DISPUTED BY CONSUMER



  W Payment history

                  ,: o

                                         co                                                         v.l    CC•

                  CC•

                                                                               ✓        ✓           ✓       ✓



                                                                                                            ✓




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                                                                                                   l5 ua: tuolt CaXJ)(lf-)
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 47 of 234
                                 Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 48 of 234
     Account Dispute Opened                                                                                                    Oc 20, 2022 • • •

     You have opened an Account Dispute on your Experian credit repor .




The dispute for the account   ✓ i th US DEPT OF ED/ GLELSI that starts with 375625XXXXXXXXXX has been received and should be completed by

11 / 16/ 2022.

Source:
Experian

Date Submitted:
Oct 19, 2022

Estimated Resolution Date:
Nov 16, 2022

Report Number:
 256-7217-41

Account Number:
375625XXXXXXXXXX

Company:
                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 49 of 234
    Account Dispute Opened                                                                                                 Oc 20 20 2 • • •

    You have opened an Account Dispute on your Experian credit report.



                                                                                                                                        Ill

The dispute for the account with US DEPT OF ED/ GLELSI that starts with 275625XXXXXXXXXX has been received and should be comple ed by
11 / 16/2022.

Source:
Experian

Date Submitted:
Oct 19, 2022

Estimated Resolution Date:
 ov 16, 2022

Report Number:
 256-7217-41

Account Number:
275625XXXXXXXXXX

Company:
US DEPT OF ED/ GLELSI
                                    Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 50 of 234

Report Number 4256-7217-41                        Date Generated Nov 9, 2022




  US DEPT OF ED/ GLELSI
                                                                 (v Upda ed
  Account · 275625XX     XXXXXX

  Information on this item has been upda ed. Please revie, your report for the
  de alls

                                                              Vie    Details >




  US DEPT OF ED/ GLELSI
                                                                        Upda ed
  Account · 375625XXXXX       XXX

  In ormation on this i em has been upda ed. Please re11ie• your repo    or the
  details.

                                                              View Details >
US DEPT OF ED/ GLELSI                  Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 51 of 234
Account · 275625XXXXXXXXXX

lnformauoo on this item has been updated. Please review your repon for the details.
                                                                                                                                        CV
                                                                                                                                        Updat

You can contact US DEPT OF EOJGLELSI at PO BOX 7860, MADISON , Wl 53707 or (800) 236-43




Ct) After your dispute
~      Account Info
       Account f~ame                         US DEPT OF ED/ GLELSI                     Balance                       S56,476
                                             275625XXXXXXX:XXX                         Balance Updated               09/30/2022
        .ccount l ;-pe                       Education                                 Recent Payment                so
       Respons.bil"                          Individual                                Momhly Paymem                 so
         ate Opened                          01/23/2018                                Orig inal Balance             S52,900
       Sta:us                                Open/Never late .                         HigheS1 Ba!ance               so
       S1a:usUoda                            09/2022                                   Tams                          NA



w      Payment History

                     Jan         Feb          ar                    Ma           Jun                           Sep        Oct     Nov

             2        ✓          ✓           ✓            ✓          ✓            ✓              ✓         ✓   ✓


        2021          ✓          ✓           ✓            ✓          ✓            ✓              ✓         ✓   ✓          ✓       ✓      ✓


                      ,o         ND         I\                       ND           ✓              ✓         ✓   ✓          ✓       ✓      ✓


        ~v19          ✓          ✓           ✓            ✓          ✓            ✓              ✓         ✓   ✓          ✓       ✓



                                            No o.ata tor u.s
         ✓       Currem on pa·   ms     ~
                                            pffiod



 ~     n-•---- I ,:,__._ ..:__
                                        Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 52 of 234
US DEPT OF ED/ GLELSI

Account ·37562SXXX.XXXX                                                                                                                          CV
                                                                                                                                                 Updated
lnformatioo on this item has been updated. Please                report tor the details.
You can comact US DEPT OF ED/GLELSI at PO BOX 7860, MADISON , WI 53707 Of (800) 236-43




Ci) After your dispute
@]     Account Info

                                              US DEPT OF ED/ GLELSI                         Balance                           $1,478
                                              375625XX:XXXXXXXX                             Balance Update<!                  09/ 30/ 2022
                    Type                      Education                                     Recent Pa~-rnem                   $0
       Respons, bility                        Individual                                    Moothly Payment                   $0
       Date Opened                            l 0/26/2 017                                  Origmal Ba.lance                  $1 ,498
       &.aws                                  Open/ Never late.                             Higrie-51 Ba'ance                 $0
       S:a11.JS Updated                       09/ 2022                                      Terms                             NA



w      Payment History

                      Jan         Feb       Mar            Apr          May           Jun             Jul       AJ.l9   Sep        Oct            ec
        2022           ✓           ✓         ✓              ✓            ✓             ✓              ✓          ✓      ✓


        ~v21           ✓           ✓         ✓              ✓            ✓             ✓              ✓          ✓      ✓           ✓        ✓    ✓


        2020           :,D        ND        ND             ND           I\D            ✓              ✓          ✓      ✓           ✓        ✓    ✓


             19        ND         ND        ND             ND           I\D           NO              NO        ND      ND         ND        ✓


         018           \D         ND        1\0            ND           I\D           NO              NO        ND      ND         N
        -v17           -           -         -              -            -             -              -          -      -           ✓        ✓    ✓



                                            No d ata tor tills
         ✓        current on payments   D      .
                                            penod
                                         Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 53 of 234
l!experian~                                                                                        Pre;:iar   F   ANDREA MARION   Dat e generated: ,lar i 5, 2C23
•
 •   US DEPT OF ED/ GLELSI                                                                                                                             $56,476

     EJcce-p onal payment hist ory                                                                                           Balance update Feb 28, 2023



     [1fil Account info
     Account na     e                                  US DEPT OF ED/ GLELSI         Ba la ce                                                         S56,476

     Account nu ber                                                  927679XXXX      Bala ce updated                                            Feb 28, 2023

     Ongma cred· or                                                                  Ong nal balance                                                  $52,900

     Company s.o d                                                                   Pa id o                                                                 0"6

      ccount   pe                                                  Educ.ition Loan     on I pay ent                                                          so
     Date opened                                                     Jan 23, 2018    Pa s d ea      o n

     Ope I losed                                                             Open    Highes balance

     St a us                                                              Current    Term s                                                          Unknown

     St   us pda ted                                                     Feb 2023    Responsibtl                                                    Individual

                                                                                     Yo r           n coNSUMER STATEMENT            Y ITEM DISPUTED BY
                                                                                     stateme        CONSUMER




     rn    Payment history



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                                     -   :r..c.,,.. c. -c. 1.: •
                                  Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 54 of 234
 ••
~experian                                                                        Pre oar      For ANDREA MARION   Date generat~ Mar 1     2C23
•
e US DEPT OF ED/ GLELSI                                                                                                                 S1 ,478

    E cepuonal paym ent his ory                                                                              Bal nee updated Feb 28, 2023




    ~ Account info
    Account name                          US DEPT OF ED/ GLELSI      Ba lance                                                       S1 ,478

     ccount n m er                                 927677XXXX        Ba lance pda ed                                         Feb 28, 2023

    Ongmal creditor                                                  Ongmal ba lance                                                S1 .498
    Compan • sol                                                     Pa i o•                                                               1%

     c   unt   pe                                Education Loan      I on ly pay em                                                        so
                                                   Oct 26, 2017      Pas d e amo

    Ope / lo::ed                                             Open    Hig es balan e

    Status                                                 Current   Terms                                                       Unknown

    Sta us pda ted                                    Feb 2023       Re spon ibili                                               Indi vidual

                                                                     Yo r                 CONSUMER STATEM ENT'""' ITEM IN DISPUTE BY
                                                                     st a eme        CONSUMER




    rn   Payment history



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                                Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 55 of 234


FED LOAN SERV
                                                                  (V Upda ed
Account · 744826XXXXXXXXXXX

The item you disputed has been updated, which ma include an update to he
disp ed information Please re iev your report for he details.

                                                             View Details >




FED LOAN SERV
                                                                  (v Upda ed
 ccoun · 7    826XXXX     XX X

The · em ou disp ed has been updated, v,hich ma include ari update to he
disputed mforma ion Please re ie ·1 your report for he de ails.

                                                             Vie    Details >




FED LOAN SERV
                                                                     Upda ed
•ccoun · 7    826XX       XX

Information on this rtem has been upda ed. Please rev,e:    our report or the
details.
                                   Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 56 of 234
 ••
~experian                                                                     Prepar   FOl' ANDREA MARION   Date generated::   -r 1 2023
•
e FED LOAN SERV                                                                                                                    Closed
    Exceptional payment hi story



    ~ Account info
    Account name                             FED LOAN SERV        Ba lance

    ,...ccoont num ef                   744826XXX:XXX.XXXXX       Ba lance pdated                                        Jun 06, 2017

    Onginal cred · or                                             Ongmal balance                                                 S2,000

                                                                  Mont ly pa,• en

     cco nt    pe                             Educ.ition Loan     Pa s· d e amo n

    Date pened                                   Sep 12, 2012     Highest balance

    Ope / closed                                       Closed     Term s                                                   142 Months
    Sta us                                  Paid satisfactorily   Respon 1b1lr •                                               Individual

    Sta tus pda ted                                  Jun 2017     Yo r         " CONSUMER STATEMENT           Y ITEM DISPUTED BY
                                                                  sta temen    CONSUMER




    rn    Payment history




    ~ Contact info
                                    Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 57 of 234
 ••
~experia n.                                                                        Prepar   F   ANDREA MARION   Date generated: Mar 1 . 20'2'3
•
 e FED LOAN SERV                                                                                                                      Close
    Excef)tional payment history


    ~ Account info
    Account na e                                 FED LOAN SERV          Bala ce

    Account nu ber                        744826XXXXXXXXXXX             Bala ce pdated                                        Apr09, 2019

    Ongmal cred rtor                                                    Ongmal balance                                               $3,500

    Co pa y so                                                          M nt I paymem

     ccount   pe                                  Edu-cation Loan       Pas d ea o n·

    Date opened                                     Sep 13, 2011        Hig est balance

    Open / losed                                              Closed    Terms                                                  120 Months

    Sta us                         Account transferred to another       Responsibtl"                                              Individual
                                                               office
                                                                         o r           --• CONSUMER STATEMENT     Y ITEM DISPUTED BY
    Status updated                                      Apr2019         sta emem       CONSUMER




    rn   Payment history


                                                        .,.
                                   Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 58 of 234
 ••
~experian~                                                                             Prepa    F   ANDREA MARION   Dat e generated: Mar 15, 023
•
e FED LOAN SERV                                                                                                                          Clos.ed
    Exceptional paym ent history



    ~ Account info
    Account name                                      FED LOAN SERV       Ba lance

     ccount number                         7 44826XXX.X:X.XXXXXX          Balance pdated                                         Apr09, 2019

    Ongfnal erect· or                                                     Ori ginal balance                                            $6,000

    Company o                                                             M   m ly paymem
    Account    pe                                     Education Loan      Pas d e amo

    Date opened                                         Sep 12, 2014      Hig es balance

    Open / closed                                               Closed    Te-rms                                                  120 Month s

    Status                          Account transferre<I to another       Re spo s ib11°                                            Individual
                                                                 office
                                                                          Yo r             ,_,.CONSUMER STATEMENT,.. Y ITEM DISPUTED BY
    Sta us updated                                         Apr 2019       st t.:me         CONSUMER




    rn    Payment history



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                                               ....

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 ...
l!experia n.
                                       Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 59 of 234
                                                                                    Pre:iar   F0< ANDREA AARION   D<lte gener.ited: t,•ar 1 - 2023
•
 •   FED LOAN SERV                                                                                                                         Closed
     Exc~tional pa}-'TTl ent history



     ~ Account info
       cco nt name                                   FED LOAN SERV      Ba lance

       cco nt n m er                          744826XXXXXXXXXXX         Ba lance updated                                         Apr09, 2019

     Onginal cred ·                                                     Ong nal balance                                                  $2,000

     Com any sold                                                       Monthly pay     ent

       cco nt •pe                                     Education Loan    Pas d ea o

       a e pened                                        Sep 13, 2011    Hig es balance

     Ope / closed                                             Closed    Terms                                                     120 Months

     Status                            Account transferred to another   Res pons1b11"                                                  Individual
                                                               office
                                                                        Yo rs a ement
     Status pdated                                          Apr 2019




     [I] Payment history
                                       V u




                                                                                                                                  .,
                                       Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 60 of 234
!experian.                                                                       P~?ared For ANDREA MARION     Date generated: Mar 1    2023
•
 •   FED LOAN SERV
                                                                                                                                       Cl s~
     Exceptional payment his10ry



     ~ Account info
      ccoum na        e                           FED LOAN SERV    Ba la ce

     Account numbe r                      744826XXXX:XXXXXXX       Ba lance pdated                                          Apr09, 2019

     Onginal cred · o                                              Ongmal balance                                                   $3,500

     Compa y sold                                                  Monthly pay        ent

      cecum      pe                               Edu~t ion Loan   Pas d e amc

     Da1e opened                                    Sep 12, 2014   Hi     es b Ian e

     Ope /closed                                         Cl'osed   Terms                                                     120 Months

     Statu:;                       Account transferr~ to another   Res     nsib11i                                                Individual
                                                          office
                                                                   Yo r              .... CONSUMER STATEMENT     Y ITEM DISPUTED BY
     Status pdated                                     Apr2019     sta eme           CONSUMER




     rn    Payment hislory




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         ., :-- --.




     ~ Contact info
                                     Case 1:23-cv-00597-MLB-JCF Document         6 Filed
                                                                 Pr,;narec F , ANDREA MR.ION03/20/23       Page
                                                                                              Date generated: .' r 1 • 61
                                                                                                                       2023of 234




•   FED LOAN SERV
                                                                                                                            Closeo
    Exceptional payment history



    ~ Account info
     ccount na       e                          FED LOAN SERV      Ba lance
    ,-,.ccoum nu         er              744826XXXXXX:XXXXX        Balance pda ed                                 Apr09, 2019
    Ong nal credi or                                               Original balance                                       S3,500

    Co    pa   sold                                                M m I pa mem

     ccount . pe                                 Education Loan    Pa s d ea      o

    Cate opened                                    Sep 12, 2012    Highes balance

    Open,. c losed                                       Closed    Terms                                           120 Months

    Sta   s                       Account transferred to another   Responsrbil'                                         Individual
                                                          office
                                                                   Yo r           r• cONSUMER STATEMENT   Y ITEM DISPUTED BY
    St atus pdated                                     Apr2019     statemen·      CONSUMER




    [I] Payment history



                                                                                                                   ,I




    ~ Contact info
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 62 of 234
    Account Dispute Opened                                                                                                Oct 20, 2022 • • •

    You have opened an Accoun Dispute on your Experian credit report.



                                                                                                                                        Ill

The dispute for the account with FED LOA   SERV thats arts with 744826XXXXXXXXXXX has been received and should be completed by
11 /16/2022.

Source:
Experian

Date Submitted:
Oct 19, 2022

Estimated Resolution Date:
 ov 16, 2022

Report Number:
4256-7217-41

Account Number:
744826XXXXXXXXXXX

Company:
                         Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 63 of 234
e US DEPT OF ED/GLELSI                                                                                                  ?                                               $56,476
                                                                    i ~~                                \t>(A~ · ()P
                                                    r'L~~~ ~
  Exceptional payment history                                                                                                                   Balance updated Dec 31, 2022


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                                                                                             ,~"' (},\\'5 ~;J..,
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                                                                                                                              %'0-,
                                                                                     ~~e
  ~ Account info
                                                                                                                                                                             '0uY \'.:Zl\\cto/e
  Account name

  Account number
                                                            US DEPT~ LELSI

                                                                             o;::~XX                       Balance updated
                                                                                                                                                                        ss6,476 , .
                                                                                                                                                              Dec 31, 2022 '   \ f(,xeDSOQ ~
                                                                                                                                                                                  I

  Original creditor                                                                                        Original balance                                             $52,900   .
                                                                                                                                                                                  ;

  Company sold                                                                                             Paid off

  Account type                       (i\\                                   Education Loan                 Monthly payment

  Dateopened     -'{\O ~d 6,,.(                               ~ Jan 23, 2018                               Past due amount
                          'S~ l '\1.Jl
                        ~~
  Open/closed                                                                             Open             Highest balance

  status                                                                                Current            Terms

  status updated                                                                 Dec 2022                  Responsibility

                                                                                                           Your        ttCONSUMER STATEMENT..,. y ITEM DISPUTED BY
                                                                                                           statement   CONSUMER




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                                                                                                                                                                 ✓



                            ✓                ✓                          ✓        ✓                 ✓          ✓         ✓         ✓      ✓            ✓         ✓



                                                                                                   ✓          ✓         ✓         ✓       ✓           ✓         ✓



                            ✓                ✓                          ✓        ✓                 ✓          ✓         ✓         ✓      ✓            ✓




                                        - C-.it.ii ,. .... ,..,J.~i..
                                                                                                                                                                     '-M1Ss\0~ 0frvlr\-
                                                                                                                                                                          dn: GL
                   \[\\)\Odlt\ 6 ~[, ~lo81-eCb)
                      '\/1Dl~ \,V:S 0f1- \Uil I [CA)O)Cf\J
•   US DEPT OF ED/GLELSI                                                           7
                            Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 64 of $1,478
                                                                                             234
    Exceptional payment history                             ~               \ tf).{\ ,            Balance updated Dec 31, 2022 ·



    ~ Account info
    Account name                     us DEPT OF EDLLELSI
                                                            ~~().~i\~1c \l06i
                                                                Balance

    Account number                           9276~}xxxx         Balance updated

    Original creditor                                           Orfginal balance

    Company sold                                                Paid off

    Account type                           Education Loan       Monthly payment

    Date opened                              Oct 26, 2017       Past due amount

    Open/closed                                     Open        Highest balance

    Status                                        Current       Terms                                               Unknown

    Status updated                              Dec 2022        Responsibility                                      Individual

                                                                Your          tt:CONSUMER STATEMENTtt: ITEM IN DISPUTE BY
                                                                statement     CONSUMER




    (]] Payment history
2/1/23, 2:01 PM
                            Case 1:23-cv-00597-MLB-JCF Document 6Experrao
                                                                   Filed 03/20/23 Page 65 of 234

     ••
    ~experianw
      •
      . FED LOAN SERV

        Exceptional payment history



          ~ Account info

          Account name
                                                                                                                         Balance       -          .Y,         (l/1 \   d D~_.\,-
                                                                                                                                                  ~ \M 01\ooce
          Account number                                                                                                                                                                             Jun 06, 2017

                                                                                                                         '''"""''"~                                                                     e:>
                                                                                                                                                  ~~~r . ~ .
          Original creditor                                                                                              Original balance

          Company sold                                                                                                   Monthly payment

          Account type                                                                     Education Loan                Past due amount



                                                                   USffi?
          Date opened                                                                           Sep 12, 2012             Highest balance

          Open/ closed                                                                     -           Closed            Terms

          Status

          Statu s updated
                                                                                         _......
                                                                                         Paid satisfactorily

                                                                                                          ,017
                                                                                                                         Responsibility

                                                                                                                         Your statement
                                                                                                                                                                                                        Individual

                                                                                                                                                            - CONSUMER STATEMENT- Y ITEM DI SPUTED BY CONSUMER




          ClJ Payment history
                                                                                                                 ~ l5 tnl~7
                                Jan            Feb           Mar            Apr                May               Jun        Jul             Aug         Sep           Oct         Nov          Dec
                     2017        ✓             ✓              ✓              ✓                 ✓                 NA
                     2016                      ✓                             ✓                 ✓                 ✓           ✓              ✓           ✓              ✓           ✓           ✓




                ✓    On Time                          NA No Applicable Payment History          -    Data Unavailable


                                                                                                                        -- - -Pi\\~11=1~ \\jr:Ytf-dctlCL
          9   Contact info

                    Address                                    PO BOX 60610 HARRISBURG,
                                                               PA 17106
                                                                                                                                 -m<Y\ 20llQ lZD11
                    Phone number                               (800) 699-2908




          r1i Comments
                                                                                                                          \flD \Clt1UY\ fR- -'
                    Dlsp~e resolved - cons umer ding,...                  5
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                            Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 66 of 234
2/1/23, 2:01 PM                                                                                                       Experian

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    ~experianN                                                                                                                        Prepared For ANDREA MARION        Date generated: Feb 1, 2023
      •
       e FED LOAN SERV
                                                                                                                                                                                                  Closed
        Exceptional payment history




          el Account info

          Account name                                                                                             Balance

          Account number                                                                                           Balance updated                                                         Apr 09, 2019

          Original creditor                                                                                        Original balance                                                         @)
          Company sold                                                                                             Month ly payment

          Account type                                                                   Education Loan            Past due amount

          Date opened                                                                      Sep 13, 2011            Highest balance

          Open/closed                                                                    ,__.     Closed           Terms                                                                   120 Months




                                                                           2
          Status                                                    Account transferred to another office          Responsibility                                                             Individual

          Statu s updated                                                                                          Your statement                   -CONSUMER STATEMENT- Y ITEM DISPUTED BY CONSUMER
                                                                                                Apr2019




          ID Payment history
                                                     -                     -~-----~                          -t6 ~\S(
                                Jan            Feb           Mar             Ap           May               Jun       Jul             Aug      Sep           Oct         Nov         Dec
                     2019                                                    NA
                    2D18

                    2017         ✓             ✓              ✓


                    2016                       ✓                             ✓             ✓                ✓          ✓              ✓         ✓             ✓           ✓           ✓




               ✓    OnTime                             NA No Applicab~ P1ymen1 History      -   011a Unavailable




          9 Contact Info

                   Address                                      PO BOX 60610 HARRISBURG,
                                                                PA 17106

                   Phone number                                (800) 699-2908




          Ii Comment s

                   Dispute resolved - consumer disagrees




hltps://usa .experian. com/member/orintable-reoort/P.xnP.ri"n/nnw
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                         Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 67 of 234

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    ~experianM                                                                                                                          Prepared For ANDREA MARION   Date generated: Feb 1, 2023

     •
      eFED LOAN SERV
                                                                                                                                                                                              Closed
       Exceptional payment history




         ~ Account info

         Account name                                                                                                Balance

         Account number                                                                                              Balance updated                                                   Apr 09, 2019

         Original creditor

         Company sold
                                                                         ~'                              _:
                                                                                                                     Original balance

                                                                                                                     Monthly payment
                                                                                                                                                                                       ~
         Account type                                      (}                   ~Education Loan                      Past due amount

         Date opened
                                                     .\t\~\\ '                             ~                         Highest balance

         Open/closed                             \}J' v- \                                         Closed            Terms                                                             120 Months

         Status                                                    . Account transferred to another office           Responsibility                                                       Individual

         Status updated                                                                          Apr 2019            Your statement


                                                                                                   1/.
         Ill Payment history


                                Jan            Feb           Mar              Ap'/
                                                                                       ~~J\?
                                                                                           May                Jun       Jui             Aug      Sep       Oct        Nov        Dec

                    2019                                                      NA

                    2018

                    2017         ✓             ✓              ✓


                                                                               ✓            ✓                 ✓          ✓              ✓         ✓         ✓         ✓           ✓
                    2016




                                                                                                                         '{-Y\f>Stf\0 ~ fY1t--d lll-0--
               ✓    OnTlme                                 No Applicable Paymen1 Hislory     -   oa,a Unava ilable




         g   Contact info

                   Address


                   Phone number
                                                 _P_OBOX-60610H-ARRISB-URG
                                                               PA 17106
                                                                         , - - -                                            r\ 20\ lt1 l 11
                                                                                                                               \                                 w
                                                               (800) 699-2908




         ® Comments

                   Dispute resolved - consumer disagrees                                         \f\D \QMVf
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Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 68 of 234




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Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 69 of 234
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 70 of 234
    Account Dispute Opened                                                                                               Oct 18, 2021 • • •

    You have opened an Account Dispute on your Experian credit report.



                                                                                                                                       Ill

The dispute for the account with CCS/ BRYANT STATE BA K that starts with 521044XXXXXXXXXX has been received and should be completed by
11/ 12/2021 .

Source:
Experian

Date Submitted:
Oct 15, 2021

Estimated Resolutjon Date:
 ov 12, 2021

Report Number:
0578-8864-88

Account Number:
521044XXXXXXXX XX

Company:
                                 Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 71 of 234
    Account Dispute Updated                                                                                     Oc 25, 2021 •••

    Your Account Dispute has been updated.



                                                                                                                            Ill

The dispute for the account w ith CCS/ BRYA T STATE BA K that starts with 521044XXXXXXXXXX has been updated .

Source:
Experian

Date Submitted :
Oct 15, 2021

Report Number:
0578-8864-88

Account Number:
521044XXXXXXXXXX

Company:
CCS/ BRYANT STATE BANK

Address:
500 E 60th St N, Sioux Falls, SD 57104
                     Case 1:23-cv-00597-MLB-JCF
CCS/ BRYANT STATE BANK                                                                Document 6 Filed 03/20/23 Page 72 of 234

                                                                                                                                 Uoda ed
lnformatioo on       is · em has been updat ed. Please   ieN your rep   or    e details.
Yoo can corn.act CCS/BRV          ST JE BAN     a 500 E 60TH ST    SIOUX F:   LS , SO 571      or 60      782-3468




(V After your dispute
~      Account Info
            count 1 ame                          CCS/BRYANT STATE BANK                     Ba lance

                                                 521044XXXXXXXXXX                          Ba lance Updated

       ~    coun      pe                         NA                                          ecen Pa:,      n·

       Responsibr i                              Individual                                  oo ly P mem             NA
       Date Opened                               09/22/2020                                Origrnal Balance.

       S:a                                       NO STATUS .                                 ig eS1      Janee       so
       S:a ,     Upda e                          08/2021                                    Terms                    NA


[i]    Payment History

       No payment hi or, available to display.



       Contact Info
           cddress                                 500 E 60TH ST N,
                                                  SIOUX FALLS SD 57104



~      Comment
       Current:

       Account in dispute under Fair Credit Billing Act.
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 73 of 234
     Account Dispute Opened                                                                                                ar 10, 2022 •··
     You have opened an Account Dispute on your Experian credit report.



                                                                                                                                      Ill

The dispute for the account w ith CCS/ BRYANT STATE BA K that starts with 521044XXXXXXXXXX has been received and should be completed by
04/ 02/2022.

Source:
Experian

Date Submitted:
Mar 04, 2022

Estimated Resolution Date:
Apr 02, 2022

Report Number:
0195-5924-71

Account Number:
521044XXXXXXXXXX

r:.r.mn!lnv ·
    Account Dispute Updated Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 74 of 234                 Mar 22, 2022 • • •

    Your Account Dispute has been updated.




The dispute for the account with CCS/ BRYANT STATE BA K that starts with 521044XX:XXXXXXXX has been updated .

Source:
Experian

Date Submitted:
Mar 04, 2022

Report Number:
0195-5924-71

Account Number:
521044XXXXXXXXXX

Company:
CCS/ BRYANT STATE BANK

Address:
500 E 60th St N, Sioux Falls, SD 57104
 ••
~experian.
                                         Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 75 of 234
                                                                                      P-ep ared For ANDREA MARIO   D~te generated: I a· 2.2. _ 2
•
 e CCS/BRYANT STATE BANK                                                                                       Balance upda ed Jan 28, 2022
    U   nown paymem history



    ~ Accou,t info
        oun na                             CCS/BRYANT STATE BANK         Ba l     e

                                                521044XXXXXXXXXX          ala     e updated                                      Jan 28, 2022
     nginal cred, or                                                     Cred I m

     ompany s d                                                          Credrt   sage

    Accoun        e                                        Credit Card     oo     y payment

    0 e pened                                             Sep 22, 2020   Pa51 due a

     pen,     os,ed                                              Open      ig e S1 balance

     atus                                                    No status    erm                                                        Revolving

     tatus        ed                                         Dec 2021     espoo:s.ib I y                                             Individual

                                                                         Your sta e en




    W Payment history
        No payment history available to display.



            Contact info

                                         500 E 60TH ST N SIOUX FALLS,
                                         SO 57104
              one n , ber                (605) 782-3468




            Comments

            Acro vt ic diso,ne - cecaned bx s11bscribec (kbcl
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 76 of 234
    Account Dispute Opened                                                                                                Apr 14, 202    •••

    You have opened an Account Dispute on your Experian credit report.



                                                                                                                                        Ill

The dispute for the account w ith CCS/ BRYANT STATE BANK that starts with 521044XXXXXXXXXX has been received and should be completed by
05/ 11/2022.

Source:
Experian

Date Submitted:
Apr 12, 2022

Estimated Resolution Date:
May 11 , 2022

Report Number:
0470-0402-25

Account Number:
521044XXXXXXXXXX

Company:
CCS/ BRYANT STATE BA K
                                  Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 77 of 234
    Account Dispute Updated                                                                                     ay 02, 2022 • • •

    Your Account Dispute has been updated.



                                                                                                                             Ill

The dispute for the account w ith CCS/ BRYANT STATE BA K that starts with 521044XXXXXXXXXX has been updated .

Source:
Experian

Date Submitte<i:
Apr12, 2022

Report Number:
0470-0402-25

Account Number:
521044XXXXXXXXXX

Company:
CCS/ BRYANT STATE BA K

Address:
500 E 60t h St N, Sioux Fall s, SD 57104
••
~experian~
                                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 78 of 234
                                                                                          P _ a'ed F   OREA MARIO   Date: gener~ed:    3    ZC
•
e CCS/ BRYANT STATE BANK                                                                                       Balance upoa1ed Mar 28, 2022
    U nov:n paymem history



    ~ Accomt info
    A    OU    na                           CCS/ BRYANT STATE BANK         Balance

        ccou          ber                            521 044XXXXXX:XXXX    Bala    e updated                                    Mar 28, 2022
    Onginal cred1 or                                                       Credit I mit
    Company sold                                                            red·   sage
    A    OU    type                                          Credit Card     oot ly pa 1•me t

    Oa e pened                                              Sep 22, 2020   Pas due          nt

    Ope cloSed                                                     Open     ighes: balance

        atus                                                   No status    em,s                                                      Revolving

     tatus pdated                                              Mar2022      esponsi b •                                               Individual

                                                                           Your sta ement



    W Payment history
          No payment history available to display.



    l>-<J Contact info
           Address                        500 E 60TH ST N SIOUX FAUS,
                                          SD 57104

           Phor.e           ber           (605) 782-3468




    ~ Comments
           Accomt in dispute - reported by subscriber (fcba)
                              Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 79 of 234
    Account Dispute Opened                                                                                               Sep 21 , 2022 • • •

    You have opened an Account Dispute on your Experian credit report.



                                                                                                                                        Ill

The dispute for the account with CCS/ BRYA T STATE BA K that starts with 521044XXXXXXXXXX has been received and should be completed by
10/18/2022.

Source:
Experian

Date Submitted:
Sep 19, 2022

Estimated Resolution Date:
Oct 18, 2022

Report Number:
2910-2582-15

Account Number:
521044XXXXXXXXXX

Company:
CCS/ BRYANT STATE BA K
                                Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 80 of 234
    Account Disptrte Updated                                                                                   Oct 03. 2022 • • •

    Your Account Dispute has been updated.



                                                                                                                             Ill

The dispute for the account with CCS/ BRYANT STATE BANK that starts with 521044XXXXXXXXXX has been updated .

Source:
Experian

Date Submitted:
Sep 19, 2022

Report Number:
2910-2582-15

Account Number:
521044XXXXXXXXXX

Company:
CCS/ BRYANT STATE BA K

Address:
500 E 60 h St , Sioux Falls, SD 57104
                                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 81 of 234
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..
~experian.                                                                               Prepared Fo, ANDREA MARIO   Oilte generated::       3 : 2Z




 e CCS/BRYANTSTATEBANK                                                                                          Balanoe upda,ed Sep 27, 2022
     U   oovm payment history



     ~ Accornt info
  Accoun r, 3me                            CCS/BRYANT STATE BANK          Ba l-   e
  Accoun            ber                             521044)000CXXXXXX     Ba lance pdated                                        Sep 27, 2022

  Origina l    ed1 or                                                     Credit IUTI.

  Company sold                                                            Credit usage

  A      oun   pe                                           Credit Card     oo ly payme t

      ae pened                                            Sep 22, 2020    Pas due a       nt

  Ope      closed                                                 Open     ig esi bala    t

                                                             No status     erm                                                       Revolving

  Status upoa ed                                             Sep 2022      espoosib I                                                    Individual
                                                                          Your sta e en



     (.i] Payment history
         No payment history available to display.



          Contact info

          Add ess                        500 E 60TH ST N SIOUX FALLS,
                                         SD 57104

          Phone                           605) 782-3468




     ~ Comments
          Accooot in dispute - reported by subscriber (fcba)
                           Case 1:23-cv-00597-MLB-JCF Document 6Experian
                                                                   Filed 03/20/23 Page 82 of 234
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     ••
    ~experian~                                                                                                           \   Prepared For ANDREA MARION   Date generated: Feb 1, 2023

      •
       •ccS/BRYANT STATE BANK
                                                                                                                                                              Balance updated Dec 20, 2022
        Unknown payment history




          " Account info
          Account name                                                                                                                            \Y/_,Q,,   6
          Account number                                                                                                                                                    Dec 20, 2022

          Original creditor

          Company sold
                                                                                                          Credit limit

                                                                                                          Credit usage                          ~'&?,
          Account type
                                                                        i~                  Credit card
                                                                                                          Monthly payment

          Oate opened                                       ~                             ,.,,.,.,,       Past due amount
                                                                                                                                                          \ At
                                                      ~
          Open/closed                                                                                     Highest balance

          Status

          Status updated
                                                                        '.:.__£~~                         Terms

                                                                                                          Responsibility
                                                                                                                                                  \f,,_~U\                     Revolving

                                                                                                                                                                               Individual
                                                                                        " ' - Nov2022




                                                                        - -~~~?:""""="'
          9   Contact info

                   Address
                                                            ,~    500 E 60TH ST N SIOUX FALLS,
                                                                                                 ~@ ,
                                                                  SD 57104

                   Phone number                                   (605) 782•3468




          ~ Comments

                   Account In dispute - reported by subscriber {fcba)                            \(10\Cl{Um Ot
                                                                                                              \vS \fl tl981eCb)
                                                                                                              ['0 \fl l~&"l; C01.)Cl){,4)




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                                          Case 1:23-cv-00597-MLB-JCF Document  6 Filed 03/20/23 Page 83 of 234
                                                                          F r ANDREA MARION Date generated: , r 15 _




Open accounts

 •   CCS/ BRYANT STATE BANK
                                                                                               Balance upda ed Feb 10, 2023
     Unkno m pay ent histo ry



     ~ Account info
     Account name                           CCS/ BRYANT STATE BANK         Bala ce

     Account nu ber                                  521044XXXXXXXXXX      Ba la ce pdated                   Feb 10, 2023

     Onginal cred · or                                                     Cr     I   hm·

     Compa 'f SO                                                           Credi usage

     Account     pe                                          Credit Card   Ii,   mhty paymem

     Dae opened                                             Sep 22, 2020   Pas d ea o

     Open /closed                                                  Open    H1g est balance

     Sta us                                                    No status   Terms                                Revolving

     Sta us pdated                                             Dec 2022    Responsibil'                          Individual

                                                                           Yo rs a e em



     [ ] ] Payment history


         No payment hi story available to display.



     ~ Contact info
              ddress                      500 E 60TH ST N SIOUX FAUS,
                                          SD 57104

           Phone n mber                   (605) 782 -3468
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 84 of 234
3/15/23, 10:37 PM
                    Case 1:23-cv-00597-MLB-JCF DocumentComplaint
                                                        6 Filed     03/20/23 Page 85 of 234
                                                                 Detail



                           Consumer Financial
                                                                                            Start a new complaint
                           Protection Bureau
                                                      ( https://www.consumerfinance.gov/)


   (   All complaints( .)




    230306-10523527
    OPEN


           Submitted
           STATUS
           Submitted to the CFPB on 3/6/2023

           PRODUCT
           Credit reporting, credit repair services, or other personal consumer reports

           ISSUE
           Problem with a credit reporting company's investigation into an existing problem


          We received your complaint. Thank you.

          We will review your complaint. Depending on what we find, we will typically:

              • Send your complaint to the company for a response; or

              • Send your complaint to another state or federal agency, or help you get in touch w ith
                your state or local consumer protection office; or

              ■   Let you know if we need more information to continue our work.




          YOUR COMPLAINT

           attached is my complaint below


          ATTACHMENTS
           reporti_n g of_student___loan_ _ 1___for __experi_an_.jpg (27 KB)
           capita l__on_e __ cc __ fo_r_ expe_ria_n _ scree_nsh_o t.jpg ( 5 7 .2 KB)
           ava_nt __reporti_ng on___ experi_an_.jpg_(32.4 KB)
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          View full complaint()




          Sent to company
          STATUS
          Sent to company on 3/6/2023


          We 've sent your complaint to the company, and we will let you know when they respond .

          Their response should include the steps they took, or will take, to address your complaint.

          Companies generally respond in 15 days. In some cases, the company will let you know
          their response is in progress and provide a final response in 60 days.




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                                    Consumer Financial                                                               Start a 11 cw complaint
                                    Protection Bureau


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    < All complaints (.)
                                                                       (https ://www.consumerfinance.govf)




    220308-8257329
    CLOSED


    G Submitted
              STATUS
              Submitted to the CFPB on 3/7/2022

              PRODUCT
              Credit reporting, credit repair services, or other personal consumer reports

              ISSUE
              Incorrect information on your report


              We received your complaint. Thank you.

              We will review your complaint. Depending on what we find, we will typically:

                  ■   Send your complaint to the company for a response; or
                  • Send your complaint to another state or federal agency, or help you get in touch with your state or
                    local consumer protection office; or
                  • Let you know if we need more information to continue our work.




             YOUR COMPLAINT

             ANDREA MARION 3201 Kenelworth St apt 5 East Point, GA 30344 716-342-5798
             marional01@mail.buffalostate.edu March 7, 2022 AFFIDAVIT OF FACT In The Matter Of: ANDREA
             MARION, a man/ woman To: Experian, a woman/man; Dear Experian, a woman/man, Yo u, Experian, a
             woman/man, have engaged in multiple violations against I, a woman, without right. I obt ,1 ined a copy of
             my consumer credit report found many issues that are in direct violation of my consumer ri ghts under
             15 U.S. Code§ 1681. I am a woman, the consumer in fact it is my understanding that I am going to tell
             the truth the whole truth in all matters here. Having so qualified my testimony I now ta ke my affidavit
             and submit it into court record in full and state that everything in my Affidavit is the tru th ,111d the whole
             truth for the record. Made under penalty of perjury. I, a woman, the consumer in fact has p~rsonal
             knowledge of, and asseverate the following: 1. Fact, I, a woman, the consumer know th ,11 The Fair
httos://oortal .consumerfin:::inr.A nnv/r.rinc:11mor/c./rnmnl!:iiin♦~.o♦ ~a.ui::nn+nnnnnn .... ..,.r'\r""A A/\ I.A
                       Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 88 of 234
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            Credit Reporting Act 15 USC 1681 was made by congress to ensure accuracy and fairn ess of credit
            reporting. The banking system is dependent upon fair and accurate credit reporting. Inac cui-ate credit
            reports directly impair the efficiency of the banking system and unfair credit reporting met hods
            undermine the public confidence which is essential to the continued functioning of the b:111ki ng system.
            2. Fact, I, a woman, the consumer knows that 15 U.S. Code§ 168 lq - Obtaining infom1a1 io n under false
            pretenses. Any person who knowingly and willfully obtains information on a consumer i'rnm a
            consumer reporting agency under false pretenses shall be fined under title 18, imprisoned l'or not more
            than 2 years, or both. Notice, it is a fact, any person, which includes an organization su ch :1s Experian
            who willfully and knowingly obtains information on a consumer, like I, the affiant fro m :mother
            consumer reporting agency, without the written instructions or authorization pursuant to I Ci 8 I b is
            information obtained under false pretenses. You have no lawful authority, and this is a c1 i111e under Title
           18 and fines are described within 18 U.S . Code§ 3571. 3. Fact, I, a woman, the consumn iilso knows
           that 15 U.S. Code§ 168le(b) is in regard to compliance procedures that discussed the accl1racy of a
           consumer report. Whenever a consumer reporting agency prepares a consumer report it sh:111 fo llow
           reasonable procedures to assure maximum possible accuracy of the information concerni ng the
           individual about whom the report relates. Exhibits A-I shows how Experian allowed in ql!ir ies and
           incorrect personal information to be placed on my consumer report without verifying tlw ilcc uracy of
           each entry, so they violated my consumer rights to a fair and accurate reporting of my crctl i I. How did
           they verify the accuracy of these accounts? What process did they use to verify this info rrn,1t ion? When
           asked to be removed via mail and phone, Experian stated they have to report fair and acL·u;·:1 tc
           information and cannot remove but I have sent them my ID showing proof of identifica1 t(l 11 an d a lease
           showing proof of my residence that they requested so how can they say that when the i 11 fo rnrn tion on
           my report was not accurate nor matched the documents I sent in and then was later renw,v,_.c! which
           proves they did not follow 15 U.S. Code§ 168le(b) and violated my consumer rights. The: inqu iries
           showing in the documentation that was deleted does not comply with the law and does Ill )I co mply with
           this maximum possible accuracy standard and must be removed due to its failure to ma i1 :1:1i 11 reasonable
           procedures, which is a violation of 15 U.S.Code § 1681e(b).Even though they was dele ll' ,i. the dmnage
           was already done beforehand and when requesting the deletion I was advised on many o..:L·:1 sio ns they
           were doing the job the right way and I had to wait for these items to fall off on their O\,v 1: Th is wa s very
           damaging to my character because again my score dropped drastically, and I was deni ed !'t, r loa ns and
           other credit card opportunities that caused a financial burden on me to not be able to hn\ ,' :lie
           opportunity for credit and loans to help with my own financial issues because creditors ~<•-·1 1 ::ii I these
           inaccurate inquiries that showed them I was applying for too much credit in a short peri, ,,I \1 I' rime but
           that was false. 4. Fact, I, a woman, the consumer knows that 15 U.S. Code§ 1681n(a)( I)(\) states that
           unauthorized inquiries hold civil liability up to the amount of $1000.00 or the actual ch1 1;1 :1:~c as the
           cause of this failure, whatever is greater. Notice, it is a fact, affiant is aware, these una u,!';r,;·ized inquires
           which allowed third parties to obtain my consumer report under false pretenses has bn 1t 1·; i I d nm nge to
           my consumer report and reputation in the amount of $1000.00 dollars per inquiry and r. -..:~L·rian is in
           violation of 15 U.S . Code§ 1681n(a)(l)(A) and is liable for each unauthorized inquiry :1.: .< i)ow n in
           Exhibits A-I. When an investigative report is prepared, no adverse information in a co n:-; 1:rn cr repo rt
           may be included in a subsequent consumer report unless the reported was verified. Eacl . 111- 111lh !his
           false information was incorrectly verified making Experian liable for each consecuti ve 1 ·i ·,1 1·t i11g shown
           in documents provided. These unauthorized inquiries on my report caused me stressecl :1 , ; (kp ress ion
           because I was being constantly denied for credit and loans that could have helped me l' t, · "! · 111 y

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                                                                                Detail

                   financial burden and also provide a better living situation for me and my family. 5. Fac t, I, a woman, the
                   consumer knows that 1681 b( c)(1 )(A)(B)(i)(3) states the inquiries on my consumer rep ort is
                   unauthorized and has been furnished without my consent. There was no permissible purpose and is a
                   violation of 15 U.S. Code§ 168lb(c)(l)(A) (B)(i)(3). I have attached Exhibits A-I sho wing after months
                   even years later the inquires and incorrect addresses and names finally being removed but be fore doing
                   so the damage is already done. I was denied for loans and credit opportunities due to lenders see ing this
                   false information furnished my Experian and denied me multiple times which has cau sed severe and
                   ACTUAL DAMAGE and INJURY to not only my personal but business life. Being denied h:1s ci use a
                   financial burden to be able to take advantage of lower interest rates and high credit li rn its or even better
                   car and home offers. I suffered from emotional distress because of the effects this ina ccurate info rmation
                   on my consumer report causing me to be afraid and bad anxiety of trying to get mysel 1· out this fi11ancial
                   burden by applying for loans and credit help but creditors would not trust me and see n me as a high risk
                   because of what they saw on my consumer report. I had hard time sleeping at night and bec<1111e
                   depressed because of fighting for the accuracy on my reports and being told by Expe ri ,m th ar it was
                   when it actually was not and then later on, they finally agreed and removed but it cost me a \l)t o r loss
                   during the time they would not fix their mistake when they were knowingly in the wrnng. 6. Fac 1. I, a
                   woman, the consumer knows that 15 U.S. Code§ 168lg(f)(2)(A)(i) defines a credit score being ;1risk
                   score. Notice, it is a fact, affiant is aware, a credit score is a risk score pursuant to 15 U.S. Code ~
                   1681g(f)(2)(A) (i). Like other risk scores, a credit score is a calculated score that tells you hnw s~·vere a
                   risk is, based on several factors to predict the likelihood of certain credit behaviors su e h as ck fo u It.
                   Because my credit score determines my risk with creditors the inaccurate reporting by Expe1·ian with
                   these unauthorized inquiries and personal information, they reported caused me to be :1 higlHis k frictor
                   and creditors denied me for there products and services. 7. Fact, I, a woman, the cons11 rner know~ that
                   15 U.S. Code§ 1681o(a)(l) is for negligent noncompliance, or in other words, failure ro co 111 ply even
                   though they should have known they must comply, is equal to the sum of action darn n~!es. l 5 U .~ Code
                   § 16810 is acting like they didn't know it was wrong, even though they should is still :1 viol :11 ion
                   Notice, it is a fact, affiant is aware, negligence is neglecting requirements that should he k1w wn. I, the
                   affiant, and consumer, made Experian aware of, prior and continued failures ofreaso 11:1ble 1x ncc ,lures.
                   The affiant has reason to believe and do so believes due to Experian business practice:-; . Exp n i,1 11 nctions
                   are liable under 15 U.S. Code§ 16810 for the actual damages caused to me, the cons u;n er i11 1'nc If the
                   parties given notice by means of this document have information that would controvc1I nncl ,1 ve1 ome
                   this Affidavit of Pact, please advise me "In written affidavit form" within ten [10] day, from 1·cc l· ipt.
                   Provide me with your counter-affidavit, proving with particularity by stating all reqt1 i,:i :c ac 1u :li
                   evidentiary fact and all requisite actual law, and not merely the ultimate facts or con cl1isi on ~ of l. 1w,
                   proving that this Affidavit of Fact is substantially and materially false sufficiently, to ( l1n11g ,' :1rn 1~,1·ially
                   my Status and factual declarations. Your silence stands as consent to, and tacit agreen 1,' 11t 0 1·. lhc Claim
                   and factual declarations made herein being established as matters of fact and matters , .I' l:i w. i. c1
                   woman ... : woman declare under penalty of perjury, that all herein be true, and will te~: i 1·y vi ,·;1 ,· , ce in                        1



                   open Court, that all herein be, true, so help me God. The term "consumer" means any :1; 1lu1·;1 l 1w, <on
                   obligated or allegedly obligated to pay any debt.


                   ATTACHMENTS

                   J_M.Q_!..?.J.}jpg (757.1 KB)

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           !M.G._!..?.J..?,jpg (856.7 KB)
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           !.M.G_!..?..!..?..Jpg (714.6 KB)
           7-U.lP.P,;g (358 KB)

           View full complaint C




            Sent to company
            STATUS
            Sent to company on 3/7/2022


           We've sent your complaint to the company, and we will let you know when they respo nd.

           Their response should include the steps they took, or will take, to address your comp l,1 int.

            Companies generally respond in 15 days. In some cases, the company will let you know thei r response
            is in progress and provide a final response in 60 days.




    0 Company still working
            STATUS
            Company response is in progress as of 3/17/2022


            The company has responded that it is still working on your issue

            In some cases, companies need more time to respond. You should receive a final res pon se within 60
            days from the date we sent your complaint to the company.




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           COMPANY'S INTERIM RESPONSE

           Thank you for submitting your complaint on March 8, 2022, through the CFPB Comp b int Portal. We
           appreciate consumers who take the time to let us know about their experiences with om company. We
           have reviewed and considered the information, including the twelve attachments, you have supplied
           through the CFPB portal and directly to Experian. In your complaint you indicate that you received a
           copy of your credit report and found inaccurate information, unauthorized inquiries anLl personal
           information. You requested that the information be removed from your credit report. You further indicate
           that you would like the method of verification used to verify information on your cred it repmt. You also
           request the name and contact information of the persons contacted during the previous invest igations.
           According to our records, the disputed information does not appear on your current Experian credit
           report. We are in the process of mailing a report to you for review and confirmation . Please note that
           mailed correspondence may talce up to 10 days for delivery through the US Postal sy~ k' rn . Tf there is
           additional information you wish to dispute, please specify the name of the item, th e :1c-c ou ;1t 11 umber and
           the specific dispute, and we will proceed accordingly. Experian has met its obligatio11s urnlc1· the FCRA;
           therefore, at this time we must respectfully decline your request for compensation. Plc;1se 11 01c that we
           store address and name information as it is sent to us by your credit grantors or fro m i1 1forim tion
           contained in public records. One or more sources of information report the address crn cl 11,111,c Iisti ngs and
           they are a part of your credit history. If you believe an address or name in your credit rqJort i~ inaccurate,
           you may want to contact the source of the information directly. Please contact us by phone i I' you need
           additional assistance to determine the specific sources of particular address and nanll' i11 fon 11:1 ti on on
           your credit report. A personal credit report, by law, must list all parties that have req t1l·~ted ,1 rn nsumer's
           credit history. According to the Fair Credit Reporting Act, credit grantors with a permi .-; sib lc purpose may
           inquire about credit information. Requests for your credit history remain on the perso1 1:1 I c1-c<I it repo1i for
           2 years. The federal Fair Credit Reporting Act (the "FCRA") section 604 outlines pc rn: issib k purposes
           of consumer reports. The inquiries shown on a credit report are a factual record of ti ll· ,·omp::: 1ies wh o
           have accessed and reviewed a consumer 's profile. They are only logged on the repo11 .vhen i 11 fact, an
           inquiry was made. A record of this activity, pursuant to federal law, must remain a p;111 -. 1 I' 1-cc \,rd. Please
           note that Experian does not receive a copy of any applications made to credit grantn1·, You 11::1y wi sh to
           contact the creditor directly for that information. According to the Fair Credit Report :;, ~! Ac 1 nur role in
           the dispute process is to review the accuracy and completeness of any disputed item ,\ l1 ich 111:: y in cl ude
           contacting the furnisher of the information or the vendor that collected the inform al i, •11 1·ro111 :: public
           record source, and notifying them of the dispute and disclosing all relevant info1m c11 i, •·: 1\:g:11 , ling your
           dispute. When we contact the furnisher or vendor, we ask that they verify all of the i:, :·, ·,: 111,11 :, ,11 reg nrding
           the item you disputed and report back within 30 days of the date that we received yo::; ··cqt1\·,.t (21 days
           for Maine residents). To help resolve the dispute, we will review all relevant doctm h'' ' sub :1; i I led with
                                                                                                               0



           the dispute and will forward them to the furnisher ifwe are unable to resolve the is~1 1, \Ve 1, ..,·icw :i nd
           consider the furnisher's or vendor's response to determine whether to accept it, rej ect i, _ 01· fo ll ow up for
           additional information. If, after processing, we find that the disputed information is i11; 1,-c urnte,
           incomplete or cannot be verified, we then delete or modify that information, as apy.ll'c• ;': i:1te. l 1· we do not
           receive a response from the furnisher or the vendor within the required period, we tq· : 1tc th ..- iil- 111 :is you
           have requested or delete the information, and send you the results. In some instanu -; we arr •11lc lt 1
           determine whether the disputed information should be changed or deleted with otit I;;!, ing to cu ntacl the
           furnisher or the vendor. After we complete our processing, we send you the results. Ir y 01 1 question the
           results of our dispute process, you may also contact the furnisher of information dii-l' c: !y. Pk :1se rck r to
https://portal.ponsumerfinance.oov/consumer/,:,/r,nmnl":nt..,fo+~:,,;i:nn,nnnnnn .... ~~ • • ••.
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           your credit report for the furnisher or public records office name, address, and pho1 11.· 1um bn (i r    1



           available). For more details, please visit Experian.com/dispute process. For additi o11<1: assi s1: 111ce, you
           may call the toll free telephone number provided on your personal credit report ob t: 1inl· ci di 1 ·c l ly !'1 1Hn
           Experian, or write to Experian at P.O. Box 9701 , Allen, TX 75013 . For more infon 11 <1 tion re:c 1rdi11~ your
           credit and frequently asked questions, you may visit: http://www.experian.com/bl o:~<; tsk-ex1'.. :1 i,111 .
           Thank you for submitting your complaint through the CFPB Complaint Portal. It i\ 1r pol i,·y t<i 1-c:c: pond
                                                                                                               111



           to consumer complaints swiftly and to take each complaint seriously. We apprecit1 1· iu k 11:;1 g u-; kn ow
           about your experiences with Experian.




           Company responded
           STATUS
           Company responded on 3/17/2022

           RESPONSE TYPE

           Closed with non-monetary relief


           Company's Response

           Thank you for submitting your complaint on March 8, 2022, through the CFPB C ,· ·11 lain1 I' 11i. 1 1. \Ve
           appreciate consumers who take the time to let us know about their experiences wi i , 1r c111: ;' ;1:1, . ,\'~
           have reviewed and considered the information, including the twelve attachmen ts. > 11 hc1, 1.' - , 1' 1 i:, !
           through the CFPB portal and directly to Experian. In your complaint you indicnt c; .11 yoL1 1·· l'1·. ~·ti c1
           copy of your credit report and found inaccurate information, unauthorized inqu ir iL•, .111d per,, •11 ·i
           information. You requested that the information be removed from your credit re11ll1 Y'ou 1·1,, lh 1 i,1 licate
           that you would like the method of verification used to verify information on yow· ,· 1,,; it 1\· 1·· 1t. 'i uu also
           request the name and contact information of the persons contacted during the prn i ,u -; in w~ tigat ions.
           According to our records, the disputed information does not appear on your cun c1 1: l~ xperi;1 11 crcdi1
           report. Weareintheprocessofmailingareporttoyouforreviewandconfimw ti t,,. l'l ea sL' . 11 · 1h;1t
           mailed correspondence may take up to 10 days for delivery through the US Pos1 ;il ,1 cm. : ·ii l· ·~                1



           additional information you wish to dispute, please specify the name of the item, 111 . co1 1· .· · :: .. :'1. 1 ;md
           the specific dispute, and we will proceed accordingly. Experian has met its obl i!:-'.:1 1: ·i-; u1 1,k1 1h1.· FCRA;
           therefore, at this time we must respectfully decline your request for compensati on . l'k;1sc 11>'k' 1\i:11 we
           store address and name information as it is sent to us by your credit grantors or 1·r1., 1· i 11ro 111, · 1. ·, 1
           contained in public records. One or more sources of information report the add r,·.: :<.: · , I 11 :1•· '· ·: ·,·: " and
           they are a part of your credit history. If you believe an address or name in your c1,·, ·L'l 1 • · ·           · ·,   .i rate,
           you may want to contact the source of the information directly. Please contact t i ~ ll; .··10; .              ·1 . 1.·..:d
                                                                                                                         1 '


           additional assistance to determine the specific sources of particular address and 11am . 1;1l'u1l:i ati, 11 ti n    1



           your credit report. A personal credit report, by law, must list all parties that have req t ·, tL'd · :t :,; 1r1 11er's
           credit history. According to the Fair Credit Reporting Act, credit grantors with :1 pen •~sil< ·1 •. · ,._, may
           inquire about credit information. Requests for your credit history remain on th e i'1.' r~ :, I \.                   · t for
           2 years. The federal Fair Credit Reporting Act (the "FCRA") section 604 outl i1ll' ; p

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                       Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 93 of 234
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           of consumer reports. The inquiries shown on a credit report are a factual record ,)f tl· · , , )                 ,o
           have accessed and reviewed a consumer's profile. They are only logged on th e 1\'po, ,., !~•- , i1, t.           :111
            inquiry was made. A record of this activity, pursuant to federal law, must rema i 11 a p , ' :
            note that Experian does not receive a copy of any applications made to credit gr:1nto 1 Yo · 111;1y ,, , Ii to
            contact the creditor directly for that information. According to the Fair Credi t R\: porli · .'\ 1 ' !' • ie in
            the dispute process is to review the accuracy and completeness of any disputed iI cm ·. ich                      I de

            contacting the furnisher of the information or the vendor that collected the info 1nat ; i'ro 1 ;1 ;J t
            record source, and notifying them of the dispute and disclosing all relevant in fo 1ma 1 , re i t, 1 ng -ur
            dispute. When we contact the furnisher or vendor, we ask that they verify all or I he i · ·· ! n 1 (l 11 rL' · ·rding
            the item you disputed and report back within 30 days of the date that we rece iwJ yo. ·,.I ' (                 !:1ys
            for Maine residents). To help resolve the dispute, we will review all relevant d1 rn nk
                                                                                               1          Sll  .,  tt,     · ith
            the dispute and will forward them to the furnisher ifwe are unable to resolve th,· iss      We    e,,., e        1d
            consider the furnisher's or vendor's response to determine whether to accept it. 1~jc, . or ·0 1·0 \ 1 ;) for
            additional information. If, after processing, we find that the disputed informatio 11 is i . ·u · le
            incomplete or cannot be verified, we then delete or modify that information, as a ppr, , .i           I \' •.' , not
            receive a response from the furnisher or the vendor within the required period, v--c u; -e I              l        you
            have requested or delete the information, and send you the results. In some insta 11cc     : ar al IL
            determine whether the disputed information should be changed or deleted witho1,t h          1g I C, Il l
            furnisher or the vendor. After we complete our processing, we send you the resu Its. I ' LI ! l' ti<·
            results of our dispute process, you may also contact the furnisher of information dire.- : .·_ 1 • · :1 , c rekr to
            your credit report for the furnisher or public records office name, address, and pho ne · 1, ml · i r
            available). For more details, please visit Experian.com/dispute process. For addition ,; si ~ , l 11 T         ·11

            may call the toll free telephone number provided on your personal credit report obt; : ,I d· ,:C' ly         ' 11

            Experian, or write to Experian at P.O. Box 9701 , Allen, TX 75013. For more int'i ,rrn ti 1) r ::1 ·,. li • ·.·our
            credit and frequently asked questions, you may visit: http://www.experian.com/b log . k-. p, :· Ii 11 '
            Thank you for submitting your complaint through the CFPB Complaint Portct l.1 1 is< · jW -' ·o ! ,· j) Olld
            to consumer complaints swiftly and to take each complaint seriously. We app rec iak       ! k   11 l! ;i ow
            about your experiences with Experian.


            DESCRIPTION OF NON-MONETARY RELIEF

           According to our records, the disputed information does not appear on your cum ·nt
           report. We are in the process of mailing a report to you for review and confirmat ion . ,1s· 1n ·: i            ,,

           mailed correspondence may take up to 10 days for delivery through the US Post;il s: 1 •n.




            Feedback requested
            STATUS

            Feedback requested on 3/17/2022

            FEEDBACK DUE
            5/ 16/2022

https://portal.consumerfinance.aov/consum"r/s/r,nmn/";nt..rfobil,11<:/"ln+nnnnnn- .• rv, A • • • •
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 94 of 234
    Account Dispute Opened                                                                                                 Yesterday •••

    You have opened an Account Dispute on your Experian credit report.




The dispute for the accoun wi h CAPITAL O E AUTO Fl A CE that starts with 62051 SXXXX:XXXXXXX has been received and should be
completed by 04/05/ 2023 .

Source:
Experian

Date Submitted:
Mar 07, 2023

Estimated Resolution Date:
Apr 05, 2023

Report Number:
1194-8478-02

Account Number:
620515XXXXXXXXXXX
    Account Dispute Opened Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 95 of 234                             Yes erday • • •

    You have opened an Account Dispute on your Experian credit report.



                                                                                                                                      Ill

The dispute for the account wi h CCS/ BRYA T STATE BA K that starts with 521044XXXXXXXXXX has been received and should be completed by
04/ 05/2023 .

Source:
Experian

Date Submitted:
Mar 07, 2023

Estimated Resolution Date:
Apr 05, 2023

Report Number:
1194-8478-02

Account Number:
521044XXXXXXXXXX

Company:
CCS/ BRYANT STATE BA K
                                 Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 96 of 234
    Account Dispute Updated                                                                                                             oda   •••

    Your Accoun D1spu e has been upda ed.




  e dispu e or     e accoun    · h FED LOAN SERV hat starts   ih7    826X:XXXXXXXXXX has been upda ed.

Source:
Experian

Date Submitted:
Mar O , 20 3

Report Number:
1194-8478--02

Account Number:
744E26XXXXXXXXXXX

Company:
FED LO       SER

Address :
Po Bo 60610, Harri sbu g. P 1 106


WHAT NOW?


 e II no·i    ou «hen all o   our pending dispu es are comple e and the resut s are read . To see our mos recen upda es, please chec   our
updated credi repo
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 97 of 234
             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 98 of 234
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   Latest Update                                                        Delivered, Left with Individual
                                                                       ALLEN. TX 750 3
   Your item was delivered to an individual at the address at 2:22     I arch 3 . 2022. 2:22 pm
   pm on March 31, 2022 in ALLE TX 75013.
                                                                        See Al l Tracking History


   Get More Out of USPS Tracking:

    0:3_ USPS Tracking Plus



  Text & Email Updates                                                                                    V
Tracking Number:
                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 99 of 234

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    Latest Update                                                            Delivered Individual Picked Up at Postal Facilify
                                                                            COSTA ESA, CA 92628
    Your i em was picked up at a postal facility at 7:42 am on April 1,     Ap ri l 1. 2022. 7:'12 am
    2022 in COSTA MESA, CA 92628.
                                                                            See All Tracking History


    Get More Out of USPS Tracking:

    t18_ USPS Tracki ng Plus



  Text & Email Updates                                                                                                           V
                            Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 100 of 234
Tracking Number.

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    Latest Update                                                         Delivered Left with Individual
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    Your item was delivered to an individual at the address at 12:16     Ap ri l 1 , 2022. 12: 6 pm
    pm on April 11 , 2022 in ALLEN. TX 75013.
                                                                          See All Tracking History


    Get More Out of USPS Tracking:

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  Text & Email Updates                                                                                     V


  USPS Tracking Plus®                                                                                      V


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                          Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 101 of 234
Tracking Number.

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    Latest Upda1e                                                          Delivered, Individual Picked Up at Postal Facility
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    Your item was picked up at a postal facility at 2: 12 pm on April      Apri l 27. 2022. 2: 2 pm
    27, 2022 in ALLEN. TX 75013.
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    Get More Out of USPS Tracking:

    (:a USPS Tracking Plus



  Text & Email Updates                                                                                                          V


  USPS Tracking Plus®                                                                                                           V
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    Latest Update                                                          Delivered, Individual Picked Up at Postal Facility
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    Your item was picked up at a postal facility at 2: 12 pm on April     April 27. 2022, 2: 2 pm
    27. 2022 in ALLEN. TX 75013.
                                                                           See All Tracking History


    Get More Out of USPS Tracking:

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  Text & Email Updates                                                                                                          V


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Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 103 of 234
                                                                              COMPLETE THIS SECTION ON DELIVERY
        SENDER: COMPLETE THIS SECTION
                                                                              A. Signature
        ■ Complete items 1, 2, and 3.
        ■ Print your name and address on the reverse                          x  6~P                                           □ Agent
                                                                                                                                  0 Addressee
           so that we can return the card to you.
        ■ Attach this card to the back of the mallplece,
           or on the front if space permits.
                                                                              B. Retr            (Printed Name)


                                                                              D. Is delivery address different from Item 1?
        1. Article Addressed to:                                                 If YES, enter delivery address below:

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                                                                                                                    Domestic Return Receipt
           PS Fonn 3811, July 2015 PSN 7530-02-000-9053




            ■ Complete Items 1, 2, an          r<";t ~.h.~
            ■ Print your name and address on the revers~                          X
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               so that we can return the card to you.                                                                              D Addressee
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               or on the front if space permits.           '
            1. Article Addressef to:                                              D. Is delivery address d ~ ~ ! e m 1? 0 Yes

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eturn the card to you.                                                                                                                                            so that we can return the card to you.                                                                                  □ Addressee
to the back of the mailpiece,                               8. Received by (Printed Name)                                      C. Date of Delivery             ■ Attach this card to the back of t he mailpiece,
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Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 106 of 234
                               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 107 of 234
Tracking Number:

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       Get More Out of USPS Tracking:

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      Text & Email Updates                                                                                                       V
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 108 of 234
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             CERTIFIED MAIL® RECEIPT                - c·ERTfFIEDDocument 6 Filed 03/20/23 Page 109 of 234
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                       Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23     Page 110 of 234
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                                                       SENDER: COMPt.ETE THIS SECTION        COMPLETE THIS SECTION ON DELIVERY
                CERTIFIED MAIL®. RECEIPT
rn              Domestic Mail Only                                                                                                                             ■ Complete items..t 2, ~nd 3. ·. ;,. ,• ·                        A Signature
.-=t                                                                                                                                                                                                                                                                               □ Agent
                                                                                                                                                               ■ Print your name and address on the reverse
r--                                                                                                                                                                                                                             X                                                  D Address
..n                                                                                                                                                              so that we can return the card to you .

~ Certified Mail Fee
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 DER: COMPLETE THIS SECTION                            Case 1:23-cv-00597-MLB-JCF
                                                        COMPLETE THIS SECTION ON DELIVERY Document 6 Filed
                                                                                              ' SENDER:     03/20/23
                                                                                                        COMPLETE        Page 111 of 234
                                                                                                                 THIS SECTION         COMPLETE THIS SECTION ON DELIVERY
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:Omplete items 1, 2, and 3.                                  A Signature                                                                   ■ Complete items 1, 2, and 3.                                                     A. Signature

'rint your name and address on the reverse                                                                    □ Agent                      ■ Print your name and address on the reverse                                                                                                □ Agent
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o that we can return the card to you.
lttach this card to the back of the mailpiece,               B. Received by (Printed Name)               I    D Addressee
                                                                                                          C. Date of Delivery
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,r on the front if space permits.
.rticle Addressed to:                                        D. Is delivery address different from item 1? D Yes                           1. Article Addressed to:                                                          D. Is delivery address different from item 1? D Yes


q\/1ttl~                                                        If YES, enter delivery address below:


                                                                            William Allen
                                                                                                           □ No
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Form 3811, July 2020 PSN 7530-02-000-9053                                                         Domestic Return Receipt                 PS Form :




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CREDIT FILE : April 08 , 2022
Confirmation # 2090509287
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We are pleased to let you know that the results of the dispute you recently filed with Equifax are                                     )> ;;o-0          0         0)

complete. Here are a few things to know about the process:
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Were changes made to my credit report and what actions were taken?
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Please see the following page(s) for more detailed information on your specific results .                                                 c.,,           C
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If we were able to make changes to your credit report based on the information you provided , we have                                                    C
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done so . Otherwise, we contacted the company reporting the information to Equifax for them to
investigate your dispute.                                                                                                                                ......,
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In this situation :

    •    We request that the reporting company verify the accuracy of the information you disputed;

    •    We provide them with any relevant information and supporting documentation you provided us
         with the dispute to consider as part of the investigation; and

    •    We request that they send Equifax a response to your dispute and update their records and
         systems , as necessary.

If your dispute involves a public record item , Equifax contacts a third party vendor to obtain the most
recent status of the public record .

How do I know that all of this is happening?

When the reporting company replies to us , they certify that they have followed Equifax's instructions and the law; considered all information and documentation
provided ; and updated your information , as necessary.

What should I do if I do not agree with the results of the investigation?

You have a few options:

     •   You may add a statement of up to 100 words to your credit report. If you provide a consumer statement that contains medical information related to

(Continued On Next Page}                                                                                                      2090509287-GRZ-Oa61010400000792-04082022
                                                                        Page 1 of 40
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>>> The information you disputed has been updated as well as other information on this item. Account# - 6205154679963* The results are: WE
VERIFIED THAT THIS ITEM BELONGS TO YOU. THIS ACCOUNT HAS BEEN UPDATED. ADDITIONAL INFORMATION HAS BEEN PROVIDED FROM
THE ORIGINAL SOURCE REGARDING THIS ITEM. THE FOLLOWING FIELDS HAVE BEEN MODIFIED: *ADDITIONAL INFORMATION. If you have
additional questions about this item please contact: CAPONEAUTO, Credit Bureau Dispute, PO Box.259407, Plano, TX 75025-9407 Phone: (800)
946-0332

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Account Number                      Date Opened          High Credit             Credit Limit              Terms Duration       Terms Frequency            Months Revd
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6205154679963*                      11/19/2019                                                                                  Monthly                    20

bate of Last      Balance    Amount               Date of Last   Actual Payment            Scheduled Payment      Date of 1st       Date of Last Date MaJ Del. Charge 611               Deterred Pay Balloon Pay                         Balloon Pay                   Date
Reported Update   Amount     Past Due             Payment        Amount                    Amount                 Delinquency       Activity     1st Rptd      Amount                   Start Date   Amount                              Date                          Closed
04/08/2022 $ 1 258           $1 258               10/2020 $0                                                      11/2020                         11/2020 $ 6 709
Status                      Type ct Account                       Type of Loan                                     Whose Account                          Portfolio Indicator                         Portfolio Status
Charge Off                  Installment                           Auto                                             Individual Account


ADDITIONAL INFORMATION :
A Temporary Update Freeze On File

Charged Off Account




Account History with Status Codes
                                02/2022             01 /2022             12/2021                11/2021              10/2021              09/2021             08/2021               07/2021                  06/2021                            05/2021
                                L                   L                    L                      L                    L                     L                  L                     L                        L                                  L
                                04/2021             02/2021              01 /2021
                                L                   L                    L


>>> Information on your report has been updated. Account#- 521044006827* The results are: WE VERIFIED THAT THIS ITEM BELONGS TO
YOU . THIS ACCOUNT HAS BEEN UPDATED. ADDITIONAL INFORMATION HAS BEEN PROVIDED FROM THE ORIGINAL SOURCE REGARDING
THIS ITEM. THE FOLLOWING FIELDS HAVE BEEN MODIFIED: *ADDITIONAL INFORMATION *BALANCE *SCHEDULED PAYMENT *ACCOUNT
HISTORY. If you have additional questions about this item please contact: BRYANT STA, 124 W MAIN AVE, BRYANT STATE BANK, BRYANT, SD
57221 Phone: (605) 628-2171

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521044006827*                       09/22/2020           $ 497                   $ 350                                          Monthly                    16

Date of Last      Balance    Amount               Date of Last   Actual Payment             Scheduled Payrrent    Date of 1st       Date of Last Date Maj Del. Charge Off               Deferred Pa y Balloon Pay                          Balloon Pay                 Date
Reported Update   Amount     Past Due             Payment        Amount                     Amount                Delinquency       Activity     1st Rptd      Amount                   Start Date    Amount                               Date                        Closed
04/08/2022        $ 38       $0                   01/2022 $ 0                               $ 30
Status                      Type of Account                       Type of Loan                                      Whose Account                          Portfolio indicator                        Portfoho Status
Pays As Agreed              Revolving                             Credit Card                                       Individual Account

(Continued On Next Page)                                                                            Page 6 of 40                                                                          2090509287-GRZ-0a61010400000792-04082022
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Dear ANDREA L MARION:                                                                                                            G)rs:;            ()
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We are pleased to let you know that the results of the dispute you recently filed with Equifax are                               o;:o-0            0               0:,
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complete . Here are a few things to know about the process:                                                                      t :I z
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Were changes made to my credit report and what actions were taken?                                                               ~:::o             <,>
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Please see the following page(s) for more detailed information on your specific res , Its.                                            -I           ==
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If we were able to make changes to your credit report based on the information you provided , we have                                              C
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done so. Otherwise, we contacted the company reporting the information to Equifax for them to                                                      2
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investigate your dispute.                                                                                                                          -.J
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In this situation:

    •     We request that the reporting company verify the accuracy of the information you disputed;

    •    We provide them with any relevant information and supporting documentation you provided us
        with the dispute to consider as part of the investigation ; and

   •   We request that they send Equifax a response to your dispute and update their records and
systems, as necessary.

If your dispute involves a public record item, Equifax contacts a third party vendor to obtain the most
recent status of the public record .


How do I know that all of this is happening?

When the reporting company replies to us , they certify that they have followed Equifax's instructions and the law; considered all information and documentation
provided; and updated your information , as necessary.

What should I do if I do not agree with the results of the investigation?

You have a few options:

    •   You may add a statement of up to 100 words (200 words for Maine residents) to your credit report. If you provide a consumer statement that contains

(Continued On Next Page)                                                                                                  2163511788-JYM-Oaa0010200000069-06122022
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>» We have researched the credit account Account#- *1001 The results are: - THE FOLLOWING FIELDS HAVE BEEN MODIFIED:
*ADDITIONAL INFORMATION *HISTORICAL ACCOUNT INFORMATION. If you have additional questions about this item please contact:
CAPONEAUTO, Credit Bureau Dispute, PO Box 259407, Plano, TX 75025-9~07 Phone: (800) 946-0332


*1001                                             11/19/2019                                                    75 Months                    Monthly                                                                  21

Oate of Last         Balance              Amount            Date of Last   Actual Payment         Scheduled Payment     Date of 1st                      Date of Last Date Maj Del. Charge Off                                                Deferred Pay Balloon Pay         Balloon Pa y                       Date
Reported Update      Amount               Past Due          Payment        Amount                 Amount                Delinquency                      Activity     1st Rptd      Amount                                                    Start Date   Amount              Date                               Closed
06/02/2022 $ 1 258                        $1 258            10/2020 $ 0                           $ 0                   11/2020                                                            06/2022 $ 6 709
Status                                   Type of Account                    Type of Loan                                 VVhose Account                                                                             Portfolio Indicator                  Portfolio Status
Charge Off                               Installment                        Auto                                         Individual Account


ADDITIONAL INFORMATION:
Consumer Disputes - Reinvestigation in Process




Account History with Status Codes
                                              05/2022           04/2022            03/2022            02/2022             01/2022                                          12/2021                                            11/2021     10/2021               09/2021          08/2021
                                              L                 L                  L                  L                   L                                                L                                                  L           L                     L                L
                                              07/2021           06/2021            05/2021            04/2021             02/2021                                          01/2021
                                              L                 L                  L                  L                   L                                                L

Historical Account Information
         Balance        Scheduled                          Actual             Date of    High                         Credit                                 Amount                                            Type of                                                      Activity
                        Payment                            Payment            Last       Credit                       Limit                                  Past                                              Loan                                                         Designator
                        Amount                             Amount             Payment                                                                        Due
05/22 $ 1,258           $0                                 $0                 09/30/2020                                                                     $1,258                                            Auto
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04/22      $ 1,258                     ' $0                $0                 09/30/2020                                                                        $1,258                                      Auto
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03/22      $ 1,258                                         $0                 09/30/2020                                                                     $1 ,258                                           Auto

02/22        No Data Available

01122      $ 1,258                                                            09/30/2020                                                                     $1,258                                            Auto

 12121     $1,258                                                             09/30/2020                                                                     $1 ,258                                           Auto
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 11/21     $1 ,258                                                            09/30/2020                                                                     $1,258                                            Auto
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 10/21     $ 1,258                                                            09/30/2020                                                                     $1 ,258                                           Auto


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CREDIT FILE : June 29, 2022
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Dear ANDREA L MARION :                                                                                                          G)r~~            ;i,,             (,) u,
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We are pleased to let you know that the results of the dispute you recently filed with Equifax are                               o ;:o-0         0                OJ
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complete. Here are a few things to know about the process :                                                                      tI
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Were changes made to my credit report and what actions were taken?                                                               ~:::o           """
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Please see the following page(s) for more detailed information on your specific results .                                            u,          0
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If we were able to make changes to your credit report based on the information you provided, we have                                             0
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done so. Otherwise, we contacted the company reporting the information to Equifax for them to                                                    0
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investigate your dispute.                                                                                                                         "'
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In this situation:                                                                                                                               """
    •     We request that the reporting company verify the accuracy of the information you disputed;

    •    We provide them with any relevant information and supporting documentation you provided us
        with the dispute to consider as part of the investigation; and

   •    We request that they send Equifax a response to your dispute and update their records and
systems , as necessary.

If your dispute involves a public record item, Equifax contacts a third party vendor to obtain the most
recent status of the public record .


How do I know that all of this is happening?

When the reporting company replies to us, they certify that they have followed Equifax's instructions and the law; considered all information and documentation
provided ; and updated your information , as necessary.

What should I do if I do not agree with the results of the investigation?

You have a few options:

    •   You may add a statement of up to 100 words (200 words for Maine residents) to your credit report. If you provide a consumer statement that contains

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                                Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 117 of 234

       medical information related to services provided or medical procedures, then you expressly consent to including this information in every credit
       report we issue about you .
   •   You may contact the company that reports the information to us and dispute it directly with them. If you would like written proof about your accounts
       (such as the original agreement) , please contact your creditors directly.
   •   You may provide us additional information or documents (such as an identity theft report or a letter from the reporting company) about your dispute
       to help us resolve it by visiting our website https://www.equifax.com/personal/disputes. You may also mail your documents to PO Box 740256,
       Atlanta GA 30374-0256 or contact us by calling a Customer Representative at 866-349-5191 .
   •   You may contact the Consumer Financial Protection Bureau or your State Attorney General's office about your issue or complaint against Equifax or
       the company reporting the information .




(Continued On Next Page)                                                     Page 2 of 8                                 2180576440-JMS-0ab101020000009f-06292022
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What else should I know?

If there has been a change to your credit report based on your dispute, or if you add a consumer statement, you may request that Equifax send an updated
report to companies who received your credit report within the last two years for employment purposes, or within the last six months for any other purpose
(the past 12 months for residents of California , Colorado, Maryland, New York and New Jersey residents) .

Also, if you are interested, you may request a description of how the reinvestigation was conducted along with the business name, address and telephone
number (if reasonably available) of the furnisher of your disputed information.

For frequently asked questions about your credit report and the dispute process, please visit Equifax at https://help.equifax.com/.

As always, we thank you for contacting Equifax and the results of your dispute are on the pages following this letter.

How should I read my dispute results?

To better assist you with understanding the results of your dispute, please review the information below:

    •   If an item states "Deleted", we have removed it from your credit report and taken steps so it does not reappear.
    •   If an item states "Verified as Reported", the reporting company has certifed it is reporting accurately.
    •   If an item states "Updated", we have updated one or more fields on the item based on information received from the reporting company.
Updated disputed account information only: The information you disputed has been updated.

Updated disputed account information. Additional account information was also updated : The information you disputed has been updated as well as
other information on this item.

Disputed information accurate. Updated account information unrelated to the dispute: The information you disputed has been verified as accurate,
however, information unrelated to your dispute has been updated.

Consumer's dispute not specific. Consumer Information verified . Account information updated: Information on your report has been updated.




                            1 : 30-59 Days Past Due                      5 : 150-179 Days Past Due                   J : Voluntary Surrender
    Account History         2 : 60-89 Days Past Due                      6 : 180 or More Days Past Due               K : Repossession
     Status Code            3 : 90-119 Days Past Due                     G : Collection Account                      L : Charge Off
     Descriptions           4 : 120-149 Days Past Due                    H : Foreclosure

>>> We have researched the credit account Account# - *8581 The results are: - THE FOLLOWING FIELDS HAVE BEEN MODIFIED:
*ADDITIONAL INFORMATION *DATE OF LAST ACTIVITY *HISTORICAL ACCOUNT INFORMATION. If you have additional questions about this item

(Continued On Next Page)                                             Page 3 of 8                                         2180576440-JMS-0ab101020000009f-06292022
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                                          Case 1:23-cv-00597-MLB-JCF                  Document 6 Filed 03/20/23 Page 119 of 234

please contact: GLELSI, PO Box 7860, Madison, WI 53707-7860 Phone: (608) 246-1750

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Accoun t Number                      Date Opened         High Credit              Credit Limit           Terms Duration
                                                                                                                        ::r;:::r:itnIFJF:iI:%FFIFfff\tFIF!ff:mn:
                                                                                                                           Terms Frequency            Months Revd          Activity Designator                Creditor Classification
"8581                                01/23/2018          $ 52 ,900                                                         Month ly                   53

Date of Last      Balance     Amount               Date of Last   Actual Payment             Scheduled Payment   Date of 1st   Date of Last Date MaJ Del. Charge Off                 Deferred Pay Balloon Pay              Balloon Pay   Date
Reported Update   Amount      Past Due             Payment        Amount                     Amount              Delinquency   Activity     1st Rptd      Amount                     Start Date   Amount                   Date          Closed
06/22/2022 $ 56 448           $0                   05/2022                                   $0                                0612022
Status                       Type ri Account                       Type of Loan                                   Whose Account                      Portfolio Indicator                         Portfolio Status
Pays As Agreed               Installment                           Education Loan                                 Individual Account


ADDITIONAL INFORMATION:
Consumer Disputes - Reinvestigation in Process




Historical Account Information
           Balance          Schedu led         Actual                  Date of             High              Credit               Amount           Type of                                                           Activity
                            Payment            Payment                 Last                Credit            Limit                Past             Loan                                                              Designator
                            Amount             Amount                  Payment                                                    Due
05/22      $ 56,448                                                    05/01/2022          $52,900                                                 Education Loan

04/22      $ 56,448                                                    04/01/2022          $ 52,900                                                Education Loan

03/22      $ 56,448                                                    03/01/2022          $52,900                                                 Education Loan

02/22      $ 56,448                                                    02/01/2022          $52,900                                                 Education Loan

01/22      $ 56,448                                                    01/01/2022          $52,900                                                 Education Loan

12/21      $ 56,448                                                    12/01/2021          $ 52 ,900                                               Education Loan

11/21      $ 56 ,448                                                   11/01/2021          $52,900                                                 Ed ucation Loan

10/21      $ 56,448                                                    09/30/2021          $ 52,900                                                Education Loan

09/21      $ 56,448                                                    09/01/2021          $ 52,900                                                Education Loan

08/21      $ 56 ,448                                                   08/01/2021          $52,900                                                  Education Loan

07/21      $ 56,448                                                    07/01/2021          $ 52 ,900                                                Education Loan

06/21      $ 56,448                                                    06/01/2021 $52,900                                                           Education Loan


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Histo ri cal Account Information
           Balance        Scheduled            Actual               Date of              High              Credit               Amount           Type of                                                          Activity
                          Payment              Payment              Last                 Credit            Limit                Past             Loan                                                             Designator
                          Amount               Amount               Payment                                                     Due
05/21 $ 56.448                                                      05/01/2021           $52,900                                                 Education Loan

04/21      $ 56.448                                                 04/01/2021           $ 52,900                                                Education Loan

03/21      $ 56.448                                                 03/01/2021           $ 52,900                                                Education Loan

02/21      $ 56.448                                                 02/01/2021           $52,900                                                 Education Loan

01/21      $ 56,448                                                 01/01/2021           $ 52,900                                                Education Loan

12/20      $56,448                                                   12/01/2020          $52,900                                                 Education Loan

11/20      $ 56.448                                                  11/01/2020          $52,900                                                 Education Loan

10/20      $ 56,448                                                 09/30/2020           $ 52,900                                                Education Loan

09/20      $ 56 ,448                                                09/01/2020           $ 52,900                                                Education ·Loan

08/20      $ 56.448                                                 08/01/2020           $52,900                                                 Education Loan

07/20      $ 56,448                                                 07/01/2020           $ 52,900                                                Education Loan

06/20      $ 56,448                                                 06/01/2020           $ 52,900                                                Education Loan


>>> We have researched the credit account Account# - 7581 The results are: - THE FOLLOWING FIELDS HAVE BEEN MODIFIED:
*ADDITIONAL INFORMATION *DATE OF LAST ACTIVITY *HISTORICAL ACCOUNT INFORMATION . If you have additional questions about this item
please contact: US DEPT OF, PO Box 7860, US Dept Of Ed/Glelsi, Madison, WI 53707-7860

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Account Number                      Date Opened         High Cred~               Cred~ Limit           Tenns Duratioo    Terms Frequency            Months Revd          Activity Designator                Credilor Classification
*7581                               10/26/2017          $1,498                                                           Monthly                    56

Date of Last      Balance    Amount               Date of last   Actual Payment            Scheduled Payment   Date of 1st   Date of Last Date Maj Del. Charge Off                 Deferred Pay Balloon Pay             Balloon Pay   Date
Reported Update   Amount     Past Due             Payment        Amount                    Amount              Delinquency   Activity     1st Rptd      Amount                     Start Date   Amount                  Date          Closed
06/22/2022 $ 1,478           $0                   05/2022                                  $0                                0612022
Status                      Type rJ Accou nt                      Type of Loan                                  Whose Acoount                      Portfolio lndicalor                         Portfolio Status
Pays As Agreed              Installment                           Education Loan                                Individual Account


ADDITIONAL INFORMATION :
Consumer Disputes - Reinvestigation in Process




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Historical Account Information
         Balance        Scheduled     Actual    Date of         High               Credit              Amount           Type of                        Activity
                        Payment       Payment   Last            Credit             Limit               Past             Loan                           Designator
                        Amount        Amount    Payment                                                Due
05/22   $1 ,478                                 05/0112022 $ 1,498                                                      Education Loan

04/22   $1 ,478                                 04/01/2022 $ 1,498                                                      Education Loan

03/22   $ 1,478                                 03/01/2022 $ 1,498                                                      Education Loan

02/22 . $1,478                                  02/01/2022 $1,498                                                       Education Loan

01/22   $1 ,478                                 01/01/2022 $ 1,498                                                      Education Loan

12/21   $1 ,478                                 12/01/2021      $1 ,498                                                 Education Loan

11/21   $1 ,478                                 11/01/2021      $ 1,498                                                 Education Loan

10/21   $1 ,478                                 09/30/2021      $ 1,498                                                 Education Loan

09/21   $1 ,478                                 09/01/2021      $1 ,498                                                 Education Loan

08/21   $1 ,478                                 08/01/2021      $1,498                                                  Education Loan

07/21   $1 ,478                                 07/01/2021      $1 ,498                                                 Education Loan

06/21   $1 ,478                                 06/01/2021      $ 1,498                                                 Education Loan

05/21   $ 1,478                                 05/01/2021      $ 1,498                                                 Education Loan

04/21   $ 1,478                                 04/01/2021      $ 1,498                                                 Education Loan

03/21   $1 ,478                                 03/01/2021      $1,498                                                  Education Loan

02/21   $1 ,478                                 02/01/2021      $1,498                                                  Education Loan

01/21   $1 ,478                                 01/01/2021      $1,498                                                  Education Loan

12/20   $1 ,478                                 12/01/2020 $ 1,498                                                      Education Loan

11/20   $1 ,478                                 11/01/2020 $1 ,498                                                      Education Loan


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Historical Account Information
         Balance        Scheduled    Actual       Date of      High                           Credit       Amount                              Type of                         Activity
                        Payment      Payment      Last         Credit                         Limit        Past                                Loan                            Designator
                        Amount       Amount       Payment                                                  Due
10/20 $1 ,478                                     09/30/2020   $1 ,498                                 '                                       Education Loan
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09/20   $1 ,478                                   09/01/2020   $1 ,498                                                                         Education Loan

08/20   $1 ,478                                   08/01/2020   $ 1,498                                                                         Education Loan

07/20   $1 ,478                                   07/01/2020   $1 ,498                                                                         Education Loan

06/20   $1 ,478                                   06/01/2020   $1 ,498                                                                         Education Loan




(Continued On Next Page)                                                              Page 7 of 8                                                               2180576440-JMS-Oab101020000009f-06292022
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3/16/23 , 2:42 PM   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
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                                                                 Detail



                          Consumer Financial                                             Start a new complaint
                          Protection Bureau
                                                    (https://www.consumerfinance.gov/)


   ( All complaints( .)




    220528-8796296
   CLOSED


           Submitted
           STATUS
           Submitted to the CFPB on 5/28/2022

           PRODUCT
           Credit reporting, credit repair services, or other personal consumer reports

           ISSUE
           Improper use of your report


          We received your complaint. Thank you.

          We will review your complaint. Depending on what we find, we will typically:

             • Send your complaint to the company for a response; or
              • Send your complaint to another state or federal agency, or help you get in touch with
                your state or local consumer protection office; or

             • Let you know if we need more information to continue our work.




          YOUR COMPLAINT

          In accordance with the Fair Credit Reporting Act, BRYANT STATE BANK- Account#
          521044XXXXXXXXXX GREEN DOT Bank-Account# 400421 XXXXXXXXXX FIVE STAR BANK-
          Account# 205102XXXX CREDIT ACCEPTANCE CORP- Account# 799361 XX CAPITAL ONE
          AUTO FIN- Account# 620515XXXXXXXXXXX SANTANDER CONSUMER USA-
          300002XXXXXXXXXXX All these accounts above have violated my rights . 15 U.S. Code §
          1681 section 602 A. states that I have a right to privacy. 15 U.S. Code § 1681 Section 604 A
          Section 2: It also states a consumer reporting agency cannot furnish an account without my
          written instruction . 15 U.S. Code § 1666B: A creditor may not treat a payment on a cred it
          card account under an open end consumer credit plan as late for any purpose.

https://portal.consumerfinance .gov/consumer/s/complaint-detail#500t000000zv6x5AAA                               1/7
3/ 16/23, 2:42 PM   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
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                                                                 Detail

           Hide full complaint 0


           What product or service is your complaint about?


              PRODUCT OR SERVICE
              Credit reporting, credit repair services, or other personal consumer reports


              TYPE
              Credit reporting




           What type of problem are you having?


              ISSUE

              Improper use of your report

              HAVE YOU ALREADY TRIED TO FIX THIS PROBLEM WITH THE COMPANY?
              Yes




          What happened?


             In accordance with the Fair Credit Reporting Act, BRYANT STATE BANK- Account#
             521044XXXXXXXXXX GREEN DOT Bank-Account# 400421 XXXXXXXXXX FIVE STAR
             BANK- Account# 205102XXXX CREDIT ACCEPTANCE CORP- Account# 799361 XX
             CAPITAL ONE AUTO FIN-Account# 620515XXXXXXXXXXX SANTANDER CONSUMER
             USA- 300002XXXXXXXXXXX All these accounts above have violated my rights. 15 U.S.
             Code § 1681 section 602 A. states that I have a right to privacy. 15 U.S. Code § 1681
             Section 604 A Section 2: It also states a consumer reporting agency cannot furnish an
             account without my written instruction . 15 U.S. Code § 1666B: A creditor may not treat a
             payment on a credit card account under an open end consumer credit plan as late for
             any purpose.

             0 I want the CFPB to publish this description on consumerfinance.gov so that others can
                    learn from my experience.

                    The CFPB will take steps to remove my personal information from this description
https://portal .consumerfinance .gov/consumer/s/complaint-detail#S00t000000zv6x5AAA                      217
3/16/23, 2:42 PM
                   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
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                                                                Detail

                   but someone may still be able to identify me. _Learn ___ how __it_wo_rks. __l consent to
                   publishing this description after the CFPB has taken these steps.




             What would be a fair resolution to this issue?

             I want these accounts DELETED IMMEDIATELY due to the violations of my consumer
             rights.




          What company is this complaint about?


             COMPANY INFORMATION
             EQUIFAX

             SOCIAL SECURITY NUMBER (LAST FOUR DIGITS)
             2557




          What people are involved?



             YOUR CONTACT INFORMATION
             Andrea L Marion

             mariona101@mail.buffalostate.edu
             7163425798

             3201 Kenelworth Drive Apt 5 Atlanta, Georgia 30344 United States



             YOUR DEMOGRAPHIC INFORMATION
             Age
             28
             Household size including total number of adults and children
             2
             Combined annual household income


https://portal .consumerfinance.gov/consumer/s/complaint-detail#500t000000zv6x5AAA                            3/7
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                                                                   Detail

               $35,000 - $49,999




           Sent to company
           STATUS
           Sent to company on 5/28/2022


           We've sent your complaint to the company, and we will let you know when they respond.

           Their response should include the steps they took, or will take, to address your complaint.

           Companies generally respond in 15 days. In some cases, the company will let you know
           their response is in progress and provide a final response in 60 days.




           Company still working
           STATUS
           Company response is in progress as of 5/29/2022


           The company has responded that it is still working on your issue

           In some cases, companies need more time to respond. You should receive a final respo nse
           within 60 days from the date we sent your complaint to the company.

           --------------------------- -- --

           COMPANY'S INTERIM RESPONSE

           Equifax has received your complaint submitted through the CFPB portal. We need more time
           to review and thoroughly research your submission. Once we've completed our research, we
           will provide an updated response with our findings .




           Company responded
           STATUS
           Company responded on 6/23/2022
https://portal .consumerfinance.gov/consumer/s/complaint-detail#S00t000000zv6x5AAA                       4/7
3/16/23, 2:42 PM   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
                                                       6 Filed     03/20/23 Page 127 of 234
                                                                Detail

           RESPONSE TYPE

           Closed with explanation


           Company's Response

          Thank you for submitting your complaint through the CFPB Complaint Portal. In your
           complaint, you indicated that there were inaccurate items reporting on your credit file .
           Equifax has completed its investigation, including contacting the furnisher of the information ,
          where applicable. A summary of the results are listed below : ADVERSE ACCOUNTS THAT
          HAVE NOT BEEN PAID IN FULL WILL AUTOMATICALLY BE DELETED SEVEN YEARS FROM
          THE DATE OF FIRST DELINQUENCY. ADVERSE ACCOUNTS THAT HAVE BEEN PAID IN FULL
          WILL AUTOMATICALLY BE DELETED SEVEN YEARS FROM THE DATE OF FIRST
          DELINQUENCY. PAID AS AGREED ACCOUNTS THAT HAVE BEEN PAID IN FULL WILL
          AUTOMATICALLY BE DELETED TEN YEARS FROM THE REPORTED DATE. ONCE AN
          ACCOUNT HAS BEEN OPENED, THE ACCOUNT MAY APPEAR ON THE CREDIT FILE FOR 7
          YEARS FROM THE DATE OF FIRST DELINQUENCY OR 10 YEARS FROM THE DATE
          REPORTED. Trade: BRYANT STATE BANK EQUIFAX VERIFIED THAT THIS ITEM BELONGS TO
          YOU. THIS ACCOUNT HAS BEEN UPDATED ADDITIONAL INFORMATION HAS BEEN
          PROVIDED FROM THE ORIGINAL SOURCE REGARDING THIS ITEM. THE FOLLOWING
          FIELDS HAVE BEEN MODIFIED : ACTIVITY DESIGNATOR,BALANCE,CHARGE OFF
          AMOUNT,DATE OF LAST PAYMENT,DATE OF LAST ACTIVITY/DATE OF FIRST
          DELINQUENCY,ADDITIONAL INFORMATION,ACCOUNT HISTORY Trade: CAPITAL ONE
          AUTO FIN EQUIFAX VERIFIED THAT THIS ITEM BELONGS TO YOU. THIS ACCOUNT HAS
          BEEN UPDATED ADDITIONAL INFORMATION HAS BEEN PROVIDED FROM THE ORIGINAL
          SOURCE REGARDING THIS ITEM. THE FOLLOWING FIELDS HAVE BEEN MODIFIED: HIGH
          CREDIT,SCHEDULED PAYMENT,TERM DURATION,ADDITIONAL INFORMATION,ACCOUNT
          HISTORY Trade : CREDIT ACCEPTANCE CO EQUIFAX VERIFIED THAT THIS ITEM BELONGS
          TO YOU. EQUIFAX VERIFIED THAT THIS ITEM IS REPORTED CORRECTLY. Trade: FIVE STAR
          BANK EQUIFAX VERIFIED THAT THIS ITEM BELONGS TO YOU . EQUIFAX VERIFIED THAT
          THIS ITEM IS REPORTED CORRECTLY. Trade: GREEN DOT BANK EQUIFAX VERIFIED THAT
          THIS ITEM BELONGS TO YOU. ADDITIONAL INFORMATION HAS BEEN PROVIDED FROM
          THE ORIGINAL SOURCE REGARDING THIS ITEM. THE FOLLOWING FIELDS HAVE BEEN
          MODIFIED: STATUS,PAST DUE,CHARGE OFF AMOUNT,ACTUAL PAYMENT,DATE OF LAST
          PAYMENT,CLOSED DATE,ADDITIONAL INFORMATION Trade : SANTANDER CONSUMER U
          EQUIFAX VERIFIED THAT THIS ITEM BELONGS TO YOU. ADDITIONAL INFORMATION HAS
          BEEN PROVIDED FROM THE ORIGINAL SOURCE REGARDING THIS ITEM . THE FOLLOWING
          FIELDS HAVE BEEN MODIFIED : ACTIVITY DESIGNATOR,SCHEDULED PAYMENT,DATE OF
          LAST PAYMENT,CLOSED DATE,TERM DURATION,DATE OF LAST ACTIVITY/DATE OF FIRST
          DELINQUENCY,ACCOUNT HISTORY We hope this resolves your concerns and, if applicable,
          a copy of the dispute results has been mai led to you. If you have any additional questions,
          you may call 1-888-EQUIFAX (888-378-4329) or you may visit www.myequifax.com . With
          myEquifax, you can create an account to manage your security freeze, add or remove fraud
          alerts, and initiate credit fi le disputes . Additionally you can access free Equifax credit reports


https://portal .consumerfinance.gov/consumer/s/compla int-detail#500t000000zv6x5AAA                              5/7
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          and other products. You may also obtain a free copy of you r credit report on
          annualcreditreport.com.




           Feedback requested
          STATUS
          Feedback requested on 6/23/2022

          FEEDBACK DUE

          8/22/2022


          Provide feedback about the company's response

          We welcome your feedback on how the company responded to your complaint. You will
          have 60 days from when the company responded to share your feedback. The CFPB will
          share your feedback responses with the company and use the information to help the
          CFPB's work with consumer complaints.




          Closed

          The CFPB has closed your complaint.




   ADDITIONAL TOOLS AND RESOURCES




https://portal .consumerfinance .gov/consumer/s/complaint-detail#S00t000000zv6x5AAA            6/7
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                          Consumer Financial
                                                                                        Start a new complaint
                          Protection Bureau
                                                   (https://www.consumerfinance.gov/)


   ( All complaints( .)




   220302-8223625
   CLOSED


          Submitted
          STATUS
          Submitted to the CFPB on 3/2/2022

          PRODUCT

          Credit reporting, credit repair services, or other personal consumer reports

          ISSUE
          Problem with a credit reporting company's investigation into an existing problem


          We received your complaint. Thank you.

          We will review your complaint. Depending on what we find, we will typically :

             ■     Send your complaint to the company for a response; or

             ■     Send your complaint to another state or federal agency, or help you get in touch with
                   your state or local consumer protection office; or

             ■     Let you know if we need more information to continue our work.




          YOUR COMPLAINT

          I recently pulled a copy of my consumer report and noticed 7 items that are in direct
          violation of my consumer rights under 15 USC 1681- Congressional findings and statement
          of purpose (a)Accuracy and fairness of credit reporting The Congress makes the following
          findings: (4)There is a need to insure that consumer reporting agencies exercise their grave
          responsibilities with fa irness, impartiality, and a respect for the consumer's right to privacy.
          15 USC 1681 a (2) (i) which is Definitions; rules of construction (2)Exclusions.-Except as
          provided in paragraph (3), the term "consumer report" does not include- (i)report
          containing information solely as to transactions or experiences between the consumer and
          the person making the report; I have a right to privacy. Remove and block these items listed
          below: 1. SANTANDER CONSUMER USA- 300002XXXXXXXXXXX 2. CREDIT ACCEPTANCE
hltps://portal.consum erfinance .gov/consumer/s/complaint-detail#500t000000xwlS8AAM                             1/ 1?
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                   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
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                                                                Detail

          CORP- 799361 XX 3. CAPITAL ONE AUTO FINANCE- 620515XXXXXXXXXXX 4.
          TRANSWORLD SYSTEM INC/- 855883XX 5. ECSI/KEUKA COLLEGE- 6AFD64XXXXXXXXX 6.
          CCS/BRYANT STATE BANK- 521044XXXXXXXXXX 7. COM SERV GRP I have sent multiple
           letters requesting the deletion of late payments due to direct violation of my consume r
           rights. I recently received a copy of my Experian credit report, and I noticed some late
           payments posted on my credit report. Green Dot showing 30 days past due for January
          2021 and April 2021 Instead of deleting these negative late remarks you stated they
          accounts was verified and updated but nothing was changed . I DEMAND DELETION OF
          THESE NEGATIVE REMARKS DUE TO THE VIOLATIONS LISTED BELOW. Your company is in
          clear violation of the law. Under 15 U.S. Code § 1681 b - Permissible purposes of consumer
          reports, THE LAW CLEARLY STATES : (a)IN GENERAL Subject to subsection (c), any consumer
          reporting agency may furnish a consumer report under the follow ing circumstances and no
          other: (2) In accordance with the written instructions of the consumer to whom it relates. Did
          I give you written instructions to furnish this account on my credit report? Furthermore, the
          FAIR CREDIT REPORTING ACT 15 U.S. Code § 1681 (2)(A)(i) Exclusions from a consumer
          credit report clearly states: (2)EXCLUSIONS.-Except as provided in paragraph (3), the term
          "consumer report" does not include- (A)subject to section 1681 s- 3 of this title, any- (i)
          report containing information solely as to transactions or experiences between the
          consumer and the person making the report; Transaction : payment history Experience :
          amount of credit using Line of credit: an experience what you use and how you use it/ swipe
          card: are all transactions Delete the above late payments from my consumer report, this is in
          violation of the FAIR CREDIT REPORTING ACT 15 U.S. Code § 1681 Failure to respond
          satisfactorily with deletion of the above referenced account will result in legal actions be ing
          taken against your company, for which I will also be seeking $1,000 per violation for : 1.
          Defamation of Character (per se) 2. Negligent Enablement of Identity Fraud 3. Fair Debt
          Collection Practices Act 15 U.S. Code § 1692g violations 4. Fair Credit Reporting Act 15 U.S.
          Code § 1681 violations for willful noncompliance- §616. Civil Liability for willful
          noncompliance (15 U.S. Code § 1681 n) These negative remarks and accounts reported
          were without my permission. THIS INFORMATION IS NOT INFORMATION RELATING TO
          ANY TRANSACATION BY THE CONSUMER. NOTICE TO AGENT IS NOTICE TO PRINCIPAL
          NOTICE TO PRINCIPAL IS NOTICE TO AGENT You , Experian are furnishing inaccurate and
          incorrect information to the consumer reporting agencies. The reporting of such inaccurate
          information has caused severe damage to my character, my reputation, my general mode of
          living and my ability to obtain credit for personal and house purposes. You and your
          inaccurate reporting have damaged my livelihood. 15 U.S. Code § 1681 s- 2 - Responsibil ities
          of furnishers of information to consumer reporting agencies (a)DUTY OF FURNISHERS OF
          INFORMATION TO PROVIDE ACCURATE INFORMATION (1) PROHIBITION (A)Reporting
          information with actual knowledge of errors A person shall not furnish any information
          relating to a consumer to any consumer reporting agency if the person knows or has
          reasonable cause to believe that the information is inaccurate. Duty: a moral or legal
          obligation; a responsibility Accurate: correct in all details; exact PROHIBITION : a law or
          regulation forbidding something As Defined by the IRS The IRS Clearly defies a cha rge off
          as Gross or Ordinary income, INCOME DOES NOT GET REPORTED ON THE CONSUMER
          REPORT which in fact makes your reporting of this account inaccurate! By Definition The IRS
                                                                                                             '1 /1 'l
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          Clearly says a Cancelled or Charge off is income. The reporting of this account as a debt is
          inaccurate. 15 USC 1681 s-2 Says you Experian are a furnisher of information to a consumer
          reporting agency. You are PROHIBITED BY LAW to furnish inaccurate information. I demand
          you to Cease and Desist the reporting of incorrect/inaccurate information immediately. 15
          USC 1681 s-2(a)( 1 )(A) A person shall not furnish any information relating to a consumer to
          any consumer reporting agency if the person knows or has reasonable cause to believe that
          the information is inaccurate. You are hereby put on NOTICE that you are furnishing
          incorrect inaccurate information. The lender must file 1099-C and send you copy if the
          amount of the debt cancelled is $600or more and the lender is a financial institution, credit
          union, federal government agency, or other applicable entity as discussed earlier in chapter
          1. The above paragraph is taken directly from the IRS 2021 publication . I have not gotten a
          1099-C that should have been sent when the furnisher reported this account and Filed the
          account as a cancelled debt but they have not so they are in violation of reporting
          inaccuarate information as well as Experian due to I asked for a complete investigation into
          this matter and was replied back that you have and the account was verified and accurate
          but it is not. 15 U.S. Code§ 1681 s-2 (a)DUTY OF FURNISHERS OF INFORMATION TO
          PROVIDE ACCURATE INFORMATION (1) PROHIBITION (B)Reporting information after
          notice and confirmation of errors A person shall not furnish information relating to a
          consumer to any consumer reporting agency if- (i) the person has been notified by the
          consumer, at the address specified by the person for such notices, that specific information
          is inaccurate; and (ii) the information is, in fact, inaccurate In conclusion I have shown you
          and you have been put on notice that you are reporting inaccurate information. The
          information is, in fact, inaccurate. The continued reporting of this inaccurate information is a
          clear violation of the Law 15 USC 1681 s-2 of your responsibilities as a furnisher of
          information . You have caused me and my family severe harm due to your negligence and
          inaccurate reporting. This is a final opportunity to Cure and DELETE This Erroneous,
          Inaccurate account from my consumer report. You have four [4] days to REMOVE THESE
          ITEMS FROM MY CONSUMER REPORT.


          ATTACHMENTS

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         !.~.9..?._~ jpg_(1.6 MB)
          transworld _dpb __respo_nse .jpeg (2.6 MB)


          Hide full complaint 0


          What product or service is your complaint about?


              PRODUCT OR SERVICE

              Credit reporting, credit repair services, or other personal consumer reports
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              TYPE

              Credit reporting




           What type of problem are you having?


              ISSUE
              Problem with a credit reporting company's investigation into an existing problem

              HAVE YOU ALREADY TRIED TO FIX THIS PROBLEM WITH THE COMPANY?
              Yes




           What happened?


              I recently pulled a copy of my consumer report and noticed 7 items that are in d irect
              violation of my consumer rights under 15 USC 1681- Congressional f indings and
              statement of purpose (a)Accuracy and fairness of credit reporting The Congress makes
              the following findings : (4)There is a need to insure that consumer reporting agencies
              exercise their grave responsibilities with fairness, impartiality, and a respect for the
              consumer's right to privacy. 15 USC 1681 a (2) (i) which is Definitions; rules of
              construction (2)Exclusions.-Except as provided in paragraph (3), the term "consumer
              report" does not include- (i)report containing information solely as to transactions or
              experiences between the consumer and the person making the report; I have a right t o
              privacy. Remove and block these items listed below: 1. SANTANDER CONSUMER USA-
              300002XXXXXXXXXXX 2. CREDIT ACCEPTANCE CORP- 799361 XX 3. CAPITAL ONE
              AUTO FINANCE- 620515XXXXXXXXXXX 4. TRANSWORLD SYSTEM INC/- 855883XX 5.
              ECSI/KEUKA COLLEGE- 6AFD64XXXXXXXXX 6. CCS/BRYANT STATE BANK-
              521044XXXXXXXXXX 7. COM SERV GRP I have sent multiple letters requesting the
              deletion of late payments due to direct violation of my consumer rights . I recently
              received a copy of my Experian credit report, and I noticed some late payments posted
              on my credit report. Green Dot showing 30 days past due for January 2021 and Apri l
              2021 Instead of deleting these negative late remarks you stated they accounts wa s
              verified and updated but nothing was changed . I DEMAND DELETION OF THESE
              NEGATIVE REMARKS DUE TO THE VIOLATIONS LISTED BELOW. Your company is in
              clear violation of the law. Under 15 U.S. Code § 1681 b - Permissible purposes of
              consumer reports, THE LAW CLEARLY STATES : (a)IN GENERAL Subject to subsection (c),
              any consumer reporting agency may furnish a consumer report under the following

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                                                                Detail

             circumstances and no other: (2) In accordance with the written instructions of the
             consumer to whom it relates . Did I give you written instructions to furnish this account on
             my credit report? Furthermore, the FAIR CREDIT REPORTING ACT 15 U.S. Code §
             1681 (2)(A)(i) Exclusions from a consumer credit report clearly states: (2)EXCLUSIONS .-
             Except as provided in paragraph (3), the term "consumer report" does not include-
             (A)subject to section 1681 s-3 of this title, any- (i) report containing information solely as
             to transactions or experiences between the consumer and the person making the report;
             Transaction: payment history Experience : amount of credit using Line of credit: an
             experience what you use and how you use it/ swipe card: are all transactions Delete t he
             above late payments from my consumer report, this is in violation of the FAIR CREDIT
              REPORTING ACT 15 U.S. Code § 1681 Failure to respond satisfactorily with deletion of
              the above referenced account will result in legal actions being taken against your
             ·company, for which I will also be seeking $1,000 per violation for: 1. Defamation of
              Character (per se) 2. Negligent Enablement of Identity Fraud 3. Fair Debt Collection
              Practices Act 15 U.S. Code § 1692g violations 4. Fair Credit Reporting Act 15 U.S. Code§
               1681 violations for willful noncompliance- §616 . Civil Liability for willful noncompliance
              (15 U.S. Code § 1681 n) These negative remarks and accounts reported were without my
              permission. THIS INFORMATION IS NOT INFORMATION RELATING TO ANY
              TRANSACATION BY THE CONSUMER. NOTICE TO AGENT IS NOTICE TO PRINCIPAL
              NOTICE TO PRINCIPAL IS NOTICE TO AGENT You, Experian are furnishing inaccurate
              and incorrect information to the consumer reporting agencies. The reporting of such
              inaccurate information has caused severe damage to my character, my reputation, my
              general mode of living and my ability to obtain credit for personal and house purposes.
              You and your inaccurate reporting have damaged my livelihood . 15 U.S. Code§ 1681 s-2
              - Responsibilities of furnishers of information to consumer reporting agencies (a)DUTY
              OF FURNISHERS OF INFORMATION TO PROVIDE ACCURATE INFORMATION (1)
              PROHIBITION (A)Reporting information with actual knowledge of errors A person shall
              not furnish any information relating to a consumer to any consumer reporting agency if
              the person knows or has reasonable cause to believe that the information is inaccurate .
              Duty : a moral or legal obligation; a responsibility Accurate: correct in all details; exact
              PROHIBITION : a law or regulation forbidding something As Defined by the IRS The IRS
              Clearly defies a charge off as Gross or Ordinary income, INCOME DOES NOT GET
              REPORTED ON THE CONSUMER REPORT which in fact makes your reporting of this
              account inaccurate! By Definition The IRS Clearly says a Cancelled or Charge off is
              income. The reporting of this account as a debt is inaccurate. 15 USC 1681 s-2 Says you
              Experian are a furnisher of information to a consumer reporting agency. You are
              PROHIBITED BY LAW to furnish inaccurate information. I demand you to Cease and
              Desist the reporting of incorrect/inaccurate information immediately. 15 USC 1681 s-2(a)
             (1 )(A) A person shall not furnish any information relating to a consumer to any consum er
              reporting agency if the person knows or has reasonable cause to believe that the
              information is inaccurate. You are hereby put on NOTICE that you are furnishing
              incorrect inaccurate information. The lender must file 1099-C and send you copy if the
             amount of the debt cancelled is $600or more and the lender is a financial institution,
             credit union, federal government agency, or other applicable entity as discussed earl ier

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                                                                Detail

             in chapter 1. The above paragraph is taken directly from the IRS 2021 publication . I have
             not gotten a 1099-C that should have been sent when the furnisher reported this
             account and Filed the account as a cancelled debt but they have not so they are in
             violation of reporting inaccuarate information as well as Experian due to I asked for a
             complete investigation into this matter and was replied back that you have and the
             account was verified and accurate but it is not. 15 U.S. Code § 1681 s-2 (a)DUTY OF
             FURNISHERS OF INFORMATION TO PROVIDE ACCURATE INFORMATION (1)
             PROHIBITION (B)Reporting information after notice and confirmation of errors A person
             shall not furnish information relating to a consumer to any consumer reporting agency if
             - (i) the person has been notified by the consumer, at the address specified by the
             person for such notices, that specific information is inaccurate; and (ii) the information is,
             in fact, inaccurate In conclusion I have shown you and you have been put on notice that
             you are reporting inaccurate information. The information is, in fact, inaccurate. The
             continued reporting of this inaccurate information is a clear violation of the Law 15 USC
             1681 s-2 of your responsibilities as a furnisher of information. You have caused me and
             my family severe harm due to your negligence and inaccurate reporting . This is a final
             opportunity to Cure and DELETE This Erroneous, Inaccurate account from my consumer
             report. You have four [4] days to REMOVE THESE ITEMS FROM MY CONSUMER REPORT.

             0 I want the CFPB to publish this description on consumerfinance.gov so that others can
                   learn from my experience.

                   The CFPB will take steps to remove my personal information from this description
                   but someone may still be able to identify me. _Learn_ __how _it_wo_rks . I consent to
                   publishing this description after the CFPB has taken these steps.




             What would be a fair resolution to this issue?

             DELETION OF 1. SANTANDER CONSUMER USA- 300002XXXXXXXXXXX 2. CREDIT
             ACCEPTANCE CORP- 799361 XX 3. CAPITAL ONE AUTO FINANCE-
             620515XXXXXXXXXXX 4. TRANSWORLD SYSTEM INC/- 855883XX 5. ECSI/KEUKA
             COLLEGE- 6AFD64XXXXXXXXX 6. CCS/BRYANT STATE BANK- 521044XXXXXXXXXX 7.
             COM SERV GRP- U20179XXXXXXXX and the removal of negative late payment remarks
             from Green Dot showing 30 days past due for January 2021 and April 2021




             4 attachments
             View uploaded documents by clicking on the file name . Documents that pass virus
             scanning are typically available within 2 minutes of upload.



https://portal.consumerfinance .gov/consumer/s/complaint-detail#S00t000000xwLSBAAM                            6/1 2
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                                                                Detail

             drea ga id.jpeg (584.9 KB)


             capital one repsonse.jpg (964 KB)


             lease .jpg ( 1.6 MB)


             transworld cfpb response.jpeg (2.6 MB)




          What company is this complaint about?

             COMPANY INFORMATION
             EXPERIAN

             SOCIAL SECURITY NUMBER (LAST FOUR DIGITS)

             2557

             ADDITIONAL COMPANY
             TRANSUNION

             SOCIAL SECURITY NUMBER (LAST FOUR DIGITS)
             2557
             COMPLAINT ALSO SUBMITTED TO THIS COMPANY?
             true

             ATTEMPTED TO FIX WITH THIS COMPANY?
             Yes
             ADDITIONAL CREDIT REPORTING COMPANY
             EQUIFAX

             SOCIAL SECURITY NUMBER (LAST FOUR DIGITS)
             2557

             COMPLAINT ALSO SUBMITTED TO THIS COMPANY?
             Yes

             ATTEMPTED TO FIX WITH THIS COMPANY?
             Yes




https://portal .consumerfinance .gov/consumer/s/complaint-detail#500t000000xwLS8AAM          7/12
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          What people are involved?



             YOUR CONTACT INFORMATION
             Andrea L Marion

             marional01@mail.buffalostate.edu
             7163425798


             3201 Kenelworth Drive Apt 5 Atlanta, Georgia 30344 United States



             YOUR DEMOGRAPHIC INFORMATION
             Age
             28
             Household size including total number of adults and children
             2
             Combined annual household income
             $35,000 - $49,999




          Sent to company
          STATUS
          Sent to company on 3/2/2022


          We've sent your complaint to the company, and we will let you know when they respond .

          Their response should include the steps they took, or will take, to address your complaint.

          Companies generally respond in 15 days. In some cases, the company will let you know
          their response is in progress and provide a final response in 60 days.




          Company still working
          STATUS

https://portal .consumerfinance. gov/consumer/s/complaint-detail#500t000000xwLS8AAM                     8/12
3/16/23, 2:43 PM
                   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
                                                       6 Filed     03/20/23 Page 137 of 234
                                                                Detail

          Company response is in progress as of 3/3/2022


          The company has responded that it is still working on your issue

          In some cases, companies need more time to respond . You should receive a final response
          within 60 days from the date we sent your complaint to the company.




          COMPANY'S INTERIM RESPONSE

          Equifax has received your complaint submitted through the CFPB portal . We need more time
          to review and thoroughly research your submission. Once we've completed our research, we
          w ill provide an updated response with our findings.




          Company responded
          STATUS
          Company responded on 3/8/2022

          RESPONSE TYPE

          Closed with explanation


          Company's Response

          Thank you for submitting your complaint through the CFPB Complaint Portal. In your
          complaint, you indicated that there were inaccurate or incorrect items reporting on you r
          credit file . Please be advised that an investigation with the furnisher of the information has
          been initiated . When the furnishing company provides their findings, we will send those
          results to you . We hope this resolves your concerns . If you have any additional questions, you
          may call (888) 836-6351 or you may visit www.myequifax.com. With myEquifax, you can
          create an account to manage your security freeze, add or remove fraud alerts, and initiate
          credit file disputes. Additionally you can access free Equifax credit reports and other
          products.




          Feedback provided
          STATUS
          Feedback provided on 3/8/2022



https://portal .consumerfinance.gov/consumer/s/complaint-detail#500t000000xwLS8AAM                          9/12
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 138 of 234




                                  -
                                   Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 139 of 234
EC{UIFAX '                                                                            ANDREA L. MARION
                                                                                                               Prepared For



                                                                                                Pe rsonal & con fld en ial



At a glance

 FICO® Score 8

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                                                   Ecui'a da a vl ar 16, 023


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                 Poor




 Account summary                        Overall credit usage                   Debt summary

 Open accoums                     12                                           Credit card and credit line de bt    $3,257

 Accounts ever late               10                                           Lo an debt                          $58,282

 Closed accounts                  11                                           Colle tions. d ebt                       SO
                                                      43%
 Collec t10n s                     0                                           Tomi de bt                          $61 ,539

 Averag e account        2 yrs 8 mos
 ag e

 Oldes· accou           5 yrs, 10 mos

                                              ■ Cred· used: S3,257

                                                 Cred· lim· - S7,600
                              Case 1:23-cv-00597-MLB-JCF DocumentPrepared
                                                                  6 Filed     03/20/23 Page 140 of 234
                                                                          For ANDREA l. MARION Date generated; Mar 16, 2023



e CAPITAL ONE AUTO FIN                                                                                                      $1 ,258

  25 potentially negative months                                                                                            Closed



  ~ Account info                                           \'{\ l()'{\/\ 9~tt ofcf'f-
 Account name                          CAPITAL ONE AU_0 1N             Balance                                             $1 ,258

 Account number                         620515~XXXX                    Balance updated                          Mar 09, 2023

 O(ginal credi or                                                      Original balance

 Company sold                                                           onthly paymen                                          so
 Accoun        ype                                 Installment         Past due amount                                     $1 ,258

  Date opened                                    Nov 19, 2019          Terms                                            75 Months
 Open/ closed                                            losed         ResponsibW y                        Individual Account

  Status                                           Charge-off

 Sta us updated



  [I) Payment history


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                                     Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 141 of 234
EC{UIFAX.
                                                                                              Prepared For ANDREA L. MARION   Date generated: Mar 16, 2023



 e BRYANTSTATEBANK                                                                                                                                   $164

   1o potentially negative mont hs                                                                                                                 Closed



   ~ Account info
                                                                                 ~~Cl(&lf-
  Account name                                       BRYANT%TATENK
                                                                \~                                                                                  $164
                                                     5210                          Balance
  Account number                                          44       xxxxxx          Balance updated                                          Feb 10, 2023

  Original cred itor                                                               Cr edit limit                                                    $350

  Company sold                                                                     Monthly p ayment

  Account type                                                 Revolving           Past due amount                                                  $164
  Date opened                                               Sep 22,, 2020          Highest balance

  Open/ closed                                                      Closed         Terms

  Status                                                      Charge-off           Responsibility                                      Individual Account

  Status updated                                               Feb2023             Your statemen


                                                               ~\O 'Qt \wtt'St
                                                                   --\\~ CX\OfcpJ ~
  [ } ] Payment history


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            !:z:i                                                                                            ✓        ✓          ✓



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      ✓    ., • . -                   CO c,zc. cr-
                                  Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 142 of 234
EC{UIFAX
                                                                                   Prepared For ANDREA L. MARION   Date generated: Mar 16, 2023



e CELTIC BANK/CONTINEN                                                                                                                       so
  7 potentiaJly nega ive mon hs                                                                                                          Closed



  ~ Account info
 Account name                                                           Balance                                                             so
 Accoun number                             534636XXXXXXXXXX             Balance updated                                        Nov 15, 2022

 Original credi or                              CKS 833 387 5604        Cr edit limi                                                    $1 ,050

 Company sold                                                           Mon ly p aymen

 Account ype                                           Revolving        Past due amount

 Date opened                                         Jul 12, 2020        lghest balance

 Open/ closed                                              Closed       Terms

 sta us                                               Charge-off        Responsibil"                                      Individual Account

 sta us updated                                        Nov 2022         You statemen



  [I] Payment history
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                                                                    Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 143 of 234
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                                     Accoun name

                                     Accoun number
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                                                                                             OVV<X>"t ~
                                                                                                                 Balance
                                                                                                                 Bal ance updated
                                                                                                                                                              so
                                                                                                                                                    Mar 14, 2023
                                     Original cred· or                                                           Original ba ance                        $10,000

                                     Compafl'jsold                                                                 omhl;• payment                             so
                                     Accou            type                                     lnsta llmem       PaSl due a:noun
                                     Date opened                                             May 03, 2021         erms                               120 Months

                                     Ope          osed                                              Clo           esponsi l                    ln<ividual Accolnt

                                     Status                             not more than three payments past        Your statemem
                                                                                                          due
                                     St atus pclated                                             Mar2023




                                        S Payment history


                                                                    ✓


                                                                                       .,
                                                                                                                                                     ✓




                                               Contact info

                                              Address                        8100 SHOAL CREEK BLVD.
                                                                             AUSTIN,
                                                                             TX 78757

                                                      one n   ber            (512) 693-3600




                                       ~ Comments
                                               AXED RATE
                                          Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 144 of 234
EC{UIFAX'
                                                                                     P~:;a·ed -   ANDREA L MARIO      Date generated: I,•    1 Z 23



 •   US DEPT. OF EDUCATIO                                                                                                                    $56,476
     Exceptional payment history                                                                                  Bal ance updated Mar 09, 202'.3



      .&::       Accomt info

     Accoun name                              US DEPT. OF EDUCA"9° \     Bala    e                                                          S-56,476

     Accoun           mber                                92767CJ6xx     Bala    e updated                                          Mar 09, 2023
     Original        edi o r                                              ng ina l balance                                                  S52,900
     Compa           sold                                                Paid ff                                                                 0

     Accoun           pe                                   Installment    om ly p~yment                                                          so
     Date opened                                                         Past due amount                                                         so
     Ope 'dosed                                                           erms
     Stat us                                                              esJX)Osibil y                                      Individual A~ount

     Status upd"3ted                                                     Your s1ateme11t




     m           Payment history




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     f><j Contact info
                 Address                  PO BOX 7860 MADISON,
                                          W1 53704
                 Phone n       ber        Bvmail ooJy
                                    Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 145 of 234
EC{UIFAX .
                                                                                         Prep.a· ed For ANDREA L MARIO   Date generated: M.a 1 • :!3



 e US DEPT OF ED/ GLB.SI                                                                                                                     $1,478
    Exceptional payment h. to.ry                                                                                     B ance updated Mar 09, 2023



    .&~   Accomt info
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                                                                      """'~ occt*
   Aocount name                        US DEPT OF ED/ G ~ I            Bal           e                                                      Sl ,478
    ocount umber                         375625XXXXX~XX                Balance updated                                               Mar 09, 2023

   Original creditor                                                   Original balanc e                                                    Sl ,498
   Company sold                                                        Paid off                                                                 1.

   Aocount typ e                                  Installment                      t hly payment

   Date o pened                             ----"'-' 26, 2017          PaSldue a                  n                                             so
   Ope    clos.ed                                       Open            erms

   Stat us                             Pays account as agreed           espoosibrl y                                           ln<ividual Account
   Stat us updated                                                     Your statement




   Ci) Payment history



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          Contact info

          Address                  PO BOX 7860 US DEPT OF
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 146 of 234
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 147 of 234




                         U.S. Postal Service'.,
                         CERTIFIED MAIL® RECEIPT
                         Domestic Mail Only




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                                                                                                             THIS SECTION
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                                                                                                               Remove X
Tracking Number.

70203160000118471353
([) Copy     ~ Add to Informed Delivery


                                                                      @f Delive~ed
    Latest Update                                                        Delivered, Left with Individual
                                                                         CHESTER. PA 19013
    Your item was delivered to an indiVidual at the address at 6:06      Apri l 26, 2022. 6:06 pm
    pm on Apri l 26, 2022 in CHESTER. PA 19013.
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    Get More Out of USPS Tracking:

    t'3. USPS Tracking Plus


  Text & Email Updates                                                                                     V
                                  Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 150 of 234

Tracking Number.

70210950000174401335
L(] Copy         ':A..# Add to Informed Delivery


                                                                         & Delivered
    Latest Update                                                           Delivered Individua l Picked Up at Postal Facility
                                                                            CH ESTER. PA 9013
    Your item w as picked up at a postal facility at 11 :29 am on June      June 14. 2022. 11 :29 an
    14, 2022 in CHESTER. PA 19013.
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    Get More Out of USPS Tracking:

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                              Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 151 of 234
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    Latest Update                                                        Delivered Individual Picked Up at Post Office
                                                                        ASTO . PA 90 4
    Your i em was picked up at the post office at 10:12 am on April     Apnl 8 . 2022. 10: 2 am
    8, 2022 in ASTON, PA 19014.
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    Get More Out of USPS Tracking:

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  Text & Email Updates                                                                                                   V
                     Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 152 of 234
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        Tran sUnion LLC
        PO Box 805
        Woodlyn, PA 19094-0 805
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ANDREA L. MARION
3201 KEN El WORTH DR APT 5
EAST POINT, GA 30344 -6146




  Dear ANDREA L. MARION,

 We understand that recently something on your credit report did not seem right to you. We take this matter
 seriously, and we want to make sure your TransUnion credit report is accurate. It's our commitment to you.

  Our investigation of the dispute you submitted is now complete. After a review of your dispute and any
  provided documentation, we took one or more of the following action(s):

 1. Updated your credit report based on the information you provided; OR
 2. Determined that the information you disputed either does not appear on your credit file or already shows
    the requested status; OR
 3. Determined that the data furnisher had previously verified the reported information . If any of the items
    you disputed were previously verified, a separate communication was sent to you listing those items along
    with the data furnisher's contact information; OR
 4. Asked the data furnisher reporting the information you disputed to do all of the following :
        • Review relevant information we sent them, including any provided documents
        • Investigate your dispute and verify whether the information they report is accurate
        • Provide us a response to your dispute and update any other information
        • Update their records and systems, if necessary;

 Should you wish to receive the above description of the procedures we used to investigate your dispute in a
 separate communication for your records, please contact TransUnion _

 Your dispute is important. In the pages that fol low, you will see your detailed investigation results , including
 the name and contact details of the source of the information. Please review the results carefully. To view a
 full copy of your credit report and for more information about how to read your credit report, please visit
 www.transunion.com/fullreport.



                                                                        How to Read Your Investigation Results

 You will see that, for each disputed item, a summary explanation appears in the gray box, followed by a brief
 paragraph describing the results of our investigation, followed by a view of how the item appears in your
 updated credit report. Please note any changes we made to personal information (name, address,
 employment, SSN , date of birth) will appear at the end of Your Investigation Results.
         File Number:
                        Case 1:23-cv-00597-MLB-JCF
                               424805394           Document
                                                   Page 2 of 9 6 Filed 03/20/23 Page 153 of 234
         Date Issued:          04/10/2022
         A Note on Credit Report Updates
         Information in your credit report is updated frequently which means items you disputed may not appear on
         your credit report or have already changed by the time we received your dispute. In most cases, the Date
         Updated represents the last time the account information was updated or reported by the data furnisher.
         Please note that this date may not change following our investigation of your dispute. For Payment Received
         and Last Payment Made, please keep in mind , the data may not represent very recent payment activity.

         If information was removed or updated as a result of your dispute, the "Your Investigation Results" section
         below will note that an update was made. An update can include a change to the information or the removal
         of the information entirely from your credit file. For example, if a field was removed as a result of your dispute,
         the description will indicate that a change was made to that field. If information was removed , it will no longer
         appear in the account details.

         Definitions
         For your reference, here are some definitions to help you understand Your Investigation Results.

         For ACCOUNTS:
         Balance: The balance owed as of the date the              Original Charge Off: If applicable, the amount
         account was verified or reported                          charged off due to non-payment of the account
         Credit Limit: The maximum amount of credit                Past Due: The amount past due as of the date the
         approved by the creditor on the account                   account was verified or reported
         Date Opened: The date the account was                     Pay Status: The current status of the account; how
         Opened                                                    you are currently paying. For accounts that have
                                                                   been paid and closed, sold, or transferred , it
                                                                   represents the last reported status of the account.
         High Balance: The highest amount ever owed on an Remarks: If applicable, the creditor may provide
         account                                          additional information here related to the account
         Last Payment Made: The date the creditor                  Responsibility: The type of contractual ownership
         received the last payment on the account                  (individual , joint, authorized user, etc.) of the account
         Maximum Delinquency: If applicable, the                   Terms: The monthly payment amount or monthly
         maximum amount past due before an account                 minimum payment due on the account
         becomes a charge-off or a collection account


         Historical Trended Data
         Accounts on your credit report may include historical account information, which TransUn ion has collected
         from account updates provided by your creditor for up to 30 months. On your credit report, this historical
         trended data may have appeared in a grid below each account along with information reflecting the
         timeliness of your payments and may include the following data: Date Updated , Balance, Amount Due,
         Amount Paid, Past Due , Credit Limit, High Balance and Remarks .

         Please note: Once an account is disputed, the historical trended data is removed from your credit file and will
         not be displayed on these results. However, the rating information reflecting the timeliness of your payments
         will remain and reflect any updates provided by the creditor, if applicable.



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            Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 154 of 234
File Number:                424805394                            Page 5 of 9
Date Issued:                04/10/2022


                                                      Your Investigation Results

  INVESTIGATION RESULTS - DISPUTED INFORMATION UPDATED AND OTHER INFORMATION
  UPDATED: A change was made to the item(s) based on your dispute and other information has also
  changed.


 CAPITAL ONE AUTO FINANCE #6205154679963**** ( CB DISPUTES TEAM, PO BOX 259407, PLANO, TX 75025, (800) 946-0332)
 We investigated the information you disputed and updated: Date Updated; Rating. Here is how this item
 appears on your credit report following our investigation .
 Date Opened :             11/19/2019               Balance:             $1,258                                     Pay Status:         >Charged Off<
 Responsibility:           Individual Account       Date Updated:        04/08/2022                                 Terms:              $0 per month, paid Monthly
 Account Type:             Installment Account      Payment Received:    10/08/2020 ($0)                                                for 75 months
 Loan Type:                AUTOMOBILE               Last Payment Made:   10/08/2020
                                                    High Balance:        $22,899
                                                    Original Charge-off: $6,709
                                                    Past Due:            >$1 ,258<
 Remarks: DISP INVG COMP-RPT BY GRNTR; >UNPAID BALANCE CHARGED OFF<
 Estimated month and ear that this item will be removed: 10/2027
               03/2022       02/2022     01/2022      12/2021    11/2021       10/2021      09/2021     08/2021     07/2021       06/2021     05/2021     04/2021
Rating              [TI         IC/O I       1c,0 1      1c,01      1c10 1        IC/0 ]       1c,0 1      1c,0 1      IC/O J        1c,0 1      1c,0 1      [CJOI
               03/2021       02/2021     01/2021      12/2020    11/2020       10/2020      09/2020     08/2020     07/2020       06/2020     05/2020     04/2020
Rating              [TI         1c10 1       1c,0 1      [][]       [][]          [][]         [][]        [][]        [][]          [][]        [][]        [][]
               03/2020       02/2020     01/2020      12/2019    11/2019
Rating              [][]        [][]         [][]        [][]       [][]
■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■            ■ ■   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■         ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■          ■ ■ ■ ■ ■       ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■

 SANT ANDER CONSUMER USA #3000020778877**** ( Po BOX 961211 , FORT WORTH , TX 75161, (888) 222-4227)
We investigated the information you disputed and updated: Not specified. Here is how this item appears on
your credit report following our investigation.
 Date Opened:              10/23/2017                       Balance:                     $0                         Pay Status:     Paid, Closed; was Paid as
 Responsibility :          Individual Account               Date Updated:                12/09/2019                                 agreed
 Account Type:             Installment Account              Payment Received:            12/09/2019 ($0)            Terms:          $0 per month, paid Monthly
 Loan Type:                AUTOMOBILE                       Last Payment Made:           12/09/2019                                 for 61 months
                                                            High Balance:                $9,613                     Date Closed:    12/09/2019
                                                                                                                    >Maximum Delinquency of 60 days in 03/2018
                                                                                                                                   and in 05/2018<
 Remarks: CLOSED
               11/2019       10/2019     09/2019      08/2019    07/2019      06/2019      05/2019      04/2019     03/2019       02/2019     01/2019     12/2018    I
Rating              @K]         [][]         @K]         [][]       00            [][]         @K]         [][]        [][]          @K]         00          00 1
               11/2018       10/2018     09/2018      08/2018    07/2018      06/2018      05/2018      04/2018     03/2018       02/2018     01/2018
Rating              [][]        @K]          [][]        [][]       [][]          [][]         00          00          00            [][]        [][]
■ ■ ■ ■ ■ ■ ■ ■      ■ ■ ■ ■ ■     ■   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■               ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■
          File Number:
                         Case 1:23-cv-00597-MLB-JCF
                                424805394
                                                    Document
                                                    Page 6 of 9
                                                                6 Filed 03/20/23 Page 155 of 234
          Date Issued:               04/10/2022



            INVESTIGATION RESULTS - VERIFIED AND UPDATED: The disputed item(s) was verified as
            belonging to you and information has changed or been updated to reflect recent activity.


           BRYANT STATE BANK #521044006827**** ( 1500 S HIGHLINE AVE, SIOUX FALLS, SD 57110, (605) 782-3474)
           We investigated this item, verified it belongs to you, and updated: Rating; Historical Trended Data. Here is
           how this item appears on your credit report following our investigation.
           Date Opened:             09/22/2020                     Balance:                 $38                       Pay Status:    Current; Paid or Paying as
           Responsibility:          Individual Account             Date Updated:            03/28/2022                               Agreed
           Account Type:            Revolving Account              Payment Received:        01/14/2022 ($0)          Terms:          $30 per month , paid Monthly
           Loan Type:               CREDIT CARD                    Last Payment Made:       01/14/2022               >Maximum Delinquency of 90 days in
                                                                   High Balance:            $497                                    12/2021<
                                                                   Credit Limit:            $350
           Remarks: ACCT INFO DISPUTED BY CONSUMR
                          02/2022     01/2022     12/2021    11/2021    10/2021   09/2021     08/2021   I 07/2021   I 06/2021   I 05/2021   I 04/2021 I 03/2021 I
          Rating             IT]         []KJ        00         00         00        []KJ        []KJ I       00 1       []KJ I      []KJ I     []KJ I     [][JI
                          02/2021     01/2021     12/2020    11/2020    10/2020   09/2020
          Rating             []K]        []KJ        []K]       []KJ       []K]      []KJ
          ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■           ■ ■ ■   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■                 ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■




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          Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 156 of 234
File Number:              424805394                 Page 7 of 9
Date Issued:              04/10/2022



 INVESTIGATION RES ULTS - VERIFIED AS ACCURATE: The disputed item was verified as accurate.


COMMERCIAL SERVICES GROU #U201794D18**** ( 4965 us highway 42, suite 1500, LOUISVILLE , KY 40222, (800) 264-6850)
We investigated the information you disputed and the disputed information was VERIFIED AS ACCURATE.
Here is how this item appears on your credit report following our investigation.
Placed for collection:   05/29/2019           Balance:            $820                 Pay Status:   >In Collection<
Responsibility:          Individual Account   Date Updated:       04/04/2022
Account Type:            Open Account         Original Amount:    $820
Loan Type:               COLLECTION           Original Creditor:  CHARTER
                         AGENCY/AHORNEY                           COMMUNICATIONS
                                                                  (Financial)
                                                     Past Due:    >$820<
 Remarks: ACCT INFO DISPUTED BY CONSUMR; >PLACED FOR COLLECTION<
 Estimated month and year that this item will be removed: 02/2026

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    File Number:
                    Case 1:23-cv-00597-MLB-JCF
                           424805394           Document
                                               Page 8 of 9 6 Filed 03/20/23 Page 157 of 234
    Date Issued :               04/10/2022



      INVESTIGATION RESULTS -VERIFIED AS ACCURATE AND UPDATED: The disputed item(s) was
      verified as accurate; however, other information has also changed.


     5 STAR BANK/WYOMING CNTY #205102**** ( 2851 CLOVER ST, PITTSFORD, NY 14534, (877) 786-1444)
     We investigated the information you disputed and the disputed information was VERIFIED AS ACCURATE;
     however, we updated: Historical Trended Data. Here is how this account appears on your credit report
     following our investigation.
     Date Opened:              08/07/2020                    Balance:                 $33,272                  Pay Status:      Current; Paid or Paying as
     Responsibility:           Individual Account            Date Updated:            04/01/2022                                Agreed
     Account Type:             Installment Account           Payment Received:        03/21/2022 ($590)        Terms:           $590 per month , paid
     Loan Type:                AUTOMOBILE                    Last Payment Made:       03/21/2022                                Monthly for 84 months
                                                             High Balance:            $38,358                  >Maximum Delinquency of 30 days in 03/2021
                                                                                                                               and in 02/2022<
                     03/2022     02/2022     01/2022   12/2021    11/2021   10/2021     09/2021    08/2021   I 07/2021 I 06/2021 I 05/2021 I 04/2021 I
    Rating             [I]          00          [I]       []Kl       []Kl      00          []Kl       []Kl I      []Kl I     []Kl [     00 1 00 1
                     03/2021     02/2021     01/2021   12/2020    11/2020   10/2020     09/2020
    Rating              00          []Kl        []Kl      []Kl       []Kl      []Kl        []Kl
    ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••




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                        Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 158 of 234
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                                                                                                                    TransUnion~
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         TransUnion LLC                                                                  Page:
         PO Box 805
         Woodlyn, PA 19094-0805
                                                                                         Date Issued:

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ANDREA L MARION
3201 KENELWORTH DR APT 5
EAST POINT, GA 30344-6146




We applaud your recent efforts to take charge of your credit. We want you to know we're on your side, and we're here t o help
support you on your path toward credit health.

We recently received a request that included your information, but it didn't appear that you or a properly authorized third
party sent it to us. We take the privacy and security of your data very seriously, so we won't process requests unless they
come directly from you or an authorized third party. If you're working with a third party such as a credit repair company or
"credit clinic", they have to identify themselves in their communications to us, and provide proof that you've authorized
them to communicate with us on your behalf.

It's important to know that if you see something on yourTransUnion credit report that you believe is inaccurate, you can
dispute it easi ly and securely on your own for free, without paying a fee to any company. Find out more about how to
manage the information on your TransUnion credit report at transunion.com/repairletter.

If you've hired a credit repair company and they insist on payment up front, encourage you to misrepresent your credit
information or instruct you not to contact a credit reporting agency directly, they are not acting lawfully. Learn more about
credit repair and your rights at transunion.com/repairletter.

You can count on us as a resource as you work to achieve your credit health goals - we want you to be able to get the
financial opportunities you deserve.

Sincerely,

Your TransUnion Support Team
                          Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 159 of 234
        *** 4248053 94-029 ***


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        TransUn ion LLC
        PO Box 805
        Woodlyn, PA 19094-0 80 5                                                           06/22/20 22
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ANDREA L. MARION
3201 KENELWORTH DR APT 5
EAST POINT, GA 30 344 -6146




 Dear ANDREA L. MARION ,

 We understand that recently something on your credit report did not seem right to you. We take this matter
 seriously, and we want to make sure your TransUnion credit report is accurate. It's our commitment to you .

 Our investigation of the dispute you submitted is now complete. After a review of your dispute and any
 provided documentation, we took one or more of the following action(s):

 1. Updated your credit report based on the information you provided ; OR
 2. Determined that the information you disputed either does not appear on your credit file or already shows
    the requested status; OR
 3. Determined that the data furnisher had previously verified the reported information. If any of the items
    you disputed were previously verified , a separate communication was sent to you listing those items along
    with the data furnisher's contact information; OR
 4. Asked the data furnisher reporting the information you disputed to do all of the following:
        • Review relevant information we sent them, including any provided documents
        • Investigate your dispute and verify whether the information they report is accurate
        • Provide us a response to your dispute and update any other information
        • Update their records and systems, if necessary;

 Should you wish to receive the above description of the procedures we used to investigate your dispute in a
 separate communication for your records, please contact TransUnion.

 Your dispute is important. In the pages that follow, you will see your detailed investigation results , including
 the name and contact details of the source of the information. Please review the results carefully. To view a
 full copy of your credit report and for more information about how to read your credit report, please visit
 www.transunion .com/fullreport.



                                                                     How to Read Your Investigation Results

 You will see that, for each disputed item, a summary explanation appears in the gray box, followed by a brief
 paragraph describing the results of our investigation , followed by a view of how the item appears in your
 updated credit report. Please note any changes we made to personal information (name, address,
 employment, SSN , date of birth) will appear at the end of Your Investigation Results.



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                           Case 1:23-cv-00597-MLB-JCF
                  File Number:      424805394         Document
                                                        Page 2 of 9 6 Filed 03/20/23 Page 160 of 234
                  Date Issued:       06/2212022
                  A Note on Credit Report Updates
                  Information in your credit report is updated frequently which means items you disputed may not appear on
                  your credit report or have already changed by the time we received your dispute. In most cases, the Date
                  Updated represents the last time the account information was updated or reported by the data furnisher.
                  Please note that this date may not change following our investigation of your dispute . For Payment Received
                  and Last Payment Made, please keep in mind, the data may not represent very recent payment activity.

                  If information was removed or updated as a result of your dispute , the "Your Investigation Results" section
                  below will note that an update was made. An update can include a change to the information or the removal
                  of the information entirely from your credit file. For example , if a field was removed as a result of your dispute,
                  the description will indicate that a change was made to that field. If information was removed , it will no longer
                  appear in the account details.

                  Definitions
                  For your reference , here are some definitions to help you understand Your Investigation Results.

                  For ACCOUNTS:
                  Balance: The balance owed as of the date the              Original Charge Off: If applicable, the amount
                  account was verified or reported                          charged off due to non-payment of the account
                  Credit Limit: The maximum amount of credit                Past Due: The amount past due as of the date the
                  approved by the creditor on the account                   account was verified or reported
                  Date Opened: The date the account was                     Pay Status: The current status of the account; how
                  Opened                                                    you are currently paying . For accounts that have
                                                                            been paid and closed, sold, or transferred , it
                                                                            represents the last reported status of the account.
                  High Balance: The highest amount ever owed on an Remarks: If applicable, the creditor may provide
                  account                                          additional information here related to the account
                  Last Payment Made: The date the creditor                  Responsibility: The type of contractual ownership
                  received the last payment on the account                  (individual , joint, authorized user, etc.) of the account
                  Maximum Delinquency: If applicable , the                  Terms: The monthly payment amount or monthly
                  maximum amount past due before an account                 minimum payment due on the account
                  becomes a charge-off or a collection account


                  Historical Trended Data
                  Accounts on your credit report may include historical account information, which TransUnion has collected
                  from account updates provided by your creditor for up to 30 months. On your credit report, this historical
                  trended data may have appeared in a grid below each account along with information reflecting the
                  timeliness of your payments and may include the following data: Date Updated, Balance, Amount Due,
                  Amount Paid , Past Due , Credit Limit, High Balance and Remarks .

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                  Please note: Once an account is disputed , the historical trended data is removed from your credit file and will
                  not be displayed on these results. However, the rating information reflecting the timeliness of your payments
-                 will remain and reflect any updates provided by the creditor, if applicable.



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               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 161 of 234
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Date Issued:                06/22/2022


                                                    Your Investigation Results

  INVESTIGATION RESULTS - DISPUTED INFORMATION UPDATED AND OTHER INFORMATION
  UPDATED: A change was made to the item(s) based on your dispute and other information has also
  changed.


 BRYANT STATE BANK #521044006827**** ( 1500 S HIGHLINE AVE, SIOUX FALLS, SD 57110, (605) 782-3474)
 We investigated the information you disputed and updated : Rating; Historical Trended Data. Here is how
 this item appears on your credit report following our investigation.
 Date Opened:              09/22/2020      Balance:           $84                                                      Pay Status:     Current; Paid or Paying as
 Responsibility:           Individual Account
                                           Date Updated:      05/27/2022                                                               Agreed
 Account Type:             Revolving Account
                                           Payment Received:  05/18/2022 ($30)                                         Terms:          $30 per month, paid Monthly
 Loan Type:                CREDIT CARD     Last Payment Made: 05/18/2022                                               Date Closed:    04/22/2022
                                           High Balance:      $497                                                     >Maximum Delinquency of 90 days in
                                           Credit Limit:      $350                                                                     12/2021<
 Remarks· ACCT INFO DISPUTED BY CONSUMR· CLOSED BY CREDIT GRANTOR
               04/2022       03/2022     0212022     01/2022       12/2021       11/2021     10/2021     09/2021       08/2021   I 07/2021     I 06/2021     I 05/2021     I
Rating             @Kl          @Kl         @Kl           @Kl         00            00          00          @Kl           @Kll          001           @BJ I       @BJ I
               04/2021       03/2021     0212021     01/2021       12/2020       1112020     10/2020     09/2020
Rating             @Kl          @Kl         @Kl           @Kl         @BJ           @Kl         @Kl         @Kl
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 CAPITAL ONE AUTO FINANCE #6205154679963**** ( CB DISPUTES TEAM, Po BOX 259407, PLANO, TX 75025, (800) 946-0332)
 We investigated the information you disputed and updated: Date Updated; Date Closed; Rating. Here is
 how this item appears on your credit report following our investigation.
 Date Opened:              11/19/2019                 Balance:                   $1,258                   Pay Status:      >Charged Off<
 Responsibility:           Individual Account         Date Updated:              06/06/2022               Terms:           $0 per month, paid Monthly
 Account Type:             Installment Account        Payment Received:          10/08/2020 ($0)                           for 75 months
 Loan Type:                AUTOMOBJLE                 Last Payment Made:         10/08/2020
                                                      High Balance:              $22,899
                                                      Original Charge-off:       $6,709
                                                      Past Due:                  >$1,258<
 Remarks: DISP INVG COMP-RPT BY GRNTR; >UNPAID BALANCE CHARGED OFF<
 Estimated month and vear that this item will be removed: 10/2027
             05/2022    04/2022     03/2022     0212022     01/2022   1212021       11/2021    1012021 I 09/2021 I 08/2021 I 07/2021        06/2021
Rating          [I]             IC/O I [ c,0I      Ic,oj              IC/OI
                                                                          j c,oj        fc1o j    j c,o j          I
                                                                                                             Ic,o ll   j c,o j     j c,0 I     Ijc,o ]
               05/2021       04/2021     03/2021     0212021       01/2021       1212020     11/2020     1012020   I 09/2020     I 0812020     I 07/2020       0612020
Rating             IC/Ol        Ic,0I       IT]           Ic,0I       j c,0 I       @Kl         @Kl         @Kl l         @Kl l         @Kl l         @Kl         @Kl
               05/2020       04/2020     03/2020     02/2020       01/2020       1212019     11/2019
Rating             @Kl          @Kl         @Kl           @Kl         @Kl           @Kl         @Kl
■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■         ■ ■ ■ ■ ■    ■    ■ ■ ■ ■   ■ ■ ■ ■ ■     ■ ■     ■ ■ ■ ■    ■ ■ ■ ■ ■ ■   ■ ■   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■

 GREEN DOT CORPORATION #400421004062**** ( ATTN CREDIT DISPUTES , PO BOX400, PROVO, UT 84603, (866) 291-0818)
 We investigated the information you disputed and updated: Date Updated; Original Charge-Off; Past Due;
 Pay Status; Maximum Delinquency; Rating; Historical Trended Data. Here is how this item appears on
 your credit report following our investigation.
 Date Opened:              03/01/2019                         Balance:             $1,140                              Pay Status:     >Account 120 Days Past
 Responsibility:           Individual Account                 Date Updated:        06/21/2022                                          Due Date<
 Account Type:             Revolving Account                  Payment Received:    12/31/2021 ($0)                     Terms:          $25 per month, paid Monthly
 Loan Type:                SECURED CREDIT CARD                Last Payment Made:   12/31/2021                          Date Closed:    04/18/2022
                                                              High Balance:        $1 ,140                             >Maximum Delinquency of 120 days in
                                                              Original Charge-off: $0                                                 06/2022 for $257<
                                                              Credit Limit:        $1,000
                                                              Past Due:            >$257<
 Remarks: DISP INVG COMP-CONSUM DISAGRS ; CLOSED BY CREDIT GRANTOR
 Est1mate
    .     d mont h an d , ear t hat t h"1s .item w1·11 be remove d : 01/2029
               0512022       04/2022     03/2022     0212022       01/2022       1212021     1112021     10/2021       09/2021       08/2021       07/2021     06/2021
Rating             IT]          00          00            @BJ         @BJ           @Kl         @Kl         @Kl           @Kl           @Kl           @BJ         @BJ
               05/2021       04/2021     03/2021     0212021       01/2021       1212020     1112020     10/2020       09/2020       08/2020       07/2020     06/2020
Rating             @Kl          00          @Kl           I OK I      00            @Kl         @Kl         @Kl           @Kl           @Kl           @BJ         I OK I
               05/2020       04/2020     03/2020     0212020       01/2020       12/2019     11/2019     10/2019       09/2019       08/2019       0712019     06/2019
Rating             @Kl          @BJ         @Kl           @BJ         @BJ           @Kl         @Kl         @Kl           @Kl           @Kl           @BJ         @BJ
                     Case 1:23-cv-00597-MLB-JCF
           File Number:       424805394                                  Document
                                                                           Page 6 of 9 6 Filed 03/20/23 Page 162 of 234
           Date Issued:       06/22/2022

                          05/201    04/201
           Rating        [QK:]
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            SANTANDER CONSUMER USA#3000020778877**** (Po BOX 961211, FORT WORTH, TX 75161, (888) 222-4227)
            We investigated the information you disputed and updated: Rating. Here is how this item appears on your
            credit report following our investigation.
            Date Opened:            10/23/2017                       Balance:                    $0                        Pay Status:     Paid , Closed; was Paid as
            Responsibility:         Individual Account               Date Updated:               12/09/2019                                agreed
            Account Type:           Installment Account              Payment Received:           12/09/2019 ($0)           Terms:          $0 per month, paid Monthly
            Loan Type:              AUTOMOBILE                       Last Payment Made:          12/09/2019                                for 61 months
                                                                     High Balance:               $9,613                    Date Closed:    12/09/2019
                                                                                                                           >Maximum Delinquency of 60 days in 03/2018
                                                                                                                                          and in 05/2018<
            Remarks· CLOSED
                          11/2019      10/2019     09/2019   I 08/2019   I 07/2019   I 06/2019   I 05/2019   I 04/2019   I 03/2019   I 02/2019    01/2019    12/2018
           Rating             @BJ            @BJ      @KJI        @KJ I       00 1 @KJI               @KJ I        @KJ I      @KJ I       @BJ        00         00
                          11/2018      10/2018     09/2018   I 08/2018   I 07/2018   I 06/2018   I 05/2018   I 04/2018   I 03/2018   I 02/2018    01/2018    12/2017
           Rating             @BJ            @BJ      @KJI        @KJ I       @KJI        @KJI        001          00 1 001               @BJ        @BJ        [KJ
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                  Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 163 of 234
File Number:                         424805394                                  Page 7 of 9
Date Issued :                        06/22/2022



  INVESTIGATION RESULTS - VERIFIED AS ACCURATE: The disputed item was verified as accurate.


 5 STAR BANK/WYOMING CNTY #205102**** ( 2851 CLOVER ST, PITTSFORD, NY 14534, (877) 786-1444 )
 We investigated the information you disputed and the disputed information was VERIFIED AS ACCURATE .
 Here is how this item appears on your credit report following our investigation.
Date Opened:                        08/07/2020                            Date Updated:                 06/01 /2022                Pay Status:     Current; Paid or Payi ng as
Responsibility :                    Individual Account                    Payment Received:             05/27/2022 ($1, 180)                       Agreed
Account Type :                      Installment Account                   Last Payment Made:            05/27/2022                 Terms:          $590 per month, paid
Loan Type :                         AUTOMOBILE                                                                                                     Monthly for 84 months
                                                                                                                                   >Maximum Delinquency of 30 days in 04/2021
                                                                                                                                                   and in 05/2022 for $1,238<
         a ance: H'IQ h baance
 H'IQ h BI                I    of $38 358 f rom 05/2022 to 06/2022
                  06/2022             0512022        04/2022        0312022    02/2022        0112022      12/2021       11/2021   1012021        0912021    08/2021      0712021
Balance              $32,54E             $33 271
Scheduled               $59C                $59(
Pavment
Amount Paid               $1, 18C               $(
Past Due                       $C         $1,23E
Rating                lliJ               00              00            lliJ       lliJ           lliJ         lliJ          00             lliJ      lliJ        []Kl        []Kl
                  0612021             0512021        04/2021        0312021    02/2021        01/2021      12/2020       1112020   1012020        0912020
Rating                00                 00              00            lliJ       lliJ           lliJ         lliJ          lliJ           lliJ      @BJ
■ ■ ■ ■ ■ ■       •   ■ ■ ■          ■ ■ ■ ■ ■       ■ ■     ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■              ■ ■ ■ ■    ■ ■ ■ ■ ■     ■   •    ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■       • • ■ •
 COMMERCIAL SERVICES GROU #U201794D18**** ( 4965 us highway 42, suite 1500, LOUISVILLE, KY 40222, (800) 264-6850)
 We investigated the information you disputed and the disputed information was VERIFIED AS ACCURATE .
 Here is how this item appears on your credit report following our investigation .
 Placed for collection:            05/29/2019                     $820    Balance:                                                 Pay Status:          >In Collection<
 Responsibility:                   Individual Account             06/03/2022
                                                                          Date Updated:
 Account Type:                     Open Account                   $820    Original Amount:
 Loan Type:                        COLLECTION                     CHARTER Original Creditor:
                                   AGEN CY/A TT OR NEY            COMMUNICATIONS
                                                                  (Financial)
                                                     Past Due:    >$820<
 Remarks: ACCT INFO DISPUTED BY CONSUMR; >PLACED FOR COLLECTION<
 Estimated month and year that this item will be removed: 02/2026
■ ■ ■ ■   •   ■   •   ■    •   ■     ■ ■ ■ ■ ■       •   ■   •   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■            ■ ■ ■ ■    •   ■ ■ ■ ■   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■
                         Case 1:23-cv-00597-MLB-JCF
               File Number:       424805394           Document
                                                       Page 8 of 9 6 Filed 03/20/23 Page 164 of 234
               Date Issued:       06/22/2022




                INFORMATION UPDATED: In response to your request, a change was made to this item(s).




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                                                                                              P G9X98-003 00326-1005488 08/1 :
                        Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 165 of 234
        *** 4247001 46- 01 8 ***

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        TransUn ion LLC
        PO Box 80 5
        Woodlyn , PA 19094-0805

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ANDREA L. MARION
3201 KENELWORTH DR APT 5
EAST POINT, GA 30344-6 146




 Dear ANDREA L. MARION,

 We understand that recently something on your credit report did not seem right to you. We take this matter
 seriously, and we want to make sure your TransUnion credit report is accurate . It's our commitment to you .

 Our investigation of the dispute you submitted is now complete. After a review of your dispute and any
 provided documentation , we took one or more of the following action(s):

 1. Updated your credit report based on the. information you provided ; OR
 2. Determined that the information you disputed either does not appear on your credit file or already shows
    the requested status; OR
 3. Determined that the data furnisher had previously verified the reported information. If any of the items
    you disputed were previously verified, a separate communication was sent to you listing those items along
    with the data furnisher's contact information; OR
 4. Asked the data furnisher reporting the information you disputed to do all of the following :
        • Review relevant information we sent them, including any provided documents
        • Investigate your dispute and verify whether the information they report is accurate
        • Provide us a response to your dispute and update any other information
        • Update their records and systems, if necessary;

 Should you wish to receive the above description of the procedures we used to investigate your dispute in a
 separate communication for your records, please contact TransUnion .

 Your dispute is important. In the pages that follow, you will see your detailed investigation results , including
 the name and contact details of the source of the information . Please review the results carefully. To view a
 full copy of your credit report and for more information about how to read your credit report, please visit
 www.transunion.com/fullreport.



                                                                       How to Read Your Investigation Results

 You will see that, for each disputed item, a summary explanation appears in the gray box, followed by a brief
 paragraph describing the results of our investigation, followed by a view of how the item appears in your
 updated credit report. Please note any changes we made to personal information (name, address,
 employment, SSN , date of birth) will appear at the end of Your Investigation Results.
             File Number:Case 1:23-cv-00597-MLB-JCF
                                 424700146                 Document
                                                            Page 2 of 7 6 Filed 03/20/23 Page 166 of 234
             Date Issued:        06/25/2022
             A Note on Credit Report Updates
             Information in your credit report is updated frequently which means items you disputed may not appear on
             your credit report or have already changed by the time we received your dispute. In most cases, the Date
             Updated represents the last time the account information was updated or reported by the data furnisher.
             Please note that this date may not change following our investigation of your dispute. For Payment Received
             and Last Payment Made, please keep in mind, the data may not represent very recent payment activity.

             If information was removed or updated as a result of your dispute, the "Your Investigation Results" section
             below will note that an update was made. An update can include a change to the information or the removal
             of the information entirely from your credit file. For example, if a field was removed as a result of your dispute,
             the description will indicate that a change was made to that field. If information was removed, it will no longer
             appear in the account details.

             Definitions
             For your reference, here are some definitions to help you understand Your Investigation Results.

             For ACCOUNTS:
             Balance: The balance owed as of the date the              Original Charge Off: If applicable, the amount
             account was verified or reported                          charged off due to non-payment of the account
             Credit Limit: The maximum amount of credit                Past Due: The amount past due as of the date the
             approved by the creditor on the account                   account was verified or reported
             Date Opened: The date the account was                     Pay Status: The current status of the account; how
             Opened                                                    you are currently paying. For accounts that have
                                                                       been paid and closed, sold, or transferred, it
                                                                       represents the last reported status of the account.
             High Balance: The highest amount ever owed on an Remarks: If applicable, the creditor may provide
             account                                          additional information here related to the account
             Last Payment Made: The date the creditor                  Responsibility: The type of contractual ownership
             received the last payment on the account                  (individual, joint, authorized user, etc.) of the account
             Maximum Delinquency: If applicable, the                   Terms: The monthly payment amount or monthly
             maximum amount past due before an account                 minimum payment due on the account
             becomes a charge-off or a collection account


             Historical Trended Data
             Accounts on your credit report may include historical account information, which TransUnion has collected
             from account updates provided by your creditor for up to 30 months. On your credit report, this historical
             trended data may have appeared in a grid below each account along with information reflecting the
             timeliness of your payments and may include the following data: Date Updated, Balance, Amount Due,
             Amount Paid, Past Due, Credit Limit, High Balance and Remarks.

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iiiiiii.ii   Please note: Once an account is disputed, the historical trended data is removed from your credit file and will
             not be displayed on these results. However, the rating information reflecting the timeliness of your payments
             will remain and reflect any updates provided by the creditor, if applicable.


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Date Issued:               06/25/2022


                                                       Your Investigation Results

  INVESTIGATION RESULTS -VERIFIED AS ACCURATE AND UPDATED: The disputed item(s) was
  verified as accurate; however, other information has also changed.


 US DEPT OF EDUCATION/GLE #375625927677**** ( 2401 INTERNATIONAL, POB 7859, MADISON , WI 53704, (608) 246-1750)
 We investigated the information you disputed and the disputed information was VERIFIED AS ACCURATE;
 however, we updated: Remarks; Historical Trended Data. Here is how this account appears on your credit
 report following our investigation .
 Date Opened :           10/26/2017                           Balance:                    $1,478                     Pay Status:         Current; Paid or Paying as
 Responsibility:         Individual Account                   Date Updated:               05/31/2022                                     Agreed
 Account Type:           Installment Account                  Payment Received:           05/01/2022 ($0)            Terms:              $0 per month , paid Monthly
 Loan Type:              STUDENT LOAN                         Last Payment Made:          05/01/2022
                                                              High Balance:               $1,498
 Remarks: DISP INVG COMP-CONSUM DISAGRS
               04/2022      03/2022          0212022    01/2022     12/2021     11/2021      10/2021     09/2021     08/2021       0712021     06/2021     05/2021
Rating             @Kl          @Kl             @Kl        @Kl         @Kl          @Kl         @Kl         @Kl         @Kl           @Kl         @EJ          @EJ
               04/2021      03/2021          0212021    01/2021     12/2020     11/2020      10/2020     09/2020     08/2020       07/2020     06/2020     05/2020
Rating             @Kl          @Kl             @Kl        @EJ         @Kl          @Kl         @Kl         @Kl         @Kl           @EJ         @EJ          rn
               04/2020      03/2020          0212020    01/2020     1212019     11/2019      10/2019     09/2019     08/2019       0712019     0612019     05/2019
Rating             IT]          IT]             IT]        rn          IT]          @Kl         IT]         IT]         IT]           IT]         rn           rn
               04/201!   03/201'    021201!     01/201 I 12120181 11/20181 10/20181 09/201 I 08/20181 07/20181 06/20181 05/201     04/20181 03/20181 02120181 01/2011
Rating         IT]       IT]        IT]        IT] IITJIITJIITJID I ITJ I ITJ I ITJ I ITJ                                        w       Iw        Iw       Iw
               121201,   11/201 I   10/201
Rating         [QKJ      [QKJ       IT]
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 US DEPT. OF EDUCATION/GL #275625927679**** ( 2401 INTERNATIONAL, POB 7859, MADISON , WI 53704, (800) 236-4300)
 We investigated the information you disputed and the disputed information was VERIFIED AS ACCURATE;
 however, we updated: Remarks; Historical Trended Data. Here is how this account appears on your credit
 report following our investigation.
 Date Opened:            01/23/2018                           Balance:                    $56,448                    Pay Status:         Current; Paid or Paying as
 Responsibility:         Individual Account                   Date Updated:               05/31/2022                                     Agreed
 Account Type:           Installment Account                  Payment Received:           05/01/2022 ($0)           Terms:               $0 per month, paid Monthly
 Loan Type:              STUDENT LOAN                         Last Payment Made:          05/01 /2022
                                                              High Balance:               $52,900
 Remarks: DISP INVG COMP-CONSUM DISAGRS
             04/2022 I 03/2022 0212022 01/2022 I 12/2021 I 11/2021                           10/2021   I 09/2021     08/2021       07/2021     06/2021     05/2021
Rating             @Kl !        @Kl        @E] j@Kl  @E] j                         @Kl          @Kl !       @Kl         @Kl           @Kl         @EJ          @EJ
               04/2021   I 03/2021        0212021       01/2021   I 1212020   I 11/2020     10/2020    I 09/2020     08/2020       07/2020     06/2020     0512020
Rating             @Kl l        @Kl             @Kl        @Kl l       @Kl l       @Kl          @Kl l       @Kl         @Kl           @EJ       rn@EJ
               04/2020 I 0312020          0212020       01/2020   I 1212019   I 11/2019     10/2019    I 09/2019     08/2019       0712019     0612019     05/2019
Rating            w l [TI                 IT]       ITJ I ITJI @Kl                    wl [TI                  IT]        IT]         rn rn
               04/201!l 03/201!l 021201!l 01/201 12120181 11/20181 10/20181 091201 08120181 07120181 06/20181 051201 04120181 03/20181 02120181 01/201!
Rating         ITJ I ITJ I ITJ I ITJ ITJIITJIITJID m1m1m1m m1m1m1m
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               File Number: Case 1:23-cv-00597-MLB-JCF
                                    424700146          Document
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               Date Issued:              06/25/2022



                INFORMATION UPDATED: In response to your request, a change was made to this item(s).


                SECURITY ALERT: This section of your report was updated as follows:
                SECURITY ALERT:Extended Fraud Alert: Action may be required under FCRA before opening or modifying an account. Contact consumer at (716)
                342-5798 or (716) 342-5798.
                (Note: This alert is set to expire in 07/2029.)


                OPT-OUT: This section of your report was updated as follows:
                PROMOTIONAL OPT-OUT: This file has been opted out of promotional lists supplied by TransUnion .
                (Note: This opt-out is set to expire in 07/2027.)
                The opt out on your file will remain in effect until the expiration date specified above, unless you request it to be made permanent. To permanently opt out of
                promotional lists provided by TransUnion, you must send us a signed 'Notice of Election' form , which can be obtained by writing us or calling us at
                800-916-8800 and speaking with a representative.

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File Number:
               Case 1:23-cv-00597-MLB-JCF
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                                          Document
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Date Issued:                         02/02/2023

 Remarks· DISP INVG COMP-CONSUM DISAGRS · ACCT CLOSED DUE TO TRANSFER
                   03/2019            0212019     01/2019      1212018      11/2018     10/2018       09/2018        08/2018       07/2018       06/2018     05/2018     04/2018
Rating                [TI                [TI         [TI           [TI         [TI         [TI           [TI            [TI           [TI           [TI         [TI         [TI
                   03/2018            0212018     01/2018      1212017      11/2017     10/2017       09/2017        08/2017       07/2017       06/2017     05/2017     04/2017
Rating                [TI                [TI         [TI           IT]         IT]         [TI           [TI            IT]           [TI           IT]         IT]         IT]
                   03/2017            02/2017     01/2017      1212016      11/2016     10/2016       09/2016        08/2016       07/2016       06/2016     05/2016     04/2016
Rating                @K)                @K)         @K)           @K)         @K)         @K)           @K)            @K)           @K)           @K)         @K)         @K]
                   03/2018 02/2018 01/2018
Rating             ITJ I @KJ I ITJ I
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    FEDLOAN SERVICING #7448269091 FOO**** ( POB 60610, HARRISBURG , PA 17106, (800) 699-2908)
 We investigated the information you disputed and updated: Rating. Here is how this item appears on your
 credit report following our investigation.
 Date Opened:                    09/12/2014                          Balance:                     $0                               Pay Status:         Transferred ; was Paying as
 Responsibility :                Individual Account                  Date Updated:                04/09/2019                                           agreed
 Account Type:                   Installment Account                 Payment Received:            06/08/2017 ($0)                  Terms:              $0 per month , paid Monthly
 Loan Type:                      STUDENT LOAN                        Last Payment Made:           06/08/2017                                           for 120 months
                                                                     High Balance:                $6,000                           Date Closed :       04/09/2019

    Remarks· DISP INVG COMP-CONSUM DISAGRS· ACCT CLOSED DUE TO TRANSFER
                   03/2019            0212019     01/2019      12/2018      11/2018     10/2018       09/2018        08/2018       07/2018       06/2018     05/2018     04/2018
Rating                [TI                [TI         [TI           [TI         [TI         [TI           IT]            [TI           [TI           IT]         IT]         [TI
                   03/2018            0212018     01/2018      1212017      11/2017     10/2017       09/2017        08/2017       07/2017       06/2017     05/2017     04/2017
Rating                [TI                IT]         [TI           [TI         [TI         [TI           [TI            [TI           [TI           [TI         [TI         IT]
                   03/2017            02/2017     01/2017      1212016      11/2016     10/2016       09/2016        08/2016       07/2016       06/2016     05/2016     04/2016
Rating                @K)                @K)         @K)           @K)         @K)         @K)           @K)            @K)           @K)           @K)         @K]         @K]
                   03/20161 02/20161 01/20161
Rating             ITJ I @KJ I @KJ I
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 SANTANDER CONSUMER USA#3000020778877**** ( PO BOX 961211, FORT WORTH, TX 75161 , (888) 222-4227)
 We investigated the information you disputed and updated: No update necessary. Here is how this item
 appears on your credit report following our investigation.
 Date Opened:                    10/23/2017                          Balance:                     $0                               Pay Status:     Paid, Closed; was Paid as
 Responsibility:                 Individual Account                  Date Updated:                12/09/2019                                       agreed
 Account Type:                   Installment Account                 Payment Received :           12/09/2019 ($0)                  Terms:          $0 per month , paid Monthly
 Loan Type:                      AUTOMOBILE                          Last Payment Made:           12/09/2019                                       for 61 months
                                                                     High Balance:                $9,613                           Date Closed:    12/09/2019
                                                                                                                                   >Maximum Delinquency of 60 days in 03/2018
                                                                                                                                                  and in 05/2018<
    Remarks· CLOSED
              I 11/2019          I    10/2019   I 09/2019    I 08/2019   I 07/2019    I 06/2019   I   05/2019    I   04/2019   I 03/2019         0212019     01/2019     1212018
Rating         I      @KJ I              @KJ I       CQKJ I        CQKJ I      00 1 @KJ I                @KJ I          @KJ I         @K)           @K]         00          00
               I 11/2018 I 10/2018              I 09/2018    I 08/2018   I 07/2018    I 06/2018   I 05/2018      I 04/2018     I   03/2018       02/2018     01/2018     1212017
Rating         I      @KJ I              @KJ I       CQKJ I        CQKJ I      @KJ I       @KJ I         00 1 00 1 00                               @K]         @K]         IT]
■ ■ ■ ■ ■ ■ ■ ■ ■            ■ ■ ■ ■        ■ ■ ■ ■    ■ ■   ■ ■   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■                ■ ■ ■ ■    ■ ■ ■ ■ ■         ■ ■ ■ ■   ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■

 SUNRISE BANK SELF LENDER #CBA0000000001785**** ( 515 CONGRESS AVE SUITE 2200, C/O SELF FINANCIAL INC, AUSTIN ,
 TX 78701 , (605) 250-2620 )
 We investigated the information you disputed and updated: Balance; Date Updated; Last Payment Made;
 Maximum Delinquency; Rating; Payment Received; Historical Trended Data. Here is how this item
 appears on your credit report following our investigation.
    Date Opened:                 11/27/2021                          Balance:                     $328                             Pay Status:   Current; Paid or Paying as
    Responsibility:              Individual Account                  Date Updated:                01/29/2023                                     Agreed
    Account Type:                Installment Account                 Payment Received:            01/22/2023 ($35)               Terms:          $35 per month , paid Monthly
    Loan Type:                   SECURED                             Last Payment Made:           01/22/2023                                     for 24 months
                                                                     High Balance:                $724                           >Maximum Delinquency of 30 days in
                                                                                                                                                 07/2022<
                   12/2022            11/2022     1012022    I 09/2022 I 08/2022 I 07/2022 I 06/2022 I 05/2022                 I 04/2022 I 03/2022 I 02/2022 I 01/2022 I
Rating                @K)                @K)         @KJ I         @KJ I       @KJ I       00 1 @KJ I                   @KJ I         CQKJ I        CQKJ I      CQKJI       @KJI
                   1212021            11/2021
Rating                @K]                @K)
■    ■ ■ ■ ■ ■ ■ ■ ■         ■       ■ ■ ■ ■    ■ ■ ■ ■ ■ ■ ■ ■      ■ ■ ■ ■ ■ ■ ■ ■ ■        ■ ■ ■ ■      ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■ ■




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             FIie Number:Case 1:23-cv-00597-MLB-JCF
                                 4247001 46                           Document
                                                                      Page 10 of 14 6 Filed 03/20/23 Page 170 of 234
             Date Issued:        02/02/2023


              THE BANK OF MISSOURI/MILSTNE #549806005040**** ( PO BOX 4499, BEAVERTON, OR 97076, (866) 502-6439)
              We investigated the information you disputed and updated : Remarks; Maximum Delinquency; Historical
              Trended Data. Here is how this item appears on your credit report following our investigation.
              Date Opened:            11/02/2021                  Balance:                $0                    Pay Status:        >Sold; was Charged-off<
              Responsibility:         Individual Account          Date Updated:           12/20/2022            Terms:             Paid Monthly
              Account Type :          Revolving Account           Payment Received:       04/30/2022 ($0)       Date Closed:       12/20/2022
              Loan Type:              CREDIT CARD                 Last Payment Made:      04/30/2022            >Maximum Delinquency of 120 days In
                                                                  High Balance:           $1,224                                  09/2022 and in 11/2022<
                                                                  Original Charge-off:    $1 ,224
                                                                  Credit Limit:           $700
              Remarks: ACCT INFO DISPUTED BY CONSUMR; PURCHASED BY ANOTHER LENDER; >PAID IN FULL/WAS A CHARGE OFF<
              Estimated month and ear that this Item wlll be removed: 05/2029
                          11/2022   10/2022      09/2022    08/2022     07/2022   06/2022     05/2022   04/2022  03/2022    02/2022     01/2022    12/2021
             Rating             120        Gm          1120 1   00         so       00         []Kl       []Kl       []Kl       []Kl       []Kl      []Kl
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                           Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 171 of 234
         *** 4247001 46-029 ***


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         TransUnion LLC
         PO Box 805
         Woodlyn, PA 19094-0805
                                                                                               02/02/2023
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PHFLVL00200018-100037 5-101567600

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ANDREA L. MARION
3201 KEN El WORTH DR APT 5
EAST POINT, GA 30344-6146




  Dear ANDREA L. MARION ,

  We understand that recently something on your credit report did not seem right to you . We take this matter
  seriously, and we want to make sure your TransUnion credit report is accurate. It's our commitment to you.

  Our investigation of the dispute you submitted is now complete. After a review of your dispute and any
  provided documentation, we took one or more of the following action(s):

 1. Updated your credit report based on the information you provided; OR
 2. Determined that the information you disputed either does not appear on your credit file or already shows
    the requested status; OR
 3. Determined that the data furnisher had previously verified the reported information. If any of the items
    you disputed were previously verified, a separate communication was sent to you listing those items along
    with the data furnisher's contact information ; OR
 4. Asked the data furnisher reporting the information you disputed to do all of the following:
        • Review relevant information we sent them, including any provided documents
        • Investigate your dispute and verify whether the information they report is accurate
        • Provide us a response to your dispute and update any other information
        • Update their records and systems, if necessary;

  Should you wish to receive the above description of the procedures we used to investigate your dispute in a
  separate communication for your records, please contact TransUnion.

 Your dispute is important. In the pages that follow, you will see your detailed investigation results , including
 the name and contact details of the source of the information. Please review the results carefully. To view a
 full copy of your credit report and for more information about how to read your credit report, please visit
 www.transunion .com/fullreport.



                                                                         How to Read Your Investigation Results

 You will see that, for each disputed item, a summary explanation appears in the gray box, followed by a brief
 paragraph describing the results of our investigation, followed by a view of how the item appears in your
 updated credit report. Please note any changes we made to personal information (name, address,
 employment, SSN, date of birth) will appear at the end of Your Investigation Results.



                                                                                                                       P HFLVL-002 00018-1000375 01/22
              File Number:Case 1:23-cv-00597-MLB-JCF
                                  424700146                 Document
                                                             Page 2 of 14 6 Filed 03/20/23 Page 172 of 234
              Date Issued:        02/02/2023
              A Note on Credit Report Updates
              Information in your credit report is updated frequently which means items you disputed may not appear on
              your cred it report or have already changed by the time we received your dispute. In most cases, the Date
              Updated represents the last time the account information was updated or reported by the data furnisher.
              Please note that this date may not change following our investigation of your dispute. For Payment Received
              and Last Payment Made, please keep in mind, the data may not represent very recent payment activity.

              If information was removed or updated as a result of your dispute, the "Your Investigation Results" section
              below will note that an update was made. An update can include a change to the information or the removal
              of the information entirely from your cred it file. For example, if a field was removed as a result of your dispute,
              the description will indicate that a change was made to that field. If information was removed, it will no longer
              appear in the account details.

              Definitions
              For your reference, here are some definitions to help you understand Your Investigation Results.

              For ACCOUNTS:
              Balance: The balance owed as of the date the              Original Charge Off: If applicable, the amount
              account was verified or reported                          charged off due to non-payment of the account
              Credit Limit: The maximum amount of credit                Past Due: The amount past due as of the date the
              approved by the creditor on the account                   account was verified or reported
              Date Opened: The date the account was                     Pay Status: The current status of the account; how
              Opened                                                    you are currently paying. For accounts that have
                                                                        been paid and closed, sold, or transferred, it
                                                                        represents the last reported status of the account.
              High Balance: The highest amount ever owed on an Remarks: If applicable, the creditor may provide
              account                                          additional information here related to the account
              Last Payment Made: The date the cred itor                 Responsibility: The type of contractual ownership
              received the last payment on the account                  (individual, joint, authorized user, etc.) of the account
              Maximum Delinquency: If applicable , the                  Terms: The monthly payment amount or monthly
              maximum amount past due before an account                 minimum payment due on the account
              becomes a charge-off or a collection account

              Historical Trended Data
              Accounts on your credit report may include historical account information , which TransUnion has collected
              from account updates provided by your creditor for up to 30 months. On your credit report, this historical
              trended data may have appeared in a grid below each account along with information reflecting the
              time liness of your payments and may include the following data: Date Updated, Balance, Amount Due,
              Amount Paid, Past Due, Credit Limit, High Balance and Remarks.

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              Please note: Once an account is disputed, the historical trended data is removed from your credit file and will

--            not be displayed on these results. However, the rating information reflecting the timeliness of your payments
              will remain and reflect any updates provided by the creditor, if applicable .


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                                                                                                            P HFLVL-002 00018-1000376 02/22
File Number:
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                                                  Your Investigation Results

  INVESTIGATION RESULTS - DISPUTED INFORMATION UPDATED: A change was made to the
  item(s) based on your dispute.


 FIRST SAVINGS CREDIT CAR #543360120599**** ( 1500 s Highline Ave, SIOUX FALLS, SD 571 10, (888) 469-0291 )
 We investigated the information you disputed and updated: Maximum Delinquency; Rating; Historical
 Trended Data. Here is how this item appears on your credit report following our investigation .
 Date Opened :            09/17/2020                         Balance:                $517                     Pay Status:     >Account 30 Days Past Due
 Responsibility:          Individual Account                 Date Updated:           12/22/2022                               Date<
 Account Type:            Revolving Account                  Payment Received:       11 /03/2022 ($0)         Terms:          $43 per month, paid Monthly
 Loan Type :              CREDIT CARD                        Last Payment Made:      11 /03/2022              >Maximum Delinquency of 60 days in
                                                             High Balance:           $517                                     10/2022<
                                                             Credit Limit:           $350
                                                             Past Due:               >$71 <
 Est1mate
    .     d mont h an d , ear t hat t h"1s item
                                           .    w1·11 be remove d : O7/2029
                11/2022     10/2022     09/2022    08/2022     07/2022     06/2022      0512022     0412022   03/2022       0212022    01/2022    1212021   I
Rating             @KJ         00          00         @KJ         @KJ         00           @KJ          @KJ      @KJ           [Q[]       [Q[]       [Q[]/
                11/2021     10/2021     09/2021    08/2021     07/2021     06/2021      05/2021     04/2021   03/2021       0212021    0112021
Rating             @KJ         @KJ         [Q[]       @KJ         @KJ         [Q[]         @KJ          @KJ      [Q[]          [Q[]       [Q[]
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              File Number:Case 1:23-cv-00597-MLB-JCF
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              Date Issued:        02/02/2023



                   INVESTIGATION RESULTS - DISPUTED INFORMATION UPDATED AND OTHER INFORMATION
                   UPDATED: A change was made to the item(s) based on your dispute and other Information has also
                   changed.


                  AUSTIN CAPITAL BANK SSB #800884**** ( 8100 Shoal Creek, AUSTIN, TX 78757, (512) 693-3600)
                  We investigated the information you disputed and updated: Original Charge-Off; Payment Received;
                  Historical Trended Data. Here is how this item appears on your credit report following our investigation.
                  Date Opened:               05/03/2021                      Balance:                    $0                        Pay Status:     >Paid, Closed; was 60 days
                  Responsibility:            Individual Account              Date Updated:               10/22/2022                                past due date<
                  Account Type :             Installment Account             Payment Received:           10/22/2022 ($110)         Terms:          $0 per month, paid Monthly
                  Loan Type:                 SECURED                         Last Payment Made:          10/22/2022                                for 120 months
                                                                             High Balance:               $10,000                   Date Closed:    10/22/2022
                                                                             Original Charge-off:        $0                        >Maximum Delinquency of 60 days in
                                                                                                                                                   10/2022<
               Remarks: CLOSED
               EstImate
                   .    d mont h an d , ear t hat t hi s .item w illbe remove d : 08/2029
                            09/2022      0812022           07/2022    06/2022     05/2022 I 04/2022 I 03/2022 I 02/2022 I 01 /2022 I 12/2021 I 11/2021 I 10/2021 I
              Rating                00        @Kl             @Kl         @Kl        @Kl l     @Kl l     @Kl l     @Kl l      @Kl l      @Kl l     @Kl l    @Kl l
                            09/2021      0812021          07/2021     06/2021
              Rating            @Kl           @Kl             @Kl         @Kl

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                  BRYANT STATE BANK #521044006827**** ( 1500 S HIGHLINE AVE, SIOUX FALLS, SD 57110, (605) 782-3474)
                  We investigated the information you disputed and updated: Date Updated; High Balance; Credit Limit;
                  Maximum Delinquency; Rating; Historical Trended Data. Here is how this item appears on your credit
                  report following our investigation.
                  Date Opened:               09/22/2020               Balance:                $164                  Pay Status:        >Charged Off<
                  Responsibility:            Individual Account       Date Updated:           11/28/2022            Terms:             Paid Monthly
                  Account Type:              Revolving Account        Payment Received:       06/27/2022 ($0)       Date Closed:       04/22/2022
                  Loan Type:                 CREDIT CARD              Last Payment Made:      06/27/2022            >Maximum Delinquency of 90 days in 12/2021
                                                                      High Balance:           $164                                    and in 10/2022<
                                                                      Original Charge-off:    $164
                                                                      Credit Limit:           $350
                                                                      Past Due:               >$164<
               Remarks: ACCT INFO DISPUTED BY CONSUMR; CLOSED BY CREDIT GRANTOR; >UNPAID BALANCE CHARGED OFF<
               Estimated month and, ear that this .item wi II be removed: 06/2 029
                          I 1012022   09/2022       08/2022     07/2022     06/2022   05/2022    04/2022    03/2022  02/2022    01/2022     12/2021 I 11/2021 I
              Rating                00            00            00 @Kl         @Kl        @Kl       @Kl        @Kl      @Kl        @Kl                          00 1 00 1
                                10/2021        09/2021      08/2021    07/2021    06/2021     05/2021      04/2021     03/2021     02/2021       01/2021
              Rating                1[30 J        @Kl           @Kl       00         @Kl         @Kl          @Kl         @Kl         @Kl           @Kl

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                  CAPITAL ONE AUTO FINANCE #6205154679963**** ( CB DISPUTES TEAM, Po BOX 259407, PLANO, TX 75025, (800) 946-0332)
                  We investigated the information you disputed and updated: Date Updated; Date Closed; Rating; Historical
                  Trended Data. Here is how this item appears on your credit report following our investigation.
                  Date Opened:               11/19/2019                Balance:             $1,258                                 Pay Status:         >Charged Off<
                  Responsibility:            Individual Account        Date Updated:        01/13/2023                             Terms:              $0 per month , paid Monthly
                  Account Type :             Installment Account       Payment Received:    10/08/2020 ($0)                                            for 75 months
                  Loan Type:                 AUTOMOBILE                Last Payment Made:   10/08/2020


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                                                                       High Balance:
                                                                       Original Charge-off:
                                                                       Past Due:
                  Remarks: DISP INVG COMP-RPT BY GRNTR; >UNPAID BALANCE CHARGED OFF<
                                                                                            $22,899
                                                                                            $6,709
                                                                                            >$1,258<

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                         t d mon th an d ear th atthl sIemwI
                                                        't  'II be remove d : 10/2027
                                12/2022        11/2022     ~ 10/2022   09/2022    08/2022     07/2022      06/2022     05/2022     04/2022    03/2022        02/2022    01/2022
              Rating                m             fc,o j       !CIOj      jc,oJ      Jc,o J      (c10 1       Jc10 J      Jcto J      [C/OJ         JC/O J      [C/0]      IC/O J

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              Rating           [][] I [][] I

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 CONTINENTAL FIN CO #534636140105**** ( 4550 New Linden Hill Road, wilmington , DE 19808, (866) 449-4514)
 We investigated the information you disputed and updated: Remarks; Maximum Delinquency; Rating;
 Historical Trended Data. Here is how this item appears on your credit report following our investigation.
 Date Opened:              07/12/2020                   Balance:              $0                                Pay Status:     >Sold ; was Charged-off<
 Responsibility:           Individual Account           Date Updated:         11/15/2022                        Terms:          Paid Monthly
 Account Type:             Revolving Account            Payment Received:     04/08/2022 ($0)                   Date Closed:    08/04/2022
 Loan Type:                CREDIT CARD                  Last Payment Made:    04/08/2022                        >Maximum Delinquency of 120 days in
                                                        High Balance:         $1 ,363                                          08/2022<
                                                        Original Charge-off:  $1 ,363
                                                        Credit Limit:         $1,050
 Account Sale Info: ACCOUNT SOLD TO CKS 8333875604
 Remarks: PURCHASED BY ANOTHER LENDER; >PAID IN FULUWAS A CHARGE OFF<
 Estimated month and 11 ear that this item will be removed: 02/2029
               1012022    0912022     0812022     0712022 I 06/2022 I 0512022 I 0412022 I 0312022             I 0212022       01/2022    12/2021     11/2021
Rating             Ic,OI        Ic,OI       11201      00 1        00 1 00 1               @KJ I        @KJ I      @K)           @K)        @K)         @BJ
                1012021      09/2021     0812021    0712021 I 0612021     I 0512021   I 0412021   I 03/2021   I 02/2021       0112021    12/2020     1112020
Rating             @K)          @K)         @BJ        @BJ I       @KJ I       @KJ I       @KJ I        @KJ I      @K)           @BJ        @BJ         @BJ
                1012020      0912020     0812020
Rating             @K)          @K)         @K)
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 FEB DESTINY #532211000785**** ( PO BOX 4499, BEAVERTON , OR 97076, (844) 222-5695)
 We investigated the information you disputed and updated: Balance; Date Updated; High Balance;
 Original Charge-Off; Past Due; Pay Status; Terms; Date Closed; Remarks; Maximum Delinquency;
 Rating; Historical Trended Data. Here is how this item appears on your credit report following our
 investigation .
 Date Opened:              10/02/2020                          Balance:              $0                    Pay Status:       >Sold; was Charged-off<
 Responsibility:           Individual Account                  Date Updated:         01/23/2023            Terms:             Paid Monthly
 Account Type:             Revolving Account                   Payment Received:     06/20/2022 ($0)       Date Closed:       01/23/2023
 Loan Type:                CREDIT CARD                         Last Payment Made:    06/20/2022            >Maximum Delinquency of 120 days in
                                                               High Balance:         $997                                    11/2022 and in 12/2022<
                                                               Original Charge-off:  $997
                                                               Credit Limit:         $300
 Remarks: ACCT INFO DISPUTED BY CONSUMR; PURCHASED BY ANOTHER LENDER; >PAID IN FULUWAS A CHARGE OFF<
 Est1mate
    .     d mont h an d year t h at t h"1s .item w1·11 be remove d : 07/2029
              12/2022      1112022           1012022     09/2022 I 08/2022 I 0712022 I 06/2022 I 05/2022 I 0412022     03/2022     02/2022 I 01/2022
Rating             [ill]        1120 I      00         00 1 00 1               @BJ I       @KJ I        @KJ I      @K)           @K)        @BJ I       @BJ
                12/2021      11/2021     10/2021    09/2021   I 08/2021   I 07/2021   I 06/2021   I 05/2021   I 04/2021       03/2021    02/2021   I 01/2021
Rating             @K)          @K)         @K)        @BJ I       @KJ I       @BJ I       @KJ I        @KJ I      @K)           @K)        @BJ I       @BJ
                12/2020      11/2020
Rating             @K)          @K)
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 FEDLOAN SERVICING #7448269091 FD0**** ( POB 60610, HARRISBURG , PA 17106, (800) 699-2908)
 We investigated the information you disputed and updated: Rating. Here is how this item appears on your
 credit report following our investigation.
 Date Opened:              09/13/2011                     Balance:                    $0                        Pay Status:         Transferred; was Paying as
 Responsibility:           Individual Account             Date Updated:               04/09/2019                                    agreed
 Account Type:             Installment Account            Payment Received:           06/08/2017 ($0)           Terms:              $0 per month, paid Monthly
 Loan Type:                STUDENT LOAN                   Last Payment Made:          06/08/2017                                    for 120 months
                                                          High Balance:               $2,000                    Date Closed:        04/09/2019

 Remarks· DISP INVG COMP-CONSUM DISAGRS · ACCT CLOSED DUE TO TRANSFER
                0312019      02/2019     01/2019    12/2018     11/2018     10/2018     09/2018     08/2018     07/2018       06/2018    05/2018     0412018
Rating             [TI          [TI         [TI        [TI         [TI         [TI         [TI          [TI        [TI           [TI        [TI         [TI
                03/2018      02/2018     01/2018    12/2017     11/2017     10/2017     09/2017     08/2017     07/2017       06/2017    05/2017     04/2017
Rating             [TI          [TI         [TI        [TI         [TI         [TI         [TI          [TI        [TI           [TI        [TI         [TI
                0312017      02/2017     0112017    1212016     11/2016     10/2016     09/2016     0812016     0712016       0612016    05/2016     04/2016
Rating             @K)          @K)         @BJ        @BJ         @BJ         @BJ         @K)          @K)        @K)           @BJ        @BJ         @BJ
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            File Number:Case 1:23-cv-00597-MLB-JCF
                                424700146                                 Document
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            Date Issued:        02/02/2023


             FE0LOAN SERVICING #7448269091 FOO**** ( POB 60610, HARRISBURG , PA 17106, (800) 699-2908)
             We investigated the information you disputed and updated: Rating. Here is how this item appears on your
             credit report following our investigation.
             Date Opened:            09/12/2012                       Balance:                   $0                         Pay Status:         Paid, Closed; was Paid as
             Responslbllity:         Individual Account               Date Updated:              06/06/2017                                     agreed
             Account Type:           Installment Account              Payment Received:          06/06/2017 ($2,586)        Terms:              $0 per month, paid Monthly
             Loan Type:              STUDENT LOAN                     Last Payment Made:         06/06/2017                                     for 142 months
                                                                      High Balance:              $2,000                    Date Closed:         06/06/2017

             Remarks· DISP INVG COMP -CONSUM DISAGRS · CLOSED
                         05/2017  04/2017  03/2017 02/2017    01/2017                  12/2016   I 11/2016    I 10/2016   I 09/2016   I 08/2016     I 07/2016   I 06/2016   I
            Rating          @Kl       @K]      @K]     @K]        @K]                     @KJI         @KJI        @KJI        I OK II       @KJI        @KJI        @KJI
                           05/2016     04/2016      03/2016     02/2016    01/2016
            Rating             @Kl         @K]           m         [QK]       m
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             FE0LOAN SERVICING #7448269091 FOO**** ( POB 60610, HARRISBURG, PA 17106, (800) 699-2908)
             We investigated the information you disputed and updated : Rating. Here is how this item appears on your
             credit report following our investigation.
             Date Opened:            09/13/2011                       Balance:                   $0                         Pay Status:         Transferred; was Paying as
             Responsibllity:         Individual Account               Date Updated:              04/09/2019                                     agreed
             Account Type:           Installment Account              Payment Received:          06/08/2017 ($0)            Terms:              $0 per month, paid Monthly
             Loan Type:              STUDENT LOAN                     Last Payment Made:         06/08/2017                                     for 120 months
                                                                      High Balance:              $3,500                    Date Closed:         04/09/2019

             Remarks· DISP INVG COMP -CONSUM DISAGRS· ACCT CLOSED DUE TO TRANSFER
                         03/2019  02/2019  01/2019 12/2018   11/2018 10/2018 09/2018                            08/2018     07/2018       06/2018     05/2018     04/2018
            Rating            m m m m m m m m m m m IT]
                           03/2018 02/2018 01/2018 12/2017 11/2017 10/2017 09/2017 08/2017 07/2017 06/2017 05/2017 04/2017
            Rating            m m m m m m m m m m m m
                           03/2017     02/2017      01/2017     12/2016    11/2016     10/2016      09/2016     08/2016     07/2016       06/2016     05/2016     04/2016
            Rating             @Kl         [QK]          [QK]      [QK]       [QK]        [QK]         @Kl         [QK]        [QR]          [QK]        [QK]        [QK]
                           03/2018 02/2018 01/2016
            Rating        w I @KJ I CTI I
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             FE0LOAN SERVICING #7448269091 FOO**** ( POB 60610, HARRISBURG, PA 17106, (800) 699-2908)
             We investigated the information you disputed and updated: Rating. Here is how this item appears on your
             credit report following our investigation.
             Date Opened:            09/12/2014                      Balance:                    $0                         Pay Status:         Transferred; was Paying as
             Responslblllty:         Individual Account              Date Updated:               04/09/2019                                     agreed
             Account Type:           Installment Account             Payment Received:           06/08/2017 ($0)           Terms:               $0 per month, paid Monthly
             Loan Type:              STUDENT LOAN                    Last Payment Made:          06/08/2017                                     for 120 months
                                                                     High Balance:               $3,500                    Date Closed:         04/09/2019
 ij          Remarks· DISP INVG COMP -CONSUM DISAGRS· ACCT CLOSED DUE TO TRANSFER
                                  02/2019                            10/2018 09/2018                            08/2018                   06/2018
                         03/2019           01/2019 12/2018   11/2018                                                        07/2018                   05/2018     04/2018
            Rating             m           m   IT]      m m m m m m                                                                          m m m
                           03/2018           01/2018
                                       02/2018       12/2017 11/2017 10/2017 09/2017 08/2017 07/2017                                      06/2017
                                                                                                                                               05/2017 04/2017
            Rating             m           m m m m m m m m                                                                                   m m IT]
                           03/2017     02/2017      01/2017     12/2016    11/2016     10/2016      09/2016     08/2016     07/2016       06/2016     05/2016     04/2016
iiiiiiii    Rating             @Kl         @Kl           @K]       [QK]       I OK I      @Kl          [QK]        [QK]        [QR]          @Kl         @K]         []Kl
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            Rating        wl@KJICTII
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             FE0LOAN SERVICING #7448269091 FOO**** ( POB 60610, HARRISBURG, PA 17106, (800) 699-2908)

--           We investigated the information you disputed and updated: Rating. Here is how this item appears on your
             credit report following our investigation.
            Date Opened:
            Responsibility:
                                     09/12/2012
                                     Individual Account
                                                                     Balance:
                                                                     Date Updated:
                                                                                                 $0
                                                                                                 04/09/2019
                                                                                                                           Pay Status:          Transferred; was Paying as
                                                                                                                                                agreed
i iiiiiii
!!!!!!!     Account Type:            Installment Account             Payment Received:           06/08/2017 ($0)           Terms:               $0 per month, paid Monthly
            Loan Type:               STUDENT LOAN                    Last Payment Made:          06/08/2017                                     for 120 months
                                                                     High Balance:               $3,500                    Date Closed:         04/09/2019



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TransUnion~
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                                                                                       Prepared For ANDREA L MARION   Date generated: M ar 16, 2023




 •   COM SERV GRP                                                                                                                             $820

     Unknown payment history                                                                                     Balance updated Mar 06, 2023



     ~ Account info
     Account name                                                          Balance                                                          $820

     Account number                                                        Balance updated                                         Mar 06, 2023

     Original cred i or              12 CHARTER COMMUNICATIONS             Paid o '                                                            0%

     Company sold                                                          Mon ·. ly p aymen

     Account ype                                            Open accoun    Past due amount

     Date opened                                            May 29, 2019   Terms

     sta us                                                                Re spans i bil ity                                Individual account

       a us updated                                             Mar 2023   You statemen



     rn    Payment history


         No payment history available to display.



     ~ Contact info

           Address                       2001 NEWMARKET DRIVE
                                         LOUISVILLE,
                                         KY 40222 LOUISVILLE,
                                         KY 40222
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TransUnion-                              Case 1:23-cv-00597-MLB-JCF Document Pre
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                                                                                        ANDREA L. MARION 179    of 234 Aar 16, 2 23
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 e USDOE/GLELSI                                                                                                                                                              $56,476

   Exceptional paymen history                                                                                                                    Balance upda ed Feb 28, 2023


                                                                                                   f'IY\'1\Q;\t ()[Qt f--
   ~ Account info                                                                               \~CLA w    I

  Accoun name                                                                    USDOE/GL~      I          Balance                                                           $56,476

  Accoun number                                                                   92767 fxxxx              Balance updated                                            Feb 28, 2023

  Original cre<li or                                                                                       Original balance                                                  $52,900

  Company sold                                                                                             Paid o                                                                0%
   Accoun          ype                                                     Installment account                 onthly paymen

  Date opened                                                                     Jan 23, 201              Past due amount                                                       so
  Open/ closed                                                                                             Terms

  Sta us                                                    Paid or paying as agreed                       Responsibil y                                         Individual account

   sta us pdated                                                                     Feb 2023              Your statemen




   rn                                                                                                                     \rns}tt/ s\Wlf29
          Payment history




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                          ✓       ✓              ✓                         ✓         ✓              ✓           ✓        ✓       ✓        ✓             ✓              ✓




           1::            .,,,    ✓              ✓                         ✓         ✓
                                                                                                     ,,          ✓       ✓       ✓        ✓             ✓              ✓


                                                                                                    ✓           ✓        ✓       ✓        ✓             ✓              ✓



           1: · ;                 ✓              ✓                         ✓
                                                                                     ..,            ✓            ✓       ✓       ✓        ✓             ✓




      ✓    :,n -      ;                     -    : -~ - .... , :.. .-c ;
TransUnion~
                                Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 180 of 234
                                                                                      Prepared For ANDREA L MARION   Date generated:     ar 16, 2023



 e USDOE/GLELSI                                                                                                                             $1 ,478

   Exceptional paymen history                                                                                     Balance upda ed Feb 28, 2023

                                                                           .A Oie     Qcctt
   ~ Account info                                                \~coct\Y'Jv'-
  Accoun name                                         usooEJGl/4s1          Balance                                                        $1 ,478

  Accoun nu, ber                                       9276~ XXXX           Balance updated                                       Feb 28, 2023

  Original credi or                                                         Original balance                                               $1 ,498

  Company sold                                                              Paid o                                                              1%

  Accoun    ype                              Installment account             on lypaymen

  Date opened                                          Oct 26, 201          Past due amount                                                     so
  Open/ closed                                                Open          Terms

    a us                                Paid or paying as agreed            Responsibil                                     Individual account

  Sta us pdated                                           Feb 2023          Your statemen



                                                                     \J\t) rQ~(hQJ\t            ~   \

                                                                                                                  (,e~ch~
                                                                          un+1f ND\J 20\
   [ } ] Payment history


                                            ,!.C:,f
                                                                              -"'         ~-,           ~·   -~
                                                                                                                                  -·-
                                    ✓         ✓           ✓           ✓        ✓          ✓             ✓    ✓          ✓          ✓



                                    ✓         ✓           ✓           ✓        ✓          ✓             ✓    ✓          ✓
                                                                                                                                   ..,
                                                                      ✓        ✓          ✓             ✓    ✓          ✓          ✓



                                                                                                                        ✓
Account name                        AUSTINCAPY \ ' \L~ ~~\Q,R,
                           Case 1:23-cv-00597-MLB-JCF     Document 6 Filed 03/20/23 Page 181so of 234
Account num er                               800884✓x'xx    Balance updated              Oct 22, 2022
Original creditor                                           Original balance                  $10,000

Company sold                                                Monthly payment

Account     pe                     Installment account      Pas d ea ou                            so
 a e opened                              May 03, 2021       Terms                         120 Months

Open/ closed                                       Closed   Responsibility          Individual account

Status                                60 days past due      Yo r sta emem

Status pdated                                   Oct2022




rn    Payment history



                                               "               .,
                                                                               .,




~ Contact info

         ddress            8100 SHOAL CREEK AUSTIN,
                           TX 78757

      Phone n       b,er   (512) 693 -3600




~ Comments
      Closed
                                          Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 182 of 234
TransUnion@                                                                            Prepa,.red For ANO REAL. MARION   Date generated: ~ar 16, 2023




 •   BRYANTSTBK                                                                                                                                 S164

     Unkno •m pa •ment hist ory                                                                                                               Clos



     ~ Account info
      ccoum a        e                                                     Ba la ce                                                            S164

     Account number                                     521044)()(XXXX     Bala ce pdated                                             Feb 10, 2023

     Origmal cred · or                                                     Credit hm ·                                                           so
     Company sod                                                           II/   n ly paymem
     Account    pe                       cl           Revolving account    Past d ea o m                                                       S164

      ate opened

     Open /closed
                                ~r,_ I :._____s_e_p_2-,2~1::::             Highes balance

                                                                           Term s
                                                                                                                                               S164



     Status                                 ~     ~arged off as bad debt   Res      n ibih                                      Individual account

     Status pdated                     ~{)                    Fob2023      Your     ate      em




     [I) Payment history                        \}JY\QJQ_           \5
         No payment history available to, display.         ?Cl~~
     ~ Contact info
           Address                        500 E. 60TH STREET NORTH
                                          SIOUX FALLS,
                                          SD 57104

           Phone n                        (605) 782-3474
                            Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 183 of 234
TransUnion@)                                                       Prei;ared For ANDREA L. MARION   Oa~ generated: M r 16 2023




 •   CAPITAL ONE                                                                                                         $464
     4 late p<1ym ents


                                                              110~ ,       o.cctt-                                     Closed




     ~ Account info                                    \~~11J• ~
     Account ame                      CAPITAL   O✓       Bala ce                                                        $464

     Account nu     er              51780SXX-fxxx        Balance updated                                        Feb 18, 2023

     Ongmal credit or                                    Credit l1mil                                                   $300

     Com any sold                                        Mom ly payment                                                  s2s -
     :.ccount .pe                 Revolving account      Past d e amo m                                                 s20
     Date opened                       Feb 01 , 2022     Hig est balance

     Ope / closed                            Closed      Terms

     Stat s                       120 days past due      Respon ibility                                   Individual account

     Status pdated                        Feb 2023       Yo r statemem




     rn   Payment history




     M Cnntilr. T info
1r ur1::;uruon                             Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 184 of 234

 •   CELTIC/ CONT                                                                                              so
     Unkno •m payment history                                                                              Closed



     ~ Account info
     Account name

     Acco nt n m ~r
                                                         CELTlr

                                                       534636X:XXXXX
                                                                    ~it
                                                                      NT    Balance

                                                                            Balance pdated
                                                                                                              so
                                                                                                   Nov 15, 2022

     Ongmal cred it Of                                                      Cre<I limit                   Sl ,050

     Co pa 'I sofd                                                          M nt ly pay ,ent

     Account    pe                                   Revolving account      Pa s due amoo 1                   so
     Date opened
                                     . \ \!\~(\~•            Jul 12, 2020
                                                                            Hig est balance               Sl ,363

     Ope Jclosed                     \}J\\YI'        --------Closed         Terms

     St atus                                   Charged off as bad debt      Re sponsibility    Individual account

     Status pdated                               ~             Nov 2022     Yo rs a e-nent

                                      ;        ~-
     (]] Payment history
                                                     ~]_
         No payment history available to di splay.



     g Contact info
           Adoresc-                       4550 NEW LINDEN Hill ROAD
                                          WILM INGTON,
                                          DE 19808

           Phone n mber                   (866) 449 -45 14




     ~ Comments
           Purchased by another lender
TransUnion'5)                    Case 1:23-cv-00597-MLB-JCF Document         6 Filed 03/20/23 Page 185 of 234
                                                             P ep,;red For ANDREA L MARION Date generated: • r 16. 2C23



 e FEDLOAN                                                                                                        so
   Exceptional payment history
                                                                 Atl/J          ~t                            Closed



   ~ Account info
    ccoum name
                                                          ~
                                                   FEDy{A_N     Ba lance                                         so
    cc um nu       oer                 744826XXXX~     X.XXX    Balance upda ed                        Apr09, 2019

  Original cred · or                                            Ongmal balance                               S2,000

  Co pany s.o d                                                 Mon ly pa           em

  Ac   unt    pe                          Installment account   Past d ea       o                                so
    · e opened                                  Sep 13, 201     Tef ms                                  120 Months

  Open / losed                                        Closed    Re spo sibil"                     Individual account

  Status                             Paid or paying as agreed   Yours a e en

  Sta us pd ted                                     Apr 2019



   [ ] ] Payment history




                                          J




   ~ Contact info
           ddress                POB 606 10 HARRISBURG,
                                 PA 17101',
                  ~               Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 186 of 234
TransUnion                                                                    P ep;;.red For ANDREA L MARION   Date ge,nerated:   r 16 2023



 e FEDLOAN                                                                                                                               so
   Exceptional payment history                                                                                                      Close



   ~ Account info
  Account name                                      FEDLOAN      Ba l ance                                                              so
  Ace unt urn er                       744826XXXXXXXXXXX         Ba lance pdated                                             Apr09, 2019

  Ori nal cred itor                                              Ori ginal b- ance                                                 SJ,500
  Co   pan so                                                    M m ly par mem

    cc unt   pe                           Installment account    Past d ea           o n                                                so
    ate opened                                   Sep 13, 2011    Ter ms                                                       120 Months
  Open / closed                                        Closed    Re sp.ons:; ibili                                    Individual account

  Sta us                              Paid or paying as agreed   Yo r siatement

  Status pdated                                      Apr 2019




   (I] Payment history
                                 Wu




                                                                                                       .,




  ~ Contact info
        Address                   POB 60610 HARRISBURG,
                                  PA 17106
                                 Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 187 of 234
TransUnion@                                                              Prepared For ANDREA L. MARI ON   Date generated:   ar 16 2023



 e FEDLOAN                                                                                                                          so
   Exceptional payment history                                                                                                 Clos



   ~ Account info
  Account a e                                     FcDLOAN      Balance                                                             so
  Account u ber                      7 44826XXXXXXXXXXX        Balance pd ted                                          Apr 09, 2019

  Onginal credi or                                             Onginal bala ce                                                S3,500

  Co pa y sod                                                  Monthly pa,ment

  Account               pe              Installment account    Pas d ea o n                                                        so
   a e opened                                  Sep 12, 2014    Terms                                                    120 Months

  Open / closed                                      Closed    Respo sibir                                       Individual account

  Sta us                            Paid or paying as agreed   Yo r s,a e em

  Sta us        pd ted                             Apr2019




   rn   Payment history




                                                                 .,
           :! .. - ,... .




  g Contact info
        Adoress                  POB 60610 HARRISBURG,
TransUnion-                        Case 1:23-cv-00597-MLB-JCF Document        6 Filed
                                                              P•ep,ared For ANDREA       03/20/23
                                                                                   L AARION         Page
                                                                                            Date ~ted: ar 1188
                                                                                                            20'23of 234



 •   FEDLOAN                                                                                                      so
     Exceptional payment history                                                                              Close<i



     ~ Account info
     Account name                                   FEDLOAN       Balance                                        so
     r1ccount nu      er               744826XXXXX:XXXXXX         Balance pdated                       Apr09, 2019

     Onginal credi1or                                             Ongrnal bala ce                            S3,SOO

     Co p.; y sold                                                   mh ty payment

      ccount     pe                       Installment acoount     Pas d ea                                       so
     Da eopened                                  Sep 12, 2012     Term s                                120 Montl\s

     Open/ closed                                        Closed   Re spons1bil"                   Individual account

     Status                           Paid or paying as agreed    Yo rs a ement

     Sta us pdated                                   Apr2019




     W Payment history
                                                    ..



     ~ Contact info

              dares                POB 60610 HARRISBURG,
                                   PA 17106
3/16/23, 3:49 PM
                   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
                                                       6 Filed    03/20/23 Page 189 of 234
                                                                Detail




    C                      Consumer Financial
                           Protection Bureau
                                                      (https://www.consumerfinance.gov/)
                                                                                           Start a new complaint




    ( All complaints(.)




    220302-8223624
    CLOSED


           Submitted
           STATUS
           Submitted to the CFPB on 3/2/2022

           PRODUCT
           Credit reporting, credit repair services, or other personal consumer reports

           ISSUE
           Problem with a credit reporting company 's investigation into an existing problem


           We received your complaint. Thank you.

           We will review your complaint. Depending on what we find, we will typically:

              • Send your complaint to the company for a response; or

              • Send your complaint to another state or federal agency, or help you get in touch with
                your state or local consumer protection office; or

             • Let you know if we need more information to continue our work.




          YOUR COMPLAINT

          I recently pu ll ed a copy of my consumer report and noticed 7 items that are in direct
          violation of my consumer rights under 15 USC 1681- Congressional findings and statement
           of purpose (a)Accuracy and fairness of credit reporting The Congress makes the following
          findings: (4)There is a need to insure that consumer reporting agencies exercise their grave
           responsibilities with fairness, impartiality, and a respect for the consumer's right to privacy.
           15 USC 1681 a (2) (i) which is Definitions; rules of construction (2)Exclusions.-Except as
           provided in paragraph (3), the term "consumer report" does not include- (i)report
           containing information solely as to transactions or experiences between the consumer and
          the person making the report; I have a right to privacy. Remove and block these items listed
          below: 1. SANTANDER CONSUMER USA- 300002XXXXXXXXXXX 2. CREDIT ACCEPTANCE
https ://portal .consumerfinance .gov/consu mer/s/complaint-detail#500t000000xwLS7 AAM                             1/6
3/ 16/23, 3:49 PM   Case 1:23-cv-00597-MLB-JCF Document Complaint
                                                        6 FiledDetail
                                                                  03/20/23 Page 190 of 234
           CORP- 799361 XX 3. CAPITAL ONE AUTO FINANCE- 620515XXXXXXXXXXX 4.
           TRANSWORLD SYSTEM INC/- 855883XX 5. ECSI/KEUKA COLLEGE- 6AFD64XXXXXXXXX 6.
           CCS/BRYANT STATE BANK- 521044XXXXXXXXXX 7. COM SERV GRP I have sent multiple
           letters requesting the deletion of late payments due to direct violation of my consumer
           rights. I recently received a copy of my Experian credit report, and I noticed some late
           payments posted on my cred it report. Green Dot showing 30 days past due for January
           2021 and April 2021 Instead of deleting these negative late remarks you stated they
          accounts was verified and updated but nothing was changed . I DEMAND DELETION OF
          THESE NEGATIVE REMARKS DUE TO THE VIOLATIONS LISTED BELOW. Your company is in
          clear violation of the law. Under 15 U.S. Code § 1681 b - Permissible purposes of consumer
          reports, THE LAW CLEARLY STATES: (a)IN GENERAL Subject to subsection (c), any consumer
          reporting agency may furnish a consumer report under the following circumstances and no
          other: (2) In accordance with the written instructions of the consumer to whom it relates . Did
          I give you written instructions to furnish this account on my credit report? Furthermore, the
          FAIR CREDIT REPORTING ACT 15 U.S. Code § 1681 (2)(A)(i) Exclusions from a consume r
          credit report clearly states: (2)EXCLUSIONS .-Except as provided in paragraph (3), the term
          "consumer report" does not include- (A)subject to section 1681 s- 3 of this title, any- (i)
          report containing information solely as to transactions or experiences between the
          consumer and the person making the report; Transaction : payment history Experience:
          amount of credit using Line of credit: an experience what you use and how you use it/ swipe
          card: are all transactions Delete the above late payments from my consumer report, this is in
          violation of the FAIR CREDIT REPORTING ACT 15 U.S. Code§ 1681 Failure to respond
          satisfactorily with deletion of the above referenced account will result in legal actions being
          taken against your company, for which I will also be seeking $1,000 per violation for : 1.
          Defamation of Character (per se) 2. Negligent Enablement of Identity Fraud 3. Fair Debt
          Collection Practices Act 15 U.S. Code § 1692g violations 4. Fair Credit Reporting Act 15 U.S.
          Code § 1681 violations for willful noncompliance- §616. Civil Liability for willful
          noncompliance (15 U.S. Code§ 1681 n) These negative remarks and accounts reported
          were without my permission. THIS INFORMATION IS NOT INFORMATION RELATING TO
          ANYTRANSACATION BY THE CONSUMER. NOTICE TO AGENT IS NOTICE TO PRINCIPAL
          NOTICE TO PRINCIPAL IS NOTICE TO AGENT You, Experian are furnishing inaccurate and
          incorrect information to the consumer reporting agencies. The reporting of such inaccurate
          information has caused severe damage to my character, my reputation, my general mode of
          living and my ability to obtain credit for personal and house purposes. You and your
          inaccurate reporting have damaged my livelihood. 15 U.S. Code § 1681 s-2 - Responsibilities
          of furnishers of information to consumer reporting agencies (a)DUTY OF FURNISHERS OF
          INFORMATION TO PROVIDE ACCURATE INFORMATION (1) PROHIBITION (A)Reporting
          information with actual knowledge of errors A person shall not furnish any information
          relating to a consumer to any consumer reporting agency if the person knows or has
          reasonable cause to believe that the information is inaccurate . Duty: a moral or legal
          obligation; a responsibility Accurate: correct in all details; exact PROHIBITION: a law or
          regulation forbidding something As Defined by the IRS The IRS Clearly defies a charge off
          as Gross or Ordinary income, INCOME DOES NOT GET REPORTED ON THE CONSUMER
          REPORT which in fact makes your reporting of this account inaccurate! By Definition The IRS

https://portal .consumerfi nance .gov/consu mer/s/complaint-detail#500t000000xwLS7 AAM                      2/6
3/16/23, 3:49 PM
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                                                                 Detail

           Clearly says a Cancelled or Charge off is income. The reporting of this account as a debt is
           inaccurate. 15 USC 1681 s-2 Says you Experian are a furnisher of information to a consumer
           reporting agency. You are PROHIB ITED BY LAW to furnish inaccurate information. I demand
           you to Cease and Desist the reporting of incorrect/inaccurate information immediately. 15
           USC 1681 s-2(a)( 1 )(A) A person shall not furnish any information relating to a consumer t o
           any consumer reporting agency if the person knows or has reasonab le cause to believe that
           the information is inaccurate. You are hereby put on NOTICE that you are furnishing
           incorrect inaccurate information . The lender must fi le 1099-C and send you copy if the
           amount of the debt cancelled is $600or more and the lender is a financial institution, cred it
           union, federal government agency, or other applicable entity as discussed earlier in chapter
           1. The above paragraph is taken directly from the IRS 2021 pub lication. I have not gotten a
           1099-C that should have been sent when the furnisher reported this account and Filed the
           account as a cancelled debt but they ha ve not so they are in violation of reporting
           inaccuarate information as well as Experian due to I asked for a complete investigation into
          this matter and was rep lied back that you have and the account was verified and accurate
          but it is not. 15 U.S. Code§ 1681 s-2 (a)D UTY OF FURNISHERS OF INFORMATION TO
           PROVIDE ACCURATE INFORMATION (1) PROHIBITION (B)Reporting information after
           notice and confirmation of errors A person sha ll not furnish information relating to a
           consumer to any consumer reporting agency if- (i) the person has been notified by the
           consumer, at the address specified by the person for such notices, that specific information
           is inaccurate; and (ii) the information is, in fact, inaccurate In conclusion I have shown you
           and you have been put on notice that you are reporting inaccurate informati on. The
           information is, in fact, inaccurate. The continued reporting of this inaccurate information is a
           clear violation of the Law 15 USC 1681 s-2 of your responsibilities as a furnisher of
           information. You have caused me and my fami ly severe harm due to your negligence and
           inaccurate reporting. This is a final opportunity to Cure and DELETE This Erroneous,
           Inaccurate account from my consumer report. You have four [ 4] days to REMOVE THESE
           ITEMS FROM MY CONSUMER REPORT.


          ATTACHMENTS

          -~--r.l::!_<3. . .9.?....i.9..JP~.9. (584.9 KB)
          capital __ on_e _ repson_se.jpg (964 KB)

          )_l::!_<3._~_~_jpg_( 1 .6 MB)
          transworl_d _dpb___ respo_nse .jpeg (2 .6 MB)


          View fu ll complaint 0




          Sent to company
          STATUS

          Sent to company on 3/2/2022
https://portal .consum erfinance .gov/consumer/s/complainl-detail#500t000000xwLS7 AAM                         3/6
3/ 16/23, 3:49 PM   Case 1:23-cv-00597-MLB-JCF Document Complaint
                                                         6 Filed    03/20/23 Page 192 of 234
                                                                  Detail

           We've sent your complaint to the company, and we will let you know when they respond .

           Their response should include the steps they took, or will take, to address your compla int.

           Companies generally respond in 15 days. In some cases, the company will let you know
           their response is in progress and provide a final response in 60 days.




           Company still working
           STATUS
           Company response is in progress as of 3/3/2022


           The company has responded that it is still working on your issue

           In some cases, companies need more time to respond . You should receive a final response
           with in 60 days from the date we sent your complaint to the company.




           COMPANY'S INTERIM RESPONSE

          We received your complaint about the items in your credit report, and apologize for any
           difficulty you may have experienced . We are currently reviewing your complaint along with
          the information you previously submitted regarding this issue . We will follow-up w ith yo u
           within sixty (60) days from the date you submitted your request.




           Company responded
          STATUS
          Company responded on 4/7/2022

          RESPONSE TYPE

          Closed with non -monetary relief


          Company's Response

          After careful review, we have determined the information submitted in the portal included a
          dispute of information appearing on your credit report. TransUnion has processed you r
          request and forwarded a copy of the Investigation Results through US mail. You should
          expect to receive those results in approximately 7 business days.


https://portal .consumerfinance .gov/consu mer/s/compla int-detail#500t000000xwLS7 AAM                    4/6
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                                                                 Detail

           DESCRIPTION OF NON-MONETARY RELIEF

           In response to your request, the following actions were taken on your credit file : You
           disputed the following accounts and/or public records on your credit file. Below includes the
           results of that investigation SANTANDER CONSUMER USA UPDATED COMMERCIAL
           SERVICES GROU VERIFIED AS REPORTED BRYANT STATE BANK UPDATED CAPITAL ON E
           AUTO FINANCE UPDATED GREEN DOT CORPORATION UPDATED




           Feedback requested
           STATUS

           Feedback requested on 4/7/2022

           FEEDBACK DUE
           6/6/2022


           Provide feedback about the company's response

           We welcome your feedback on how the company responded to your complaint. You will
           have 60 days from when the company responded to share your feedback. The CFPB will
           share your feedback responses with the company and use the information to help the
           CFPB's work with consume r complaints.




           Closed
          The CFPB has closed your complaint.




   ADDITION AL TOOLS A ND RESOURCES


https://portal .consumerfinance .gov/consumer/s/compla int-detail#500t000000xwLS7 AAM                      5/6
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                          Consumer Financial                                                      Start a new complaint
                          Protection Bureau
                                                    (https://www.consumerftnance.gov/)


   ( All complaints (.)




    220528-8796311
    CLOSED


    0 Submitted
           STATUS
           Sl!llbrnitted to the CFPB on 5/28/2022

           PRODUCT
           Ctred~.t reporting, credit repair services, or other person.all consumer reports

           ISSUE
           Improper use o:f your report


           We received your complaint. Thank you.

           We will review your complaint Depending on what we find, we will typically: ·

              • Send your complaint to the company for a response; or
              ■    Send your complaint to another state or federal agency, or help you get in tol!lch with your state or
                   l.ocal consl!lmer protection office; or
              ■    Let you know if we needl more information to contitnue our work.




           YOUR COMPLAINT

           Im.. accordance with the Fair Ctredit Reporting Act, BRYANT STAIE BANK- Accmm.t #
           52 ]044XXXXXXXXXX GRJEEN DOT Bank-Account# 40042 lXXXXX:XXXXX JFIVE STAR
           BANK- Account# 205102:XXXX CREDI'J ACCEPTANCE CORP- Account# 799361.XX CAP]TAL
           ONIE AUTO FIN-Account# 620515:XXXXXXXXXXX SANTANDER CO SUMER USA-
           300002XXXXX:XXXXXX COM SERV GJU>- Account# U20179:XXXXXXXX FRONTLI E AS-
           Account# l l 1059XXX All these accounts above have violated my riglhits. 15 U.S. Code§ 1681 section
           602 A. states that I have a right to privacy. 15 U.S. Code § 1681 Section 604 A Section 2: It also states a
           consl!lmer reportrng agency camrnot furnish an account without my wriitten instruction. 15 U.S . Code §
            1666B: A credi1tor may not treat a payment om a credit caiudl account under an open end consumer credit
           plan as late for any purpose.
https://portal .consumerfinance.9ov/consumer/s/cornplaint-detail#S00tO00000zv6zGAAQ                                        1/4
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                                                      Complaint Detail03/20/23 Page 195 of 234

           View full complarnt 0




   0 Sent to company
           STATUS
           Sent to company on. 5/28/2022


           We've sent yom complaint to tlllie company, aimd we will fot you know when they respond.

           Their response should include fue steps they took, or wm take, to address your complaint.

           C011npanies generally respond in 15 days . ln some cases, the company will let you know their response
           is in progress and provide a fual response m60 days.




   0 Company still worki ng
           STATUS
           Cmnpany respomse is in progress as of 5/29/2022


           The company has responded that ~t is still working on your issue

           In some cases, companies need more time to respond. Yolll should recewe a final response withm 60
           days from the date we sent yom complaint to the company.




           COMPANY 'S INTERIM RESPONSE

           We received your complaint about the items in your credit report, and apologize foli any difficulty you
           may have experienced. We are currently reviewing yow· complaint afong with the i111formation you.
           previously submiitted regardrng this issue. We will fo llow-up with yofill within sixty (60) days from the
           date you submitted your request.




   0 Company responded
           STATUS
           Company respomded on 7/9/2022


https-J/portal.con.sumertinance.~ov/consumer/s/colililplaint-d.etail#5OOt0OOOOOzv6zGAA.Q                                2/4
2/9/23, 2:49 PM     Case 1:23-cv-00597-MLB-JCF Document 6 Filed
                                                     Complaint Detail03/20/23 Page 196 of 234

          RESPONSE liYPE
          CJlosed with non-monetary Fdief


          Company's Response

          After careful reviiew, we have determined tihe information submitted rn the portal included a dispute of
          inforn,ation appearing on yolll1i credit reportt. Trans Union has processed your requestt and forwarded a
          copy of the lnvestigation Resl!]l!lis through. US mail. You sfu.ould expectt to receive those results in
          approximately 7 !business days.


          DESCRIPTION 0-F NON-MONETARY RELIEF

          In response to yom request, tth.e following actions were taken on. your credit file: Ym.1 disputed tlite
          foUowing Personal Information on your Peirsonal file. Below includes tt.lh.e actions taken: Address
          Rem.oved Telephone Number REMOVED You disputedl the following accounts and/or public records on
          your credit file. lBelow includes the results of that investigation. COMMERCIAL SERVICES GROU
          VERIFIED AS REPORTED CAPITAL ONE AUTO FINANCE UPDATED SANTANDER
          CONSUMER USA UPDATIED GREEN DOT CORPORAT[ON UPDATED 5 STAR
          BANK/WYOMlliG CNTY VERIFIED AS REPORTED lBRYANT STATE BANK UPDATED




   0 Feedback requested
          STATUS
          Feedback requested on 7/9/2022

          FEEDBACK DUE
          9/7/2022


          Provide feedback abou~ the company's response

          We welcome your feedback on how the company responded to your complaint. You will have 60 days
          fmm when the company respunded to share your feedback. The CFPB will share yom feedback
          responses with the company ai111d use the information. to fudp the CFPB 's work witlli! consumer
          complaints.




   G Closed
          T.lh.e CFPB has closed your complaint.




https://portal .consumerfi.nance.9ov/consumer/s/complaint-detail#500t000000zv6zGAAQ                                   3/4
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 197 of 234
2/9/23, 1:36 PM       Case 1:23-cv-00597-MLB-JCF Document
                                                   Buffalo State6MailFiled  03/20/23 Page 198 of 234
                                                                     - Re: URGENif

            then delete this message and a y attachments. If you are oo the intended recipient. you are hereby
            notified that any use. dissemination, copying, or storage of this message o its attachments is strictly
            prohibited.




            Oni Sat, Jun 5, 2021 at 9:01 AM Andrea Marim1 < mariona101@mail.buffalostate.edu> wrote:

                  Andrea Marion                                                                      June 1, 2021
                  155A Garden Village Drive apt l
                  Cheektowaga, NY 14227

                  COMMERCIAL SERVICES GROUP
                  4965 US HIGHWAY 42 SUITE 1500
                  LOUISVILLE, KY 40222

                  Re: AccouNt Number: U20] 79:XXXXXXXX

                  Dear Collection Manager:

                  This letter is in response to your credit report entry on April 2, 2021 related to Ille debt
                  1Ieferenced above. I wish to save us both some time and effort by settling this debt.

                  JPlease be aware that this is not an acknowledgment or acceptance of the debt, as I have not
                  Feceived any verification of the debt NOF is this a pFOmise to pay allld is not a payment
                  agreement ooless you provide a response as detailed below.

                  I am aware that your company has the ability to report this debt to the credit bU1reaus as ym1
                  deem necessary. Furthermore, you have the ability to change the 1isting since you are the
                  information :furnisher.

                  I am willing to pay $200 a this is what I have available due to the pandemic, as a settlement
                  for this debtr in return for your agreement to remove all informatiolil! regarding thiJs debt from
                  fflhe credit reporting agenci1es within ten calendar days of payment ]f you agree ffo the terms,]
                  will send ce1Itified payment in the amouililt of $200 payable to COMMERCIAL SERVlCES
                  GROUP in exchange to have all information related to this debt removed from all of my credin
                  files.

                  If you accept this offer, you also agree .lilot to discuss the offer wiili any third-party, excluding
                  the original cFeditor. If youi accept the offer, please p!iepare a letteli on your company letterhead
                  agreeing to the terms. This 1'etter should lbe signed by an authorized! agent of COMMERC[AL
                  SERVICES GROUP AND SENT VIA MAIL. The letter will be treated as a cm1ttract and
                  S'l!.lbject to the laws of my state.
                  As granted by the Fair Debt Collection !Practices Act, I have the right to displ!lte this alleged
                  debt. If I do .lilot receive yol!lr postmarked response within 15 days, ] will withdraw the offer
                  and request full verification of this debt.

                  Please forward your agreement to the address listed above.



                  Sincerely,
                  Andrea Mariom

https://mail.google.com/mail/u/0/?il<.=23a 17849c2&vi.ew=pt&search:,all&permthid=thread-f%3A1703663278207015357 &simpl=msg-f%3A1703663278 .. .   2/5
2/9/23 , 1:36 PM     Case 1:23-cv-00597-MLB-JCF Document
                                                  Buffalo State6MailFiled   03/20/23 Page 199 of 234
                                                                     - Re: URGENiT




       B\.JFf-ALO STATE                                                             Andrea Marion <marional01@mail.buffalos1ate.edu>



  Re: URGENT
  8 messages

  Andrea Mation <mariona101@mail.buffalostate.edu>                                                                  Sat, Jun 26, 2021 ati 4:38 PM
  To: Linda Wise <lwise@collectcsg.com>


     Is there anyway we can settle this debt with a settlemelilt offer?


             On Jun 5, 2021, afi 10:23 AM, Linda Wise < lwise@collectcsg.com> wrote:



             Ms. Marion ,

             We have received multiple copies of this letter from you via rmail and email. We cannot accepti your offer to
             settle this Educafion Assistance obligation owed to Charter Communications in exchange for deletion from
             yorur credit report

             Commercial Services Group has also received at least nine E-Oscar disputes on this account since October,
             20 119 with various dispute reasofils including identity fraud, dispute of balance and a statellilefilt that you
             have no knowledge of the accorunt. We have l/ilvestigated each of those complaints and provided
             documentation fo you multiple tirmes as well.

             rn you would like to discuss payllilent arrangements to resolve this matter, please let us know. Once the
             obligation is resolved the accorun ti will be noted as paid on yorur credit reporti.

             St10uld you wish to discuss this matter with me directly, please feel free to call.

             Sililcerely,


             Linda H. Wise
             President
             (502) 560-6743
             lwise@collectcsg.com




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             will be used for that purpose.
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             message has been addressed to you in error, please immed·a ely alert the sender by reply email and


httpsJ/mail.google.com/mail/u/0/?i~=23a 17849c2.&view=pt&search=-all&permthid=threadr f%3A 1703663278207015357 &si rnpl=r,nsg-f0/o3A1703663278 ...   1/5
2/9/23, 1:36 PM       Case 1:23-cv-00597-MLB-JCF Document
                                                   Buffalo State6MailFiled  03/20/23 Page 200 of 234
                                                                     - Re: URGENir

  Linda Wise <lwise@collectcsg.com>                                                                          Mon , Jun 28, 2021 at 8:42 AM
  To: Andrea Marion <rnarioraa101@rnail.buffalostate.edu>

    Hello Ms. Marion ,

    Thank yo1U for contactirag1Commercial Services Group, Inc. If you would like to make a reasonable settlement offer, I will
    certa inly send the offer to our client for consideration.

    ThankyollJ ,

    Linda H. Wise
    President
    (502) 560-6743
    lwise@collectcsg.com




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    its attachments is strictly prohibited.



    [Quoted lexl hidden]



  Andrea Marion <mariona101@mail.buffalostate.edu>                                                         Mon, Jun 28, 2021 at 12:36 PM
  To: Linda Wise <lwise@collectcsg.com>

    So charter commun ications still has the file and just hired your company to help? Can I reach out fo them directly if you
    have ther,e contact info?


            On1Jun 28, 20211,, at 8:43 AM , Linda Wise < lwise@collectcsg.com> wrote:



            [Quoted text hidden]




  Linda Wise <lwise@collecfcsg.com>                                                                          Mon, Jun 28, 2021 at 1:50 PM
  To: Andrea Marion <marioraa101@mail.buialostate.edu>

    Ms. Mar,ion ,



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                                                                Mail Filed  03/20/23 Page 201 of 234
                                                                     - Re: URGENif

    Yes , Charter Communications is CSG,'s client. Our agrieement with1Charter does mot allow me to provide contad
    information for Charter, ellilployees. If you have a former supervisor or Human Resources contact for Charter to wlhom
    you could reach out, please feel free to contact them directly, however, Charter will likely request tlhat you contact CSG.

    Again, if you would like to offer a reasolilable settlemen.ti offer, I will be happy to submi.t it to Charter to see if they will
    approve.

    Best regards,


    Linda H. Wise
    President
     (502) 560-67 43
    lwise@collectcsg.com




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    (Quoted text hidden]



  Andrea Mar.ion <mariona101@mail.buffalostate.edu>                                                                  Mon,,, Jun 28, 20211at 8:52 PM
  To: Linda Wi'se <lwise@collectcsg.com>

    Because of the pandellilic I am only getting unemployment. I can offer 30% of the balance which would be $246
    (Quoled text hiddenj



  Linda Wise <lwise@collectcsg.com>                                                                                   Tue, Jul 6, 2021 at 10:08 AM
  To: Andrea Marion <mariiolilal01@mail.bufifalostate.ed'ui>·

    Hello Ms. Marion ,

    We heard] back from om client, Charter Communications and they riej:ected your settlement offer of $246 and did mot make
    a counter, offer. The full amount of $820.00 remains d'ue to Charter. If you would lil<e to make payment arrangements,
    please let me know.

    Thank you,




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                                                                 Mail Filed  03/20/23 Page 202 of 234
                                                                      - Re: URGENiT

     Linda H. Wise
     President
     (502) 560-6743
     lwise@collectcsg.com




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     [Qooted text hidden]



  Andrea Marion <mariolilal01@mail.butfalostate.edu>                                                                         Wed , Jul 7, 2021 at 11:35 AM
  To: Linda Wise <lwise@collectcsg.com>

     Ok can yoru let them klilow I only have tlhe $246 righti lilOW to offer because I have otlher collections alild May have to file
     bankruptcy.
     [Quoted text hidden]



  Andrea Mari.o n <mario lila101@mail.buffalostate.edu>                                                                      Suni, Jul 11 , 2021 a~ 11 :1 8AM
  To: Linda Wise <lwise@collectcsg.com>


     [Quoted text hidden]




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       IBuFFALO STATE                                                           Andrea     arion <marional01@mail.buffaloslate.edu>



  collections account# U20179XXXXXXXX
  9messages

  Andrea Marion <mariona101@mail.buffalostate.edu>                                                         Thu, Oct 27, 2022 at 12:10 PM
  To: consumercare@collectcsg.com

    Andrea l, Marion                                                                                  October 27, 2022
    3201 Kenelworth Dr apt 5
    East Poi.ID.t, GA 30344

    ComrneFcia1 Services Group

    4965 US HIGHWAY 4l2 SUITE ] 500
    LOUISVILLE, KY 40222

    Re: Account# U 20179XXXXXXXX


    To whom it may concern,

    I, the consumer am writing this letter advising tlhat COMMERCIAL SERVICES GROUP is in violation of
    my federal protected consumer rig.futs under the :FDCPA. I noticed your company placed a fraudulent account
    on my consumer report, but I never had any busl!llless relationship with COMMERCIAIL SERVICES
    GROUP, nor did r gi ve anyone associated with your company authorizatiom to access my nonpubli c
    personal information. ] did NOT give prior consent or authorization for COMMERCIAL SERVICES
    GROUP to communi·cate with me about this alleged debt, and there was no prior consent from a comt
    giving permission to contact [, the consumer in collection of any debts and th.us this communication a1J11d
    reporting of this alleged debt on my consumer rep01i is a violation under the FDCPA. I am requesting you
    provide me with a fu]l accounting lhistory of this alleged debt , proof that you are able to collect on trus
    alleged debt and a contract betweem me, the consmner and COMMER CJAL SERVICES GROUP, bearing
    my signature. This needs to be done within 14 days of confirmed receipt of this letter or] will begin legal
    proceedii1ilgs for the violations of my federally protected consumer rights and the FDC PA, as well as seek all
    remedies available to me as permitted by law.

    Best Regards,

    Andrea l Marion


  Emali McGaughey <ermcgaughey@collectcsg.com>                                                               Fri,. Oct 28, 2022 at 10:24 AM
  To: Andrea Marion <mariiolilal01@mail.bufifalostate.edui>·
  Cc: consumercare@collectcsg.com

    Ms. Marion ,

    We have received your email. Please see attached for our response. We will also mail the attachmel'ilt to the add riess
    provided i'l'il your email.


    Thank Yollll,

    Emalr McGaughey, Compliance Officer


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                                                                                     U20179XXXXXXXX

    (502) 560-6701
    emcgaughey@collectcsg .com

    csgcompliance@collectcsg.com

                                            We have recently changed our mailing address to:

                                                              2001 Newmarket Drive
                                                       Louisville, KY 40222
                                Please inform the proper administrative• parties in yowr organization.




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       CAKv4MQ2VSk1 FYZFD 1zdVamHVsVOqY7r-_ncAC-tb 74bVm5cEyQ%40mail.gmail .com.

     ~    Mariion Dispute Response 10-28-2022.pdf
          3303K


  Andrea Ma1fon <marioITTal0 1@mail.bufifalostate.edu>                                                               Fri1, Oct 28, 2022 at 1:06 PM
  To: Emalu McGaughey <eliTlcgaughey@collectcsg.com>


    So charter, communications "partnered with CSG"? So are you an in House debt collector that wor,k for charter
    communications? Are yol!J an affiliate of charter comrml!Jnications? 'ri'ou1have any owriiership or contml with Charter
    Communi'cations? If not your a non affiliated third party and also CSG is a debt collector as defiriied in the FDCPA and
    Charter Communicatioriis is the creditor that sold this alleged debt and my personal information to your company. Arn I
    correct or no? If they didn't sell or transfer this alleged] debt and my personal inforrnatcon then how did you get it ? I have
    no business now or in fhe future with CSG so I am reql!Jesting a contract or agreement that has my wet signatu:li8 stating I
    am obl[gafed to pay yol!J this alleged debt or a contract with CSG , me and charter communicatioms to this alleged] debt.

    Also I have disputed this alleged debt rmany times aITTdl have not received anything I asked for that validates this debt but a
    requirermeriit you are supposed to sendl per the FDCPA. Nothing that you sent shows a clear and conspicuous ORIGINAL
    CONTRACT of busfness dealings specifically namfngi CSG. Furthermore, I neveri authorized CSG to obtain my personal
    non public information ,, infringing uponi my right to privacy. In additiorii, CSG is a non, affiliated th ird] party and in

httpsJ/mail.google .com/mail/u/0/?i ~.=23a17849c2.&vi.ew=pt&search=all&permthid=threadl-a,%3Ar-294 0734l134l562600619&simpl=msg-a%3Ali28191 639 ...   2/5
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                                                          Mail - collecfions Filed 03/20/23    Page 205 of 234
                                                                                    U20179XXXXXXXX

    accordance with 15 USC 1692(c)(b), CSG has violated my rights by contacting me without my expressed written consent
    or a cowrti order.

    My settlellilent for this account at the tillile was to resolve this matter but my letter clearly stated I was not admitting to the
    alleged] debt being mines I just wanted this removed tram my consumer report. Offer was revoked! and I know now my
    federally protected consumer rights andl understand fully the FCRAAND FDCPA.

    Now yoUJ also stated charter communications policy tlhati states repayrnent is to charter communications not CSG tihe debt
    collector so again how is CSG involved in this alleged debt withouf my info being sold or transferred! to CSG?

    This is my final demand! to comply with deleting this account from all consumer reporting agencies within 14 days of
    receiving this or I will begin l egal proceedjngs for the violations of my federally protected consumer rights and
    the FDCI?~ as well as seek all remedies available to me as permitted by law. 1 am also filing a compllam t
    with the Attorney General for the violations CSG has caused me.




            Oni Oct 28, 2022 . at 10:24 AM , IE'rnaJi McGauglhey < emcgaughey@collectcsg.com> wrote:



            [Quoted text hidden]




     V:] Marion Dispute Response 10-28-2022.pdf
          330,3K


  Andrea Marion <marional01@mail.buffalostate.edu>                                                          Wed, INov 2, 2022 at 12:01 PM
  To: Emali McGaughey <emcgaughey@collectcsg.com>


    (Quoled text hidden)




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      l!:l 3303K



  Emali McGaughey <emcgaughey@collecfcsg.com>                                                                Thu, Nov 3, 2022 at 11 :01 AM
  To: Andrea Marion <mariolila101@mail.bufifalostate.edu>·
  Cc: csgcompliance@collectcsg.com

    Ms. Marion,

    Commercial Services Group, Inc. has answered all offyour questions in our previous,. and multiple, communicattons to
    you. We are fully compliant with, and well aware of, all applicable laws and regula1iim1s that pertailil to our business.


    ThankYollJI,

    Emali McGaughey, Compliance Officer

    (502) 560-6701
    emcgaughey@collectcsg.com

    csgcompliance@col lectcsg .com


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                                            Buffalo State                6 account#
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                                                                                    U20179XXXXXXXX

                                           We have recently changed our mailing address to:
                                                            2001 Newmarket Drive
                                                       Louisville, KY 40222
                                Please inform the proper administrative parties in your organization.




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    its attachments is slriclty prohibited.
    (Quoted text hidden]



  Andrea Marion <mariornal01@mail.buffalostate.edu>                                                              ThlU , Nov 3, 2022 ati 3:56 PM
  To: Emali McGaughey <erncgaughey@collectcsg .corn>

    You have mot answered all my questions or provided! rne with what I requested to validate this debt. I will pursue
    further legal matters.
    (Quoted text hidden]



  Andrea Marion <mariornaW1@mail.bu1ifalostate.edu>                                                              Fri, Nov 18, 2022 ati 7:14 PM
  To: Emali McGaughey <emcgaughey@collectcsg.com>

    I am reaching out one last time to resolve this matter, amicably· before I pursue further legal matters. You have s~afed
    multiple Nrnes that ymJ"r,e in complairnti with the FDCPA and FCRA, however the reporting of this account is in fact
    inaccurate and incomplete because the collection account is actually reporting as arn OPEN ACCOUNT. By defaUJlt, a
    collection is already a closed account so this is in facti frnaccurate and incomplete but each time I disputed you came back
    to me and the CRA's sfatiing the accm.mt was accurate and verified . I filave attached tfile screenshoti to show proofCSG is
    in fact not in compliance with the FCRA and this inforrmation has beern disputed mUJltiple times since the initial reporting
    back in 2.019. This is a direct violation of 15 U.S. Code§ 1681s-2(a)(11)(8) and the account#
    U20179:XXXXXXXX with CSG must be removedl. I am also aware, each requirement of the FCRA which CSG fails to
    comply with, holds the company liable for $1000.0fi} per action and! pmsuant to 15 Ul.S.Code § 1681li!, when an
    investigafive report is prepared, no adverse information in a consumer report may be included in ai subsequent colilsumer
    report urnless the report was verified. Each month this false information was incorrectly verified as accurate by CSG and
    CSG is lheld liable for each consecutive reporting off tfilis inaccurate arnd incomplete account. PursUJant to 15 U.S.Code §
    1692k(a,)(2)(A) states alil i'ndividual action is a violatiolil worth $1000 for proceedingi, however under,stand 15 U.S .Code §
    1692k(a)(1I) these violations has caused actual damages to me, emotiional distress, mental anguisfil, stress,
    embarrassment, misrepriesentation , depression, credit denial, auto loan denial, and ~arnished my reputation and
    character,.

    This account needs to be deleted immediately from all consumer reporting agencies and I am seeking actual damages of
    $5000. If fh[s matter cani not be resolved then I will go ahead and begin legal proceedings for the violations of federaJly
    protected] consumer rigifilts and the F[)CPA, FCRA alildl actual damages, as well as seek remedy available to me as
    permitted] by law.
    (Quoted text hidden]




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   Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 207 of 234




                             COMMERCIAL SERVICES GROUP, INC.
                                      2001 NEWMARKFf DRIVE
                                       LOUISVILLE, KY 40222                       TELEPHONE (502) 244-6900
                                                                                  Tau-FREE (800) 264-6850




                                                                                   October 28, 2022

Andrea Marion
3201 Kenelworth Dr Apt 5
East Point, GA 30344




Re:     Multiple Duplicative Disputes
        Charter Communications Reference Number: 6050634
        Commercial Services Group, Inc. Reference Number: 201794




Dear Andrea Marion,

Commercial Services Group, Inc. (CSG) received your email on October 27, 2022 regarding a
dispute over the reporting of your repayment obligation to Charter Communications (Time
Warner Cable) being listed on your credit report.

Since we have previously responded to your dispute of this repayment obligation, I am copying
the last response that we provided, which was in response to your complaint filed with the CFPB
in April 2022.

"Charter Communications partnered with Commercial Services Group, Inc. (CSG) to recover
this repayment obligation for tuition expenses. It has not been transferred or sold, and according
to CSG's records, it is not a duplicate of any other debt.

CSG has had communication directly with Ms. Marion regarding this debt. CSG has also mailed
required letters to each address we have had on file for Ms. Marion. This debt is for education
assistance Ms. Marion received for an Information Literacy Course #GEN103 at Ashford
University while employed by Charter Communications.

CSG has received over ten (10) disputes from Ms. Marion and has previously responded with
validation when needed, each and every time. Ms. Marion has made a settlement offer to CSG,
asking to pay off this debt for an amount less than the balance owed. This offer was presented to
Charter Communications, but Charter did not accept the offer and instructed CSG to continue to



                                                                                          Page 1 of 2
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   pursue the full amount owed. One of Ms. Marion's recent disputes stated she paid Charter
   Communications directly, but she did not provide proof of the payment. CSG confinned at that
   time, and again after receiving this CFPB complaint, with Charter Communications that they
   received no payment for this obligation.

   Per FCRA & FDCPA guidelines, CSG will continue to furnish data on the current status of this
   obligation to credit reporting agencies. If Ms. Marion wants to resolve this matter or has any
   additional questions, she may contact CSG using any of the methods she's used in the past. For
   reference, the email address best used for this matter is consumercare@collectcsg.com and the
   best phone number to call is 800-264-6850."

   We have again enclosed all documents in this response, and have listed the details below to assist
   with further clarification.

   According to Charter Communications, the Time Warner Cable Education Assistance Policy
   states "If an employee terminates voluntarily or is terminated for cause within 12 months of the
   payment of a course, he/she must refund the total amount paid by the Company." The courses
   included in the repayment obligation were registered at Ashford University from 2/27/2018
   through 1/10/2019. The tuition was paid by Charter to the university on 2/7/2019. Your voluntary
   termination occurred on 3/4/2019 which was within twelve months of the payments made to the
   university, thus resulting in your repayment obligation to Charter Communications.

   Per FCRA & FDCPA guidelines, CSG will continue to furnish data on the current status of this
   obligation to credit reporting agencies. CSG is required to report in our name. Please contact the
   credit reporting agencies for additional information on their requirements.

   We have worked diligently to provide a detailed response to you. If you would like to resolve
   this matter or if you have any additional questions, you may contact CSG. The email address best
   used for this matter is consumercare@collectcsg.com and the best phone number to call is
   800-264-6850.




---,emTL·--
         mercial Services Group, Inc.
    csgcompliance@collectcsg.com
    502-560-6701




  THIS COMMUNICATION FROM A DEBT COLLECTOR IS AN ATTEMPT TO COLLECT A
    DEBT AND ANY INFORMATION RECEIVED WILL BE USED FOR THAT PURPOSE

                                                                                            Page 2 of 2
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 209 of 234




        Information Literacy     l/10/2019   Online   A     Paid     $820.00
                                                            Total:   $820.00
                                   Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 210 of 234




Admin Employee Repayment Report
Report Oatti: 3i 1-4/20 l9
Inactive Date: 3/5/201.9
System Ente,·ed Data


Marion, Andrea          P2795026    6050634   146073    Reimbursement   Bachelors Degree   Criminal Justice   Ashford University
                                                   Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 211 of 234
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    If an employe~ ter ninates. voluntarily or i's •erminc.1ted fer cs:wse vithin 12 months of the payment of .;i -course.
    hefshe n,ust refund the tota l amount paid b1,1 the Company. An employee elig:ib!e for benefits under the Se<.•1erance
    Pa1,r Plan ·..viil not be required to reimburse TVVC for amounts received in educational assistance fof col,Jrses tha
    wero opproved by the Company before the employee was. noti fi ed of involuntary separation.




                                                                                                                                    1/?
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  Andrea Mai:ion <mariomal01@mail.bufifalostate.edu>                                                              Thu , Nbv 24, 2022 at 11 :36 AM
  To: Emali McGaughey <emcgaughey@collectcsg.com>


     [Quoted text hidden]




                Balance details

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                 alance                                                      S820


                Balanc upd:: i::u                                   Novoa 2022


                Or gin I ba ance                                             S820




             Account info
             Account num _r                                      U20179XXXXXXXX


             D ·e pe       _ct                                          Ma 29. 2019


              CC.OU    •   Pt:                                         Open account


              a us


  Andrea Mar:ion <mariolilal01@mail.bu1;falostate.edu>                                                             Mon, Nov 28, 2022 at 8:12 AM
  To: Emali McGaughey <emcgaughey@collectcsg.com>


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                    Case 1:23-cv-00597-MLB-JCF DocumentComplaint
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                                                                 Detail



                          Consumer Financial                                            Start a new complaint
                          Protection Bureau
                                                   (https://www.consumerfinance.gov/)


   ( All complaints( .)




    220224-8186354
   CLOSED


           Submitted
           STATUS
           Submitted to the CFPB on 2/24/2022

           PRODUCT
           Debt collection

           ISSUE
           Attempts to collect debt not owed


          We received your complaint. Thank you.

          We will review your complaint. Depending on what we find , we w ill typically:

              • Send your complaint to the company for a response; or

              • Send your complaint to another state or federal agency, or help you get in touch wi t h
                your state or local consumer protection office; or

              • Let you know if we need more information to continue our work.




          YOUR COMPLAINT

           COM SERV GRP has been on my credit report since May of 2019. However, I neve r gotten a
           phone call nor a letter in the may from them stating they was trying to collect on this de bt
           and I had the right as a consumer to request validation . I NEVER SIGNED AN AGREEMENT
          WITH THIS CREDITOR. THIS IS NOT THE ORIGINAL CREDITOR . THESE OR DUPLICATE
          ACCOUNTS. 15 U.S . Code § 1692e - False or misleading representations. A debt collector
           may not use any false , deceptive, or misleading representation or means in connectio n with
          the collection of any debt. Without limiting the general application of the foregoing , th e
          following conduct is a violation of this section: ( 1 )The false representation or implication t hat
          the debt collector is vou ched for, bonded by, or affiliated with the United States or any St ate,
           including the use of any badge, uniform, or facsimile thereof. (2)The false represent atio n of-
https://portal.consumerfinance.gov/consumer/s/complaint-detail#soot0oooooxF99dAAC                                1/6
3/16/23, 3:55 PM   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
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                                                                Detail

          (A)the character, amount, or legal status of any debt; or (B)any services rendered or
          compensation which may be lawfully received by any debt collector for the collection of a
          debt. (3)The false representation or implication that any individual is an attorney or that any
          communication is from an attorney. (4)The representation or implication that nonpayment of
          any debt will result in the arrest or imprisonment of any person or the seizure, garnishment,
          attachment, or sale of any property or wages of any person unless such action is lawful and
          the debt collector or creditor intends to take such action. (5)The threat to take any action
          that cannot legally be taken or that is not intended to be taken. (6)The false representation
          or implication that a sale, referral, or other transfer of any interest in a debt shall cause the
          consumer to- (A)lose any claim or defense to payment of the debt; or (B)become subject to
          any practice prohibited by this subchapter. (7)The false representation or implication that
          the consumer committed any crime or other conduct in order to disgrace the consumer.
          (8)Communicating or threatening to communicate to any person credit information which is
          known or which should be known to be false, including the failure to communicate that a
          disputed debt is disputed. 15 U.S. Code § 16926 - Acquisition of location information Any
          debt collector communicating with any person other than the consumer for the purpose of
          acquiring location information about the consumer shall- ( 1 )identify himself, state that he is
          confirming or correcting location information concerning the consumer, and, only if
          expressly requested, identify his employer; (2)not state that such consumer owes any debt;
          (5)not use any language or symbol on any envelope or in the contents of any
          communication effected by the mails or telegram that indicates that the debt collector is in
          the debt collection business or that the communication relates to the collection of a debt;
          and 15 U.S . Code§ 1692c - Communication in connection with debt collection:
          (a)Communication with the consumer generally Without the prior consent of the consumer
          given directly to the debt collector or the express permission of a court of competent
          jurisdiction, a debt collector may not communicate with a consumer in connection with the
          collection of any debt 15 U.S. Code § 1692d - Harassment or abuse ( 1) The use or threat of
          use of violence or other criminal means to harm the physical person, reputation, or property
          of any person. Putting this false information on my consumer report has damaged my
          reputation 15 U.S. Code § 1692e - False or misleading representations A debt collector may
          not use any false, deceptive, or misleading representation or means in connection with the
          collection of any debt. Without limiting the general application of the foregoing, the
          following conduct is a violation of this section: (2) The false representation of- (A) the
          character, amount, or legal status of any debt; or A negative balance means I owe
          something but if balance in positive amount, how is it a bill/debt owed? 15 US Code 1666-
          Correction of billing errors: if sending me a bill or statement, then billing error and violates
          my consumer rights. 15 U.S . Code § 1692f - Unfair practices A debt collector may not use
          unfair or unconscionable means to collect or attempt to collect any debt. Without limiting
          the general application of the foregoing, the following conduct is a violation of this section :
          (1 )The collection of any amount (including any interest, fee, charge, or expense incidental to
          the principal obligation) unless such amount is expressly authorized by the agreement
          creating the debt or permitted by law. (8) Using any language or symbol , other than the
          debt collector's address, on any envelope when communicating with a consumer by use of
          the mails or by telegram, except that a debt collector may use his business name if such

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                                                                Detail

          name does not indicate that he is in the debt collection business. This company has
          tarnished my reputation and violated so many of my consumer rights . - Volenti non fit
          injuria- Latin for "to a willing person, it is not a wrong". The legal maximum holds that a
          persona who knowingly and voluntarily risks danger cannot recover for any resulting injury. -
          Debt collector wil lingly bought bad debt to try and get consumers to pay still. You are at
          fault not me because you bought this bad debt not me I was denied for many things
          because of this co llection on my account and with no way of knowing about it before
          reporting to consumer agencies denied me my consumer rights of requesting validation .
          This is in violation of 15 U.S. Code § 1692c - Communication in connection with debt
          collection: 15 U.S. Code § 1692k - Civil liability (a)Amount of damages Except as otherwise
          provided by this section, any debt collector who fails to comp ly w ith any provision of th is
          subchapter with respect to any person is liable to such person in an amount equal to the
          sum of- (1) any actual damage sustained by such person as a result of such failure ; (2) (A)in
          the case of any action by an ind ividual, such additional damages as the court may allow, but
          not exceeding $1,000;


          View ful l complaint 0




          Sent to company
          STATUS
          Sent to company on 2/24/2022


          We've sent your complaint to the company, and we will let you know when they respond .

          Their response should include the steps they took, or wil l take, to address your complaint.

          Companies genera ll y respond in 15 days. In some cases, the company wi ll let you know
          their response is in progress and provide a fina l response in 60 days.




          Company still working

          STATUS
          Company response is in progress as of 3/2/2022


          The company has responded that it is still working on your issue

          In some cases, companies need more time to respond . You should receive a final response
          within 60 days from the date we sent your complaint to the company.


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                   Case 1:23-cv-00597-MLB-JCF DocumentComplaint
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                                                                Detail

          COMPANY'S INTERIM RESPONSE

          Commercial Services Group, Inc. (CSG) has received this complaint. We are working to
          gather the necessary information and will respond shortly.




          Company responded
          STATUS
          Company responded on 4/14/2022

          RESPONSE TYPE
          Closed with explanation


          Company's Response

          Charter Communications partnered with Commercial Services Group, Inc. (CSG) to recove r
          this repayment ob ligation for tuition expenses. It has not been transferred or sold, and
          according to CSG's records, it is not a dup licate of any other debt. CSG has had
          communication directly with Andrea Marion regarding this debt. CSG has also mailed
          required letters to each address we have had on file for Ms. Marion. This debt is for
          education assistance Ms. Marion received for an Information Literacy Course #GEN 103 at
          Ashford University while employed by Charter Communications. CSG has received over ten
          (10) disputes from Ms. Marion and has previously responded, with validation when needed,
          each and every time. Ms. Marion has made a settlement offer to CSG, asking to pay off this
          debt for an amount less than the balance owed. This offer was presented to Charter
          Communications, but Charter did not accept the offer and instructed CSG to continue to
          pursue the ful l amount owed. One of Ms. Marion's recent disputes stated she paid Charter
          Communications directly, but she did not provide proof of the payment. CSG confirmed at
          that time, and again after receiving this CFPB complaint, with Charter Communications that
          they received no payment for this obligation . Per FCRA & FDCPA guidelines, CSG will
          continue to furnish data on the current status of this obligation to credit reporting agencies. If
          Ms. Marion wants to resolve this matter or has any additional questions, she may contact CSG
          using any of the methods she's used in the past. For reference, the email address best used
          for this matter is consumercare@collectcsg .com and the best phone number to call is 800-
          264-6850 .




          Feedback requested
          STATUS

          Feedback requested on 4/14/2022
https://portal .consumerfinance .gov/consumer/s/complaint-detail#500tO00000xF99dMC                             4/6
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 218 of 234
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         BuFf<ALO STATE                                                                              Andrea Marion
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  Your Apple Card application status
     1 message

                 ard Support <no_reply@post.applecard .a pie>




                                                                                                                           Goldman
                                                                                                                           Saens


                                     Apple Card Applicant:
                                     Andrea Marion , ma riona l01 @ mail. buffalostate.ed u




                                      Your application
                                      has been reviewed.
                                     Thank you for your interest in Apple Card. Goldman Sachs Bank USA has reviewed you r
                                     application , and it was not approved at this time because:

                                                    • A bank has recently closed your account



                                     Goldman Sachs Bank USA received your credit score from TransUnion Consumer
                                     Solutions.

                                     Your credit score is a number that reflects the information in your consumer report. You r credit
                                     score can change , depending on how the information in you r consumer report changes .

                                     Your credit score as of August 6, 2020: 660

                                     Scores range from a low of 300 to a high of 850 .

                                     Learn more >

                                     Th is decision will not impact your credit score .

                                     Key factors that adversely affected your credit score:

                                                    •   Derogatory public record or collection fil ed
                                                    •   Proportion of loan balances to loan amounts is too high
                                                    •   Length of time accounts have been established
                                                    •   Too many accounts with balances
                                                    •   Number of inquiries



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                                                                       Apple Card             Page 220 of 234
                                                                                  application status

                       If you have any questions regarding your credit score, you should contact TransUnion
                       Consumer Solutions at:


                       TransUnion Consumer Solutions
                       P.O.. Box 1000
                       Chester, PA 19016-2000
                       1-800-916-8800                                                                              >. '"




                       This decision was based in whole or in part on a report from the consumer reporting bureau(s)
                       listed below. The bureaus themselves played no part in making this decision and are unable to
                       supply specific reasons why your credit request has been denied .

                       You have a right under the Fair Credit Reporting Act to know the information contained in your
                       credit file . You also have a right to a free copy of your report from the reporting bureau(s), if you
                       request it no later than 60 days after you receive this notice. In addition, if you find that any
                       information conta ined in the report(s) you receive is inaccurate or incomplete, you have the
                       right to dispute the matter with the reporting bureau(s) .


                       TransUnion Consumer Solutions
                       P.O. Box 1000
                       Chester, PA 19016-2000
                       1-800-916-8800


                       Thanks again for your interest in Apple Card .




            Apple Card is issued by Goldman Sachs Bank USA, Salt Lake City Branch .

            Notice: The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on
            the basis of race , color, religion , national origin, sex, marital status, age (provided the applicant has the capacity to
            enter into a binding contract); because all or part of the applicant's income derives from any public assistance
            program ; or because the applicant has in good faith exercised any right under the Consumer Credit Protection Act.
            The Federal agency that administers compliance with this law concerning this creditor is Bureau of Consu mer
            Financial Protection , 1700 G Street N.W. , Washington DC 20006.

            Goldman Sachs Bank USA, Salt Lake City Branch , Lockbox 6112, P.O. Box 7247 , Philadelphia , PA 19170-6112.




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       Rest assured, the form you submitted was not a credit card application and your credit
      score was not affected.


      Here are the reasons why we couldn't match you with an offer:

               •       Based on your Pre-Approval form information, there are too many
                       delinquent past or present Capital One credit obligation(s)
               •       Based on your Pre-Approval form information, we observed activity on a
                       prior Capital One account that is not consistent with our expectations
                       for account usage or the terms of the account agreement
              •        Based on your Pre-Approval form information, the balance on one or
                       more Capital One accounts has exceeded the credit limit
      Please make sure to save and/or print this notice for your records as it may not be
      available after this page expires or if you navigate to another page. For your security, this
      page will expire after 20 minutes of no activity.
      We know this isn't the answer you were hoping for, but we hope there is an opportunity
      to provide you with new products and services in the future.
      Creditor: Capital One, N.A. P.O. Box 30280, Salt Lake City, UT 84130-0230
      EQUAL CREDIT OPPORTUNITY ACT


      The federal Equal Credit Opportunity Act prohibits creditors from discriminating against
      credit applicants on the basis of race, color, religion, national origin, sex, marital status,
      age (provided the applicant has the capacity to enter into a binding contract); because
      all or part of the applicant's income derives from any public assistance program; or
      because the applicant has in good faith exercised any right under the Consumer Credit
      Protection Act. The federal agency that administers compliance with this law concerning
      this creditor is Bureau of Consumer Financial Protection, 1700 G Street NW, Washington
      DC 20552.
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             Tap      c!J                    :     or ••• (depending on the app you are using), then tap Print.




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                   (Exit                         0
                                             Thanks for your requ est. Unfortunate ly, we
                                                 could n't approve your application.

                                             We'll provide more detailed information explaining
                                                   our decision by U.S. mail in 7 to 10 days.




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                         Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 224 of 234
                         Cards        Banking         Travel       Rewards & Benefits             Business



     APPLICATION STATUS
     Welcome ANDREA Here is the status of the application(s} you submitted to us.



          Date Received                         A   Hcation                         Status of A    lication   I
                                 DELTA SKYMILES GOLD AMERICAN
            03/16/2023                                                                    Declined
                                 EXPRESS CARD
Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 225 of 234
                   2:02
       ◄ Mai l




        Thank you for applying for an X1 Visa® Card from Coastal Community Bank
        Unfortunately, we are unable to approve you for an X1 Visa® Card account at
        this time.

        Your application was processed by a credit scoring system that considers
        various factors in evaluating applications . The reasons for this adverse action
        are:

         • Credit score is below our minimum requirement
         • Too many past or present delinquent credit obligations with others
         • Credit card utilization is too high

        Our decision was based in whole or in part on information obtained from the
        following consumer reporting agency:

          Experian 's National Consumer Assistance Center
          P.O. Box 4500
          Allen, TX 75013
          (888) 397-3742

        This consumer reporting agency played no part in our decision and is unable to
        supply specific reasons why we have denied credit to you . You have a right
        under the Fair Credit Reporting Act to know the information conta ined in your
        credit file at the consumer reporting agency. You also have a right to a free copy
        of your report from the reporting agency, if you request it no later than 60 days
        after you receive this notice. In addition, if you find that any information
        conta ined in the report you receive is inaccurate or incomplete, you have the
        right to dispute the matter with the reporting agency. Any questions regarding
        such information should be directed to the reporting agency listed above.

        We also obtained your credit score from this consumer reporting agency and
        used it in making ou r credit decision. Your credit score is a number that reflects
        the information in your consumer report. Your credit score can change ,
        depending on how the information in your consumer report changes.

         • Your credit score : 555
         • Date: February 21, 2023

        Scores range from a low of 300 to a high of 850.
        Key factors that adversely affected your crodit score:


         • Serious delinquency
         • Ratio of balance to limit on bank revolving or other rev accts too high
         • Number of active bank/national revolving accounts
         • Time since delinquency is too recent or unknown

        If you have any questions regarding your credit score , you shou ld contact
        Experian directly at (888) 397-3742.

        If you have any questions regarding this letter, you should contact us at:

          Coastal Commun ity Bank
          c/o X1 Inc.
          P.O. Box 7775 , PMB 30684
          San Francisco , CA 94120

        Notice


                                          '6 x1creditcard .com - Private
    C     i                              Case 1:23-cv-00597-MLB-JCF Document 6 Filed 03/20/23 Page 226 of 234
              diwyhomes.com/ ortal/ ap plication-summ ary




Application

Profile


                                                                 You don't qualify for Divvy
                                                                 yet
                                                                 Thanks for applying for Divvy. You didn't qual ify on Jan 1st,
                                                                 but you can now reset your app lication.


                                                                                      Reset appl icat ion
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Dear Andrea Marion:

Thank you for your recent rental application to Sureste Property Services. You recently
authorized Sureste Property Services to obtain consumer reports and/or investigative
consumer reports about you from AppFolio, Inc. , who provided us with information
regarding your credit history, rental history, income verification, and/or criminal history.

We regret to inform you that Sureste Property Services is unable to approve your rental
application due to the following:

       [X] Credit History

       [ ] Rental History

       [ ] Criminal History (evaluating the nature, gravity, and timing of offences)

       [ ] Insufficient Verified Income

Sureste Property Services's decision is based in whole or in part on information
contained in the report obtained from:

AppFolio, Inc.
50 Castilian Dr.
Santa Barbara, CA 93117
Toll free: (866) 359-3630

For information on how to obtain a copy of your report or file a dispute, please visit:
www.appfolio.com/consumer. We are enclosing a copy of A Summary Of Your Rights
Under The Fair Credit Reporting Act with this letter for your review.

Sureste Property Services is solely responsible for the decision to decline your
application. AppFolio, Inc. did not make this decision and is unable to supply you with
speci fie reasons why the decision was made. You have the right to obtain a free copy of
the report if you submit a written request to the agency identified above no later than 60
days after you receive this notice. You also have the right to dispute the accuracy or
completeness of any information in the report by contacting AppFolio, Inc. at 50
Castilian Dr., Santa Barbara, CA 93117, www.appfolio.com/consumer, (866) 359-3630.

We also obtained your credit score from AppFolio, Inc. (who obtained it from Experian,
701 Experian Prkwy, Allen, TX 75013 , www.experian.com/reportaccess, (888)
397-3742) and may have used it in making our decision. Your credit score is a number
that reflects the information in your credit report. Your credit score can change,
depending on how the information in your credit report changes.

       Your credit score: 526
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         Date credit score was created: 06/01 /2021

         Credit scores range from a low of 300 to a high of 850.

The top key factors that adversely affected your credit score were:

     •   The Date That You Opened Your Oldest Account Is Too Recent
     •   The Balances On Your Accounts Are Too High Compared To Loan Limits
     •   Too Many Installment Accts With A Delinquent Or Derogatory Payment Status
     •   Lack Of Sufficient Relevant Real Estate Account Infonnation

California applicants only (this section applies only if the report referenced above is a
credit report): You have the right to obtain a free copy of your credit report within 60
days from the consumer credit reporting agency which has been identified on this notice
and from any other consumer credit reporting agency which compiles and maintains
files on consumers on a nationwide basis. Under California law, you also have the right
to dispute with the consumer reporting agency the accuracy or completeness of any
information in the report.


Massachusetts applicants only (this section applies only if the report referenced above is
a credit report): You have the right to obtain a free copy of your credit report within
sixty days from the consumer credit reporting agency which has been identified on this
notice. The consumer credit reporting agency must provide someone to help you
interpret the information on your credit report. Each calendar year you are entitled to
receive, upon request, one free consumer report. You have the right to dispute
inaccurate information by contacting the consumer credit reporting agency directly. If
you have notified a consumer credit reporting agency in writing that you dispute the
accuracy of information in your file, the agency must then, within thirty business days,
reinvestigate and modify or remove inaccurate info1mation. The consumer credit
reporting agency may not charge a fee for this service. If reinvestigation does not
resolve the dispute to your satisfaction, you may send a letter to the consumer credit
reporting agency, to be kept in your file, explaining why you think the record is
inaccurate. The consumer credit reporting agency must include your statement about the
disputed information in a report it issues about you .

Sincerely,
Sureste Property Services
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    Para informaci6n en espaiiol, visite www.consumerfinance.gov/learnmore o escribe a la
     Consumer Financial Protection Bureau, 1700 G Street N. W , Washington, DC 20552.

         A Summary of Your Rights Under the Fair Credit Reporting Act

         The federal Fair Credit Reporting Act (FCRA) promotes the accuracy, fairness, and
privacy of information in the files of consumer reporting agencies. There are many types of
consumer reporting agencies, including credit bureaus and specialty agencies (such as agencies
that sell information about check writing histories, medical records, and rental history records).
Here is a summary of your major rights under FCRA. For more information, including
information about additional rights, go to www.consumerfinance.gov/learnmore or write
to: Consumer Financial Protection Bureau, 1700 G Street N.W., Washington, DC 20552.

   •    You must be told if information in your file has been used against you. Anyone who
        uses a credit report or another type of consumer report to deny your application for credit,
        insurance, or employment - or to take another adverse action against you - must tell you,
        and must give you the name, address, and phone number of the agency that provided the
        information.

   •    You have the right to know what is in your file. You may request and obtain all the
        information about you in the files of a consumer reporting agency (your "file
        disclosure"). You will be required to provide proper identification, which may include
        your Social Security number. In many cases, the disclosure will be free. You are entitled
        to a free file disclosure if:

           o   a person has taken adverse action against you because of information in your
               credit report;
           o   you are the victim of identity theft and place a fraud alert in your file;
           o   your file contains inaccurate information as a result of fraud;
           o   you are on public assistance;
           o   you are unemployed but expect to apply for employment within 60 days.

        In addition, all consumers are entitled to one free disclosure every 12 months upon
        request from each nationwide credit bureau and from nationwide specialty consumer
        reporting agencies. See www.consumerfinance.gov/learnmore for additional
        inforn1ation.

   •    You have the right to ask for a credit score. Credit scores are numerical summaries of
        your credit-worthiness based on information from credit bureaus. You may request a
        credit score from consumer reporting agencies that create scores or distribute scores used
        in residential real property loans, but you will have to pay for it. In some mortgage
        transactions, you will receive credit score information for free from the mortgage lender.

   •    You have the right to dispute incomplete or inaccurate information. If you identify
        information in your file that is incomplete or inaccurate, and report it to the consumer


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      reporting agency, the agency must investigate unless your dispute is frivolous. See
      www.consumerfinance.gov/learnmore for an explanation of dispute procedures.

•     Consumer reporting agencies must correct or delete inaccurate, incomplete, or
      unverifiable information. Inaccurate, incomplete, or unverifiable information must be
      removed or corrected, usually within 30 days. However, a consumer reporting agency
      may continue to report information it has verified as accurate.

•     Consumer reporting agencies may not report outdated negative information. In
      most cases, a consumer reporting agency may not report negative information that is
      more than seven years old, or bankruptcies that are more than 10 years old.

•     Access to your file is limited. A consumer reporting agency may provide information
      about you only to people with a valid need - usually to consider an application with a
      creditor, insurer, employer, landlord, or other business. The FCRA specifies those with a
      valid need for access.

•     You must give your consent for reports to be provided to employers. A consumer
      reporting agency may not give out information about you to your employer, or a potential
      employer, without your written consent given to the employer. Written consent generally
      is not required in the trucking industry. For more information, go to
      www.consumerfinance.gov/leammore.

•     You may limit "prescreened" offers of credit and insurance you get based on
      information in your credit report. Unsolicited "prescreened" offers for credit and
      insurance must include a toll-free phone number you can call if you choose to remove
      your name and address form the Iists these offers are based on. You may opt out with the
      nationwide credit bureaus at 1-888-5-0PTOUT (l-888-567-8688).

•     The following FCRA right applies with respect to nationwide consumer reporting
      agencies:

      CONSUMERS HAVE THE RIGHT TO OBTAIN A SECURITY FREEZE

     You have a right to place a "security freeze" on your credit report, which will
     prohibit a consumer reporting agency from releasing information in your credit
     report without your express authorization. The security freeze is designed to prevent
     credit, loans, and services from being approved in your name without your consent.
     However, you should be aware that using a security freeze to take control over who gets
     access to the personal and financial information in your credit report may delay, interfere
     with, or prohibit the timely approval of any subsequent request or application you make
     regarding a new loan, credit, mortgage, or any other account involving the extension of
     credit.

     As an alternative to a security freeze, you have the right to place an initial or extended
     fraud alert on your credit file at no cost. An initial fraud alert is a 1-year alert that is

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         placed on a consumer's credit file. Upon seeing a fraud alert display on a consumer's
         credit file, a business is required to take steps to verify the consumer's identity before
         extending new credit. If you are a victim of identity theft, you are entitled to an extended
         fraud alert, which is a fraud alert lasting 7 years.

         A security freeze does not apply to a person or entity, or its affiliates, or collection
         agencies acting on behalf of the person or entity, with which you have an existing
         account that requests information in your credit report for the purposes of reviewing or
         collecting the account. Reviewing the account includes activities related to account
         maintenance, monitoring, credit line increases, and account upgrades and enhancements.

   •     You may seek damages from violators. If a consumer reporting agency, or, in some
         cases, a user of consumer reports or a furnisher of information to a consumer reporting
         agency violates the FCRA, you may be able to sue in state or federal court.

   •     Identity theft victims and active duty military personnel have additional rights. For
         more inforn1ation, visit www.consmnerfinance.gov/leammore.

States may enforce the FCRA, and many states have their own consumer reporting laws.
In some cases, you may have more rights under state law. For more information, contact
your state or local consumer protection agency or your state Attorney General. For
information about your federal rights, contact:




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                  TYPE OF BUSINESS:                                                          CONTACT:
1.a. Banks, savings associations, and credit unions with total      a. Consumer Financial Protection Bureau
assets of over $ 10 billion and their affiliates                    1700 G Street, N.W.
                                                                    Washington, DC 20552

b. Such affiliates that are not banks, savings associations, or     b. Federal Trade Commission
credit unions also should list, in addition to the CFPB:            Consumer Response Center
                                                                    600 Pennsylvania Avenue, N.W.
                                                                    Washington, DC 20580
                                                                    (877) 382-4357
2. To the extent not included in item I above:                      a. Office of the Comptroller of the Currency
a. National banks, federal savings associations, and federal        Customer Assistance Group
branches and federal agencies of foreign banks                      1301 McKinney Street, Suite 3450
                                                                    Houston, TX 770 I0-9050

b. State member banks, branches and agencies of foreign banks       b. Federal Reserve Consumer Help Center
(other than federal branches, federal agencies, and Insured State   P.O. Box 1200
Branches of Foreign Banks), commercial lending companies            Minneapolis, MN 55480
owned or controlled by foreign banks, and organizations
operating under section 25 or 25A of the Federal Reserve Act.
                                                                    c. FDIC Consumer Response Center
c. Nonmember Insured Banks, Insured State Branches of               1100 Walnut Street, Box # 11
Foreign Banks, and insured state savings associations               Kansas City, MO 64106

d. Federal Credit Unions                                            d. National Credit Union Administration
                                                                    Office of Consumer Financial Protection (OCFP)
                                                                    Division of Consumer Compliance Policy and Outreach
                                                                    1775 Duke Street
                                                                    Alexandria, VA 22314
3. Air carriers                                                     Asst. General Counsel for Aviation Enforcement & Proceed ings
                                                                    Aviation Consumer Protection Division
                                                                    Department of Transportation
                                                                    1200 New Jersey Avenue, S.E.
                                                                    Washington, DC 20590
4. Creditors Subject to the Surface Transportation Board            Office of Proceedings, Surface Transportation Board
                                                                    Department ofTranspo,tation
                                                                    395 E Street, S.W.
                                                                    Washington, DC 20423
5. Creditors Subject to the Packers and Stockyards Act, 1921        Nearest Packers and Stockyards Administration area supervisor
6. Small Business Investment Companies                              Associate Deputy Administrator for Capital Access
                                                                    United States Small Business Administration
                                                                    409 Third Street, S.W., Suite 8200
                                                                    Washington, DC 20416
7. Brokers and Dealers                                              Securities and Exchange Commission
                                                                    100 F Street, N.E.
                                                                    Washington, DC 20549
8. Federal Land Banks, Federal Land Bank Associations,              Farm Credit Administration
Federal Intermediate Credit Banks, and Production Credit            1501 Farm Credit Drive
Associations                                                        McLean, VA 22102-5090
9. Retailers, Finance Companies, and All Other Creditors Not        Federal Trade Commission
Listed Above                                                        Consumer Response Center
                                                                    600 Pennsylvania Avenue, N.W.
                                                                    Washington, DC 20580
                                                                    (877) 382-4357



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                                                     State Mail - Your Apple Card application status




      BuHALO STATE                                                                   Andrea Marion



  Your Apple Card application status
  1 message

  Apple Card Support <no_reply@post.applecard .apple>




                      ■ Card                                                                                       Goldman
                                                                                                                   Sachs


                      Apple Card Applicant:
                      Andrea Marion , marional01@mail.buffalostate.edu




                      Your application
                      has been reviewed.
                      Thank you for your interest in Apple Card. Goldman Sachs Bank USA has reviewed your
                      application, and it was not approved at this time because :

                               • Derogatory public record or collection filed
                               • Proportion of loan balances to loan amounts is too high
                               • Length of time accounts have been established



                      Goldman Sachs Bank USA received your credit score from Trans Union Consumer
                      Solutions.

                      Your credit score is a number that reflects the information in your consumer report. Your credit
                      score can change , depending on how the information in your consumer report changes .

                      Your credit score as of July 8, 2020: 625

                      Scores range from a low of 300 to a high of 850.

                      Learn more>

                      This decision will not impact your credit score.

                      Key factors that adversely affected your credit score:

                               •   Derogatory public record or collection filed
                               •   Proportion of loan balances to loan amounts is too high
                               •   Length of time accounts have been established
                               •   Too many accounts with balances
                               •   Number of inquiries

https://mail.google.com/mail/u/0/?ik=23a17849c2&view=pt&search=all&permthid=thread-f: 1671645843059694941 &simol=msa-f:167164584305!'.l6!'.lMl41   1/?
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                                                      State Mail - Your Apple Card application status



                       If you have any questions regarding your credit score, you should contact TransUnion
                       Consumer Solutions at:


                       TransUnion Consumer Solutions
                       P.O. Box 1000
                       Chester, PA 19016-2000
                       1-800-916-8800


                       This decision was based in whole or in part on a report from the consumer reporting bureau(s)
                       listed below. The bureaus themselves played no part in making this decision and are unable to
                       supp ly specific reasons why your credit request has been denied .

                       You have a right under the Fair Credit Reporting Act to know the information contained in your
                       credit file. You also have a right to a free copy of your report from the reporting bureau(s), if you
                       request it no later than 60 days after you receive this notice. In addition, if you find that any
                       information contained in the report(s) you receive is inaccurate or incomplete, you have the
                       right to dispute the matter with the reporting bureau(s).


                       TransUnion Consumer Solutions
                       P.O. Box 1000
                       Chester, PA 19016-2000
                       1-800-916-8800


                       Thanks again for your interest in Apple Card .




            Apple Card is issued by Goldman Sachs Bank USA, Salt Lake City Branch .

            Notice: The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on
            the basis of race , color, religion , national origin, sex, marital status, age (provided the applicant has the capacity to
            enter into a binding contract) ; because all or part of the applicant's income derives from any public assistance
            program; or because the applicant has in good faith exercised any right under the Consumer Credit Protection Act.
            The Federal agency that administers compliance with this law concerning this creditor is Bureau of Consumer
            Financial Protection , 1700 G Street N.W. , Washington DC 20006 .

            Goldman Sachs Bank USA, Salt Lake City Branch, Lockbox 6112 , P.O. Box 7247, Philadelphia , PA 19170-6112.




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